Case:Highly
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                                                      Confidentiality      Review

     1          IN THE UNITED STATES DISTRICT COURT
     2           FOR THE NORTHERN DISTRICT OF OHIO
     3                   EASTERN DIVISION
     4                        - - -
     5
            IN RE: NATIONAL                       :    HON. DAN A.
     6      PRESCRIPTION OPIATE                   :    POLSTER
            LITIGATION                            :
     7                                            :
            APPLIES TO ALL CASES                  :    NO.
     8                                            :    1:17-MD-2804
                                                  :
     9
                        - HIGHLY CONFIDENTIAL -
    10
           SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
    11
                                         -   -    -
    12
                               January 30, 2019
    13
                                         -   -    -
    14
    15                  Videotaped deposition of
           JOHN ADAMS, taken pursuant to notice,
    16     was held at the offices of Carella Byrne,
           P.C., 5 Becker Farm Road, Roseland, New
    17     Jersey, beginning at 9:22 a.m., on the
           above date, before Michelle L. Gray, a
    18     Registered Professional Reporter,
           Certified Shorthand Reporter, Certified
    19     Realtime Reporter, and Notary Public.
    20                      - - -
    21
                    GOLKOW LITIGATION SERVICES
    22          877.370.3377 ph | 917.591.5672 fax
                          deps@golkow.com
    23
    24

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           - and -
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                                                   13
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   19                                              19
   20                                              20
   21                                              21
   22                                              22
   23                                              23
   24                                              24

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    1
    2
        APPEARANCES: (Cont'd.)                      1   APPEARANCES: (Cont'd.)
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   21
        Health                                     22
   22                                              23
   23
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    4                                                5   NO.      DESCRIPTION           PAGE
        Testimony of:                                6   Mallinckrodt
    5                                                    Adams-7     E-mail Thread     117
                        JOHN ADAMS                   7          10/17/08
    6                                                           Subject, Sales Reports
    7       By Ms. Baig       15, 393
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    8       By Mr. Gastel        357                     Adams-8     E-mail, 11/20/09   134
    9       By Mr. Tsai         389                 10          Subject, Business
   10                                                           Review
   11                                               11          MNK-T1_0006305472-79
   12            - - -
                                                    12   Mallinckrodt
                                                         Adams-9     E-mail, 10/2/05   148
   13           EXHIBITS                            13          Subject, Gained
   14            - - -                                          Accounts & Rebate
   15                                               14          Reports
   16   NO.      DESCRIPTION         PAGE                       MNK-T1_0007917528-76
                                                    15
   17   Mallinckrodt                                     Mallinckrodt
        Adams-1     Curriculum Vitae  33            16   Adams-10 E-mail Thread         160
   18          John G. Adams                                    2/8/07
   19   Mallinckrodt                                17          Subject, Monthly
        Adams-2     E-mail Thread    34                         Report
   20          8/23/10
                                                    18          MNK-T1_0006685111-50
                                                    19   Mallinckrodt
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   21          Address Change                       20          9/6/07
               MNK-T1_0007918669-12                             Subject, Monthly Report
   22                                               21          MNK-T1_0004923043-50
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   23                                               23
   24                                               24

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    5   NO.      DESCRIPTION            PAGE         5   NO.      DESCRIPTION           PAGE
    6   Mallinckrodt                                 6   Mallinckrodt
        Adams-3     Packet of        55                  Adams-12 E-mail Thread         193
    7          Performance Goals                     7          8/5/09
               Covidien for                                     Subject, Monthly Report
    8          John Adams                            8          MNK-T1_0000418847-50
               (No Bates)                            9   Mallinckrodt
    9                                                    Adams-13 E-mail Thread         217
        Mallinckrodt                                10          6/6/08
   10   Adams-4     E-mail, 7/28/05     90                      Subject, Suspicious
               Subject, Updated
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   11          Generics Marketing                               Training Notes
               Roles & Responsibilities
                                                    12          MNK-T1_0000304559-72
   12          MNK-T1_0005426063
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   14   Adams-5     E-mail Thread       105
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   15          Subject, PCL Library
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               Pharmaceutical
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   16          Industry Newsletter                       Adams-15 E-mail Thread         244
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   17                                                           Subject, Suspicious
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   18   Adams-6     E-mail Thread       113         20          Facility Photographs
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   19          Subject, Product                     21
               Manual Updates                            Mallinckrodt
   20          MNK-T1_0004839173-74                 22   Adams-16 E-mail, 7/15/08       246
   21                                                           Subject, July 15th
   22                                               23          IntegriChain Meeting
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    6   Mallinckrodt
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        Adams-17 E-mail Thread      257             6   Mallinckrodt
    7          9/27/07                                  Adams-26 E-mail, 3/4/11    334
               Subject, Masters                     7          Subject, Morelli CA
    8          MNK-T1_0000383892                               NSM Presentation
    9   Mallinckrodt                                8          Short Version
        Adams-18 E-mail Thread      260
   10          6/3/08                                          MNK-T1_0007094264-94
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   11          Usage                                    Mallinckrodt
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        Mallinckrodt                               11          Sales in Florida
   13   Adams-19 E-mail Thread    269
               5/1/09                                          Summary
   14          Subject, Masters                    12          MNK-T1_0000561028-29
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   15                                              14
        Mallinckrodt                               15
   16   Adams-20 E-mail Thread    277              16
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   17          Subject, Sunrise
               Follow-up                           18
   18          MNK-T1_0000459331-32                19
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        Adams-21 E-mail, 7/10/09       287          5   Direction to Witness Not to Answer
    7          Subject, Sunrise                     6   PAGE LINE
               Reports                                  None.
    8          MNK-T1_0000448872-73
    9   Mallinckrodt                                7
        Adams-22 E-mail Thread         290          8   Request for Production of Documents
   10          7/29/09
               Subject, Rx Drug                     9   PAGE LINE
   11          Abuse Epidemic                           None.
   12
               MNK-T1_0000290150-51                10
        Mallinckrodt                               11   Stipulations
   13   Adams-23 E-mail Thread         300         12   PAGE LINE
               7/27/09
   14          Subject, Pete                            None.
               Kleissle, Oxy                       13
   15          Investigation
               MNK-T1_0000290175-77                14   Questions Marked
   16                                              15   PAGE LINE
        Mallinckrodt
   17   Adams-24 E-mail Thread         305              None.
               8/4/09                              16
   18          Subject, Florida                    17
               Medication Coming
   19          Into Tennessee                      18

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        Mallinckrodt                               20
   21   Adams-25 E-mail, 8/26/09       319         21
               Subject, Sunrise                    22
   22          Audit Report Draft
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    1              - - -                                     1   prepare for today's deposition?
    2           THE VIDEOGRAPHER: We are                     2        A. I met with counsel.
    3       now on the record.                               3        Q. How many times?
    4           My name is Dan Lawlor, I'm a                 4        A. Twice.
    5       videographer with Golkow                         5        Q. And for how long?
    6       Litigation Services.                             6        A. Six hours one day, and maybe
    7           Today's date is January 30,                  7   seven hours another.
    8       2019. And the time is 9:22 a.m.                  8        Q. Did you read any deposition
    9           This video deposition is                     9   transcripts?
   10       being held in Roseland, New                     10        A. No.
   11       Jersey, in the matter of National               11        Q. Did you talk to anybody from
   12       Prescription Opiate Litigation,                 12   Mallinckrodt?
   13       MDL Number 2804.                                13        A. No, I did not.
   14           The deponent is John Adams.                 14        Q. And are you being paid for
   15           Counsel will be noted on the                15   your -- your time here today?
   16       stenographic record.                            16        A. Yes, I am.
   17           The court reporter is                       17        Q. At what hourly rate?
   18       Michelle Gray and will now swear                18        A. $225.
   19       in the witness.                                 19        Q. And -- and you were paid at
   20               - - -                                   20   that rate for your prep time as well?
   21           ... JOHN ADAMS, having                      21        A. During the -- just for the
   22       been first duly sworn, was                      22   sessions that we held, yes, correct.
   23       examined and testified as follows:              23        Q. Okay. And did you review
   24               - - -                                   24   documents in connection with your
                                                  Page 15                                             Page 17
    1            EXAMINATION                                 1   preparation for this deposition?
    2             - - -                                      2       A. I did.
    3   BY MS. BAIG:                                         3       Q. And did any of those
    4        Q. Hi. Good morning.                            4   documents refresh your recollection?
    5        A. Good morning.                                5       A. Yes.
    6        Q. We met briefly off the                       6       Q. And what documents did you
    7   record, but could you please state your              7   look at in preparation for this
    8   full name and address for the record?                8   deposition?
    9        A. John Adams.                                  9            MR. TSAI: Instruct the
                                                  .         10       witness not to reveal any specific
   11        Q. And have you ever had your                  11       documents that were identified,
   12   deposition taken before?                            12       compiled, and discussed with
   13        A. Yes.                                        13       counsel.
   14        Q. How many times?                             14            You can talk in general
   15        A. Four or five.                               15       terms about categories.
   16        Q. So you're generally familiar                16            THE WITNESS: Sure.
   17   with the -- the protocols for -- for                17            Primarily e-mails, some that
   18   deposition?                                         18       I was -- that were sent to me
   19        A. Correct.                                    19       directly, but many which I was
   20        Q. Okay. Have you had your                     20       copied on.
   21   deposition taken in connection with any             21   BY MS. BAIG:
   22   sort of opioid products or litigation?              22       Q. Anything else other than
   23        A. I have not.                                 23   e-mails that you recall?
   24        Q. And what did you do to                      24       A. Attachments affiliated with
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    1   those e-mails. And I don't recall any          1   at Mallinckrodt?
    2   other items, no.                               2        A. Senior product manager I
    3         Q. Are you familiar with the             3   started out as. And then I believe I
    4   complaints on file in this action?             4   transitioned into director of sales, and
    5         A. I know very high level.               5   by the time I left Mallinckrodt I was
    6         Q. What's your understanding of          6   vice president of sales.
    7   what this case is about?                       7        Q. And about when did you
    8         A. There is action taking place          8   transition from senior product manager to
    9   from city, state, and county level             9   director of sales?
   10   relative to potential abuse of opioids        10        A. I don't recall. I could
   11   and the implications of that.                 11   estimate around 2006 into director of
   12         Q. At what company did you              12   sales.
   13   first work on any opioid products?            13        Q. And about when did you
   14         A. Upsher-Smith Laboratories.           14   transition from director of sales to VP
   15         Q. And what opioids did you             15   of sales?
   16   work on there?                                16        A. I believe it was somewhere
   17         A. RMS, the rectal morphine             17   in 2008.
   18   suppository, and OMS, oral morphine           18        Q. What was your title at
   19   sulfate concentrate. It was a liquid.         19   Upsher-Smith?
   20         Q. And had that -- how long did         20        A. I was there for 15 years.
   21   you work there?                               21   So I started out as a territory sales
   22         A. I worked there for 15 years.         22   representative, and by the time I left, I
   23   The products themselves were not -- were      23   was a supervisor of planning and
   24   not marketed throughout that entire time      24   analysis.
                                            Page 19                                              Page 21
    1   frame. I believe they were discontinued        1        Q. And can you describe your
    2   as part of the -- during my tenure at          2   responsibilities as senior product
    3   some point. I don't recall.                    3   manager at Mallinckrodt?
    4        Q. Did you have any training in           4        A. Yes. I had a product
    5   connection with your work on the RMS and       5   manager, perhaps two, who would report to
    6   the other opioid product you mentioned in      6   me. And so these product managers would
    7   terms of -- in terms of the Controlled         7   develop forecasts and would work on
    8   Substances Act?                                8   pricing relative to budgeting as well as
    9        A. More from a sales                      9   at the customer level. So that group
   10   perspective.                                  10   would -- part of that group would report
   11        Q. What do you mean by that?             11   to me.
   12        A. Really talking about the --           12        Q. And who were those two
   13   the features and benefits as it would         13   reports?
   14   relate to selling to customers, and by        14        A. One was Rebecca Coyner, and
   15   customers, that would be defined as           15   the other individual's name was John.
   16   wholesalers, chains, and to pharmacists.      16   And I don't recall his last name.
   17        Q. Did you have any training             17        Q. And how did your
   18   with respect to the Controlled Substances     18   responsibilities change when you became
   19   Act before you got to Mallinckrodt?           19   director of sales?
   20        A. I don't recall.                       20        A. So at that point there were
   21        Q. What years did you work at            21   six national account managers who then
   22   Mallinckrodt?                                 22   reported directly to me. So I didn't
   23        A. 2004 to spring of 2010.               23   have any account responsibility, per se,
   24        Q. What positions did you hold           24   but I was responsible for the -- the fact
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    1   that they reported to me, the national           1        A. I believe when I first
    2   account directors, or managers rather.           2   started it was part of Tyco Healthcare.
    3        Q. And who were those national              3   At some point it transitioned to Covidien
    4   account managers?                                4   Health. I don't know the specifics on
    5        A. Dave Irwin, Toby Bane, Tim               5   that. Really the change in name was --
    6   Berry, Bonnie New, Victor Borelli, and I         6   it didn't -- it didn't have any impact,
    7   hope I'm not insulting someone else, but         7   bearing.
    8   I don't recall.                                  8        Q. And was Tyco Healthcare part
    9        Q. And how did your                         9   of Mallinckrodt PLC?
   10   responsibilities change when you became         10             MR. TSAI: Object to form.
   11   VP of sales?                                    11             Go ahead.
   12        A. It was a natural progression            12             THE WITNESS: I don't know.
   13   of my career. It was an acknowledgement         13   BY MS. BAIG:
   14   of contributions I made. I still had            14        Q. Who was the chief officer of
   15   that same team reporting to me. And as          15   Tyco Healthcare?
   16   far as expansion of that, it really -- it       16        A. I don't recall.
   17   wasn't a significant jump, if you will.         17        Q. So Mike Gunning was VP of
   18        Q. In terms of                             18   sales and marketing at Tyco or at
   19   responsibilities?                               19   Mallinckrodt Generics?
   20        A. Yeah, I had -- I had very               20        A. Mallinckrodt Generics.
   21   much the same.                                  21        Q. And do you know who Mike
   22        Q. When you were senior product            22   Gunning reported to?
   23   manager, who did you report to?                 23        A. Vince Kaiman.
   24        A. Rick Coulon.                            24        Q. What was his position?
                                              Page 23                                              Page 25
    1        Q. And what was his position?               1        A. I believe it was general
    2        A. Director of marketing.                   2   manager.
    3        Q. At Mallinckrodt?                         3        Q. At what company?
    4        A. Correct.                                 4        A. At Mallinckrodt.
    5        Q. And who did Rick Coulon                  5        Q. Mallinckrodt PLC?
    6   report to?                                       6            MR. TSAI: Object to form.
    7        A. Michael Gunning.                         7            Go ahead.
    8        Q. And what was his position?               8            THE WITNESS: I don't
    9        A. I believe it was vice                    9        recall.
   10   president of sales and marketing at that        10   BY MS. BAIG:
   11   time. I don't know specifically.                11        Q. And when you were director
   12        Q. At Mallinckrodt?                        12   of sales, who did you report to?
   13        A. Correct.                                13        A. Mike Gunning.
   14        Q. And when you were senior                14        Q. So that stayed the same?
   15   product manager, which Mallinckrodt             15        A. No. Initially I reported to
   16   company did you work for?                       16   Rick Coulon.
   17        A. Mallinckrodt Generics. And              17        Q. Oh, got it. Okay. And Rick
   18   to differentiate there's a health systems       18   Coulon reported to Mike Gunning?
   19   division and a retail. I was on the             19        A. Correct.
   20   retail side.                                    20        Q. Okay. So as director of
   21        Q. And you worked for                      21   sales then you began reporting directly
   22   Mallinckrodt Generics. Was it your              22   to Mike Gunning?
   23   understanding that Mallinckrodt Generics        23        A. And Rick Coulon had resigned
   24   was part of Covidien?                           24   by that point.
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    1        Q. And Mike Gunning at that                1   any interaction that I recall with anyone
    2   point, did he still report to Vince             2   outside of the St. Louis business.
    3   Kaiman?                                         3        Q. And by the St. Louis
    4        A. Yes. I believe that was his             4   business, you mean Mallinckrodt Generics?
    5   reporting structure.                            5        A. That is correct.
    6        Q. And you -- and you don't                6            I'm sorry. I should -- I
    7   know who Vince Kaiman reported to?              7   interacted but not in a formal sense with
    8        A. I don't know who was there              8   the Mallinckrodt API team as well. But
    9   at the time. I'm not sure. Whoever his          9   again, not in a reporting structure kind
   10   boss was, I know initially was named           10   of a way, but I did interact with them.
   11   Mike. I don't remember his last name. I        11        Q. What's the Mallinckrodt API
   12   didn't know him. But that again changed        12   team?
   13   over time.                                     13        A. It's the raw material team,
   14        Q. And do you remember who it             14   deal with -- manufacture all the raw
   15   changed to?                                    15   materials.
   16        A. Tim Wright.                            16        Q. And which company did they
   17        Q. And what was Tim Wright's              17   work for?
   18   position?                                      18        A. I don't know where they
   19        A. Correction. I don't believe            19   rolled up. I'm not sure.
   20   it was Tim Wright directly. There was          20        Q. But they did not work with
   21   somebody in between that, that I don't         21   Mallinckrodt Generics; is that right?
   22   know who it was.                               22        A. I don't know which group
   23        Q. But at some point it became            23   they rolled into.
   24   Tim Wright?                                    24        Q. Did you ever have any
                                             Page 27                                             Page 29
    1        A. I don't know that. I think              1   interaction with anyone from Mallinckrodt
    2   there was one other person in there who         2   Pharmaceuticals Inc., the Irish company?
    3   was -- I just don't remember.                   3            MR. TSAI: Object to form.
    4        Q. Okay. What was Tim Wright's             4            THE WITNESS: I don't
    5   position?                                       5        recall.
    6        A. I don't know his title.                 6   BY MS. BAIG:
    7        Q. Do you know what company he             7        Q. You don't recall one way or
    8   worked for?                                     8   the other?
    9        A. I do not.                               9        A. I don't recall one way or
   10        Q. And when you were VP of                10   the other. It was a -- if I recall, a
   11   sales, who did you report to?                  11   Bermuda corporation. I don't remember.
   12        A. Mike Gunning.                          12   I don't recall anything regarding -- did
   13        Q. When you worked at                     13   you say an Irish entity? I don't recall
   14   Mallinckrodt, do you recall ever               14   that being a place. That may have been
   15   interacting with anybody from corporate?       15   after my tenure. I just -- again, I left
   16        A. I guess maybe I could                  16   in 2010, early.
   17   clarify that. What do you define as            17        Q. Okay. And why did you leave
   18   corporate? I don't know what that would        18   the company?
   19   stand for.                                     19        A. I had an opportunity at a
   20        Q. Did you talk internally                20   different company.
   21   about a corporate office or no?                21        Q. Which company did you go to?
   22        A. No. I mean -- Tyco                     22        A. Dr. Reddy's Laboratories.
   23   Healthcare, they were based in                 23        Q. And you're still there now?
   24   Massachusetts. I don't -- I never had          24        A. I am not.
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    1       Q. Did you go to another                       1   you entered into a severance agreement
    2   company after Dr. Reddy's?                         2   with Mallinckrodt.
    3       A. Yes.                                        3        A. No, I don't recall any.
    4       Q. Which company?                              4        Q. Okay.
    5       A. Ajanta Pharma.                              5        A. There was no payout, if
    6       Q. Are you there now?                          6   that's your question.
    7       A. I am.                                       7        Q. Yeah.
    8       Q. What is your position at                    8        A. Okay.
    9   Ajanta Pharma?                                     9        Q. Okay. Did you ever use any
   10       A. Senior vice president,                     10   personal e-mail addresses when you worked
   11   commercial operations.                            11   at Mallinckrodt?
   12       Q. And do you work on any                     12        A. Not that I recall.
   13   opioid products at Ajanta Pharma?                 13        Q. What about text messages?
   14       A. I do not.                                  14        A. Yes.
   15       Q. And when you were at                       15        Q. And did you look at any text
   16   Dr. Reddy's, what was your position               16   message documents when you were preparing
   17   there?                                            17   for your deposition today?
   18       A. Vice president of sales and                18        A. No.
   19   marketing.                                        19        Q. Do you know whether those
   20       Q. And you worked on opioid                   20   text message documents were produced in
   21   products at Dr. Reddy's, did you not?             21   this action?
   22       A. I did not.                                 22        A. I don't recall. I don't --
   23       Q. Dr. Reddy's didn't have any                23   I don't know.
   24   opioid products?                                  24        Q. And did you -- did you use
                                                Page 31                                           Page 33
    1        A. No. I was in the generic                   1   the text messaging to communicate with
    2   division. I don't recall any in the                2   colleagues at Mallinckrodt?
    3   organization at all.                               3        A. Yes.
    4        Q. When you left the company,                 4        Q. On a pretty regular basis?
    5   did you enter into a severance agreement?          5        A. Yes.
    6        A. No. I believe I had a                      6            MS. BAIG: Let's have this
    7   signing agreement.                                 7        document marked as Exhibit 1.
    8        Q. When you left?                             8            (Document marked for
    9        A. No. When I joined --                       9        identification as Exhibit
   10        Q. When you joined.                          10        Mallinckrodt-Adams-1.)
   11        A. -- the organization, I                    11            THE WITNESS: Is that for
   12   believe I signed.                                 12        me?
   13        Q. So you didn't receive any                 13   BY MS. BAIG:
   14   sort of payout when you left                      14        Q. This document is
   15   Mallinckrodt?                                     15   Bates-stamped Mallinckrodt_0007918702
   16        A. Oh, I'm sorry.                            16   through 8704. It appears to be a copy of
   17        Q. Any sort of severance pay?                17   your resumé. Have you seen this document
   18        A. Let me -- let me just                     18   before?
   19   clarify. I thought you were asking me             19        A. Yes.
   20   initially about Dr. Reddy's. Are you              20        Q. And was this your resumé
   21   asking separate questions now? Can you            21   that you submitted to Mallinckrodt when
   22   clarify?                                          22   you joined the firm?
   23        Q. Yeah, sure. No, I'm just                  23        A. I believe so.
   24   asking if when you left Mallinckrodt, if          24        Q. And was this a true and
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     1   accurate copy of your -- or summary of        1        Q. Okay. And you see that the
     2   your work credentials at that time?           2   second page after the e-mail states it's
     3        A. Let me review. Yes, it is.            3   an ECF Global Peoplesoft Employee Change
     4        Q. Is there any reference to             4   Form. Do you see that?
     5   the opioid products at Upsher on this         5        A. I see the title. Let me --
     6   resumé?                                       6   let me just try and get some recollection
     7        A. No, there is not.                     7   here.
     8            Just to add to that, it was          8        Q. Sure.
     9   a non-promoted product. So it wasn't          9        A. Okay.
    10   something that -- it was on the              10        Q. If you could look through,
    11   portfolio. But it was not part of the        11   four pages in to the document that ends
    12   promotion. We had maybe a half a dozen       12   in a Bates stamp number 687. It appears
    13   products that we'd focus on doing            13   to be a performance -- it states it's a
    14   marketing programs on. And this was not      14   performance management document for
    15   one of them.                                 15   October of 2004.
    16        Q. And that was at Upsher,              16        A. I'm sorry. Just to make
    17   correct?                                     17   sure. Okay, I see this.
    18        A. Correct.                             18        Q. You should be able to see it
    19            MS. BAIG: Let's have this           19   on your screen too.
    20        document marked as Exhibit 2.           20        A. Yeah, okay, perfect. Thank
    21            (Document marked for                21   you.
    22        identification as Exhibit               22        Q. Great. Is this a
    23        Mallinckrodt-Adams-2.)                  23   performance evaluation from your time at
    24   BY MS. BAIG:                                 24   Mallinckrodt?
                                            Page 35                                             Page 37
     1        Q. When you were at                      1        A. Yes, it appears so.
     2   Mallinckrodt, did you receive regular         2        Q. Okay. If you -- if you turn
     3   performance evaluations?                      3   two pages in, you'll see on the page that
     4        A. Yes, I did.                           4   ends in Bates stamped 690, you'll see
     5        Q. And -- well, for the record,          5   where it's talking about expected results
     6   this document is Bates-stamped                6   and actual results. Do you see that?
     7   MNK-T1_0007918669 through 8712. And if        7        A. I see three different
     8   you turn to the second page.                  8   headings with that, yes.
     9        A. I'm sorry, can you clarify            9        Q. Yeah. And so if you look at
    10   who Louise Yaeger is? I don't recall.        10   the second actual result. Do you see it
    11        Q. I can't answer that, because         11   says, "John communicated a creative brief
    12   I don't know the answer to that. These,      12   outlining the desired message of the new
    13   I can represent to you, the vast majority    13   hydrocodone advertisement."
    14   of these documents that we'll be looking     14           Do you see that?
    15   at today came from your custodial files      15        A. I'm just -- I'll read
    16   from your counsel. And so that might         16   through the whole thing here.
    17   have been one of the questions I might       17           Yes.
    18   have asked you.                              18        Q. And so was it -- was it your
    19            But you don't -- so you             19   job to help create this new hydrocodone
    20   don't know who Louise Yaeger is?             20   advertisement?
    21        A. I'm not familiar with the            21        A. So my -- my role was to
    22   name. I've heard it before, but I            22   provide insights into that. We had a
    23   couldn't tell you the context at all. I      23   different group who would develop
    24   have no clue.                                24   advertising. But I certainly would work
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     1   with that group, and I see that this does       1   sheet, and sales aid were rolled out in
     2   talk about kind of looking at                   2   August."
     3   communicating advertisement.                    3             Do you see that?
     4             I just want to clarify that           4        A. I do see that.
     5   advertisements that we did were done to         5        Q. Okay. And what was the sell
     6   the chain headquarters, wholesaler              6   sheet?
     7   headquarters, distributor headquarters,         7        A. That -- that's another term
     8   and that was our audience.                      8   for an advertisement if you will. So a
     9        Q. What do you mean by chain               9   sell sheet is basically, again, given to
    10   headquarters?                                  10   the headquarter level to create awareness
    11        A. So let's look at Walgreens             11   at that level.
    12   for example. I wouldn't go and call on,        12        Q. And do you recall anything
    13   or my team wouldn't go and call on a           13   about that particular sell sheet?
    14   Walgreens pharmacy on Main Street. Our         14        A. I don't recall anything
    15   team was responsible for calling on the        15   about that particular sell sheet, no.
    16   national headquarters in Deerfield,            16        Q. And what was the sales aid?
    17   Illinois, for that. And that was our --        17        A. I would use those
    18   that was our contact.                          18   interchangeably.
    19        Q. Understood. But you were               19        Q. Sales aid and sell sheet?
    20   responsible then for outlining the             20        A. Yeah, I can't think of how
    21   desired message of the new hydrocodone         21   to differentiate the two, because I don't
    22   advertisement; is that right?                  22   recall a different -- a different
    23        A. I would be -- I would be               23   component of that.
    24   included in that discussion, yes.              24        Q. And do you see it goes on to
                                              Page 39                                              Page 41
     1        Q. And do you recall the                   1   state that the "advertisement
     2   hydrocodone advertisement at that time?         2   communicates the strengths of our line as
     3        A. I don't remember it                     3   well as highlights the fact that this is
     4   specifically, but maybe to put it into          4   the Number 1 selling generic in the U.S."
     5   context, more hydrocodone messaging would       5             Do you see that?
     6   be -- it would list the NDC, national           6        A. I do see that.
     7   drug code. It would list the item               7        Q. So you had an understanding
     8   number, product description, and some           8   at the -- at the time that hydrocodone
     9   bullet points. So it was something that         9   was the Number 1 selling generic in the
    10   we could provide at the headquarter level      10   United States?
    11   for -- for them to kind of build again,        11        A. It was based on IMS data.
    12   kind of reinforce our position in the          12   So IMS basically highlights the units
    13   market, the market defined as                  13   sold into the market, and by market, it's
    14   headquarters and national distributors         14   not down to any level other than into the
    15   and chains, et cetera.                         15   channel of distribution, independents,
    16        Q. Do you recall whether that             16   change, long-term care facilities, et
    17   hydrocodone advertisement was a graphic        17   cetera.
    18   with a picture?                                18             So by units, that was the
    19        A. I don't recall.                        19   definition that IMS utilized.
    20        Q. You don't recall anything              20        Q. By units, hydrocodone was
    21   about it?                                      21   the Number 1 selling generic in the U.S.
    22        A. No, I don't. No, I don't.              22   in 2004, correct?
    23        Q. And -- and it goes on to               23        A. Yes.
    24   state that the "advertisement, sell            24        Q. Okay. And the secondary
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     1   messages of the advertisements were that,         1   to make sure that if you were in a
     2   "A, the benefits to patients by the               2   hospital, you had a unit-dose product.
     3   extent of offerings of strengths and              3   If you were -- and that's long-term care.
     4   dosage forms; and B, the benefits to              4            A punch card would be there
     5   pharmacists by offering punch cards, unit         5   so you could have that, that would
     6   dose and bulk totes; and C, reliable              6   benefit that healthcare facility who is
     7   service and supply leveraging the                 7   dispensing what the physician prescribed.
     8   vertical integration."                            8   And bulk totes, similarly they would put
     9            Do you see that?                         9   those into a dispensing machine for the
    10        A. I do see that, yes.                      10   convenience of the pharmacy.
    11        Q. And do you recall what                   11        Q. What -- what is a bulk tote
    12   benefits to patients were stated on the          12   exactly?
    13   advertisements?                                  13        A. A bulk tote, so typically
    14        A. Well, maybe if -- if we can              14   you would sell a product in a bottle of
    15   look at all of these kind of in -- in            15   100 tablets or capsules, whatever the
    16   context. The benefits would be                   16   dosage form is, 500 count. A lot of
    17   communicated to the pharmacist who would         17   times you would take a bulk tote and you
    18   be then dispensing a product based on a          18   would sell it in a quantity of a
    19   physician's prescription, that we had            19   thousand, for example. And let's say
    20   various strengths. So you would have a           20   that a hospital was using a product like
    21   5-milligram of hydrocodone and                   21   this. And while we had a unit dose
    22   325 milligrams of acetaminophen. That            22   package or a punch card, some hospitals
    23   patient who, because of their doctor's           23   chose to have their own proprietary
    24   prescription was prescribed that amount.         24   packaging configuration. They would take
                                                Page 43                                             Page 45
     1   We also would have a strength                     1   the bulk tote and put it into their own
     2   10-milligram of hydrocodone and                   2   repackaging machine.
     3   600 milligrams of acetaminophen, the              3             And then they could use it
     4   doctor deemed that the patient needed             4   to their configuration. So it was -- it
     5   that amount. So that's why, when you              5   gave them what fit their need at the
     6   talk about the benefits to the patient,           6   pharmacy level versus, you know, trying
     7   you have a different dose of product as           7   to have them fit into what package
     8   the doctor determines is needed for that          8   offerings we held.
     9   specific patient.                                 9        Q. And when you referenced a
    10        Q. But you don't recall, as you             10   dispensing machine, who had access to the
    11   sit here today, what the benefits were           11   dispensing machine?
    12   that were identified on these advertising        12        A. The pharmacist would -- the
    13   documents, correct?                              13   actual pharmacy would have a potential
    14        A. The -- the benefits as                   14   different machine that they could pour
    15   highlighted here. I can only take it for         15   the pills into, and then it would count
    16   the context I can provide, and that is           16   out if that -- if the patient was
    17   based on what the doctor deemed was a            17   prescribed by their physician five
    18   benefit to the patient, we had the               18   tablets, it could dispense five.
    19   offering that could be -- be available           19             Or it could take that and
    20   there.                                           20   take and put one tablet into a little
    21            So -- and as I mentioned                21   unit dose pouch and do that for each
    22   before, I think to put it all into               22   individual patient that the physician had
    23   context is again punch cards, unit dose          23   prescribed the product for. And so it's
    24   and bulk totes, those all were designed          24   just a -- there are multiple companies
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     1   that have different dispensing based on        1        Q. Do you recall using that new
     2   their particular needs.                        2   hydrocodone advertising at any wholesaler
     3        Q. And what's a punch card                3   trade shows?
     4   exactly?                                       4        A. I don't recall it
     5        A. A punch card is -- it's a --           5   specifically, but I do recall having sell
     6   think of a bingo card. And the bingo           6   sheets, if you will, for the wholesaler
     7   card, it has a punch that you could punch      7   trade shows and NACDS.
     8   a pill out of. And in a nursing home for       8        Q. And who attended the
     9   example, there may be a patient who would      9   wholesaler trade shows?
    10   have a one-week supply of product             10        A. The wholesaler trade shows
    11   prescribed by their doctor. And that          11   would be the wholesaler who's -- who we'd
    12   punch card could have hydrocodone in it.      12   be calling on, so for example McKesson,
    13   And they can put in day one, day two, day     13   AmerisourceBergen, Cardinal, just to name
    14   three, day four, day five, day six, day       14   a few.
    15   seven, exactly those days, and put in         15            And then who would be
    16   that full week of that product, as well       16   attending that would be their customers,
    17   as atenolol or other prescription             17   the pharmacy level. So that would be you
    18   products.                                     18   know, Joe's Pharmacy on Main Street. It
    19            We wouldn't put it in in             19   could be Rite Aid pharmacy. It could be
    20   that form, but we could do it with just       20   a CVS pharmacy who purchases through one
    21   the hydrocodone in what a long-term care      21   of these wholesalers. So it's all at the
    22   facility would require.                       22   pharmacist level.
    23        Q. Okay. If you turn to the              23        Q. And do you recall, did
    24   next page you'll see under one part of        24   Mallinckrodt have a booth at these trade
                                             Page 47                                              Page 49
     1   the performance evaluation, there's a          1   shows?
     2   heading, "Continuous Quality                   2        A. It would depend upon the
     3   Improvement."                                  3   show.
     4             Do you see that?                     4        Q. And did you attend the shows
     5         A. What page are you on here?            5   yourself?
     6         Q. It ends in 692.                       6        A. I would attend shows, not
     7         A. I see that heading, yes.              7   all of them, but some of them, yes.
     8         Q. And towards the end of that           8        Q. Generally how often did you
     9   paragraph it states, "Additionally, under      9   attend trade shows related to your opioid
    10   his leadership, he was able to get the        10   products?
    11   new hydrocodone advertising back on track     11        A. I would attend an estimated
    12   and execute in time to meet the deadlines     12   three trade shows per quarter. But it
    13   for the wholesaler trade shows and            13   wasn't specific to opioid products. It
    14   NACDS." It goes on to state, "He              14   would be for the Mallinckrodt as an
    15   improved the direction and clarity of         15   organization, and also, just to represent
    16   communication to our ad agency and            16   a full product line that we had.
    17   responded quickly gaining management's        17        Q. And at those trade shows,
    18   approval for the concept."                    18   you would have -- you would -- -- would
    19             Do you see that?                    19   you pass out the sell sheets?
    20         A. Yeah. If I could I'll read           20        A. We would have trade -- we
    21   it in full context.                           21   would have sell sheets at trade shows
    22         Q. Okay.                                22   available as a reference, and it would be
    23         A. Thank you. Okay, I have the          23   sitting on the table as a handout as
    24   context. Could you repeat?                    24   well.
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     1         Q. And what was NACDS?                    1            So it really run anything
     2         A. The National Association of            2   that you would walk into a chain pharmacy
     3   Chain Drug Stores. That is -- that is           3   and see, could be attending a meeting
     4   the trade association for the chain             4   such as this.
     5   headquarters that were our customers. So        5        Q. And when you did
     6   if -- to put it into context, think CVS,        6   presentations at NACDS meetings, did
     7   Walgreens, Rite Aid, those types of             7   those presentations include
     8   organizations were members of the NACDS.        8   product-specific information for your key
     9         Q. And did you -- did you                 9   products?
    10   attend NACDS trade shows as well?              10        A. We would tend to go down --
    11         A. Yes, I would attend those on          11   I can't say this for every meeting. But
    12   an annual basis.                               12   as a general rule, we would have a
    13         Q. And you would bring the same          13   business review that would start at the
    14   hydrocodone marketing materials to those       14   top level. Here are your sales year to
    15   as well?                                       15   date. Here they are compared to last
    16         A. NA -- no, traditionally with          16   year. Then you would drill down into
    17   that you would bring more of a business        17   product specific, how are you doing in
    18   review. And that was more of a                 18   your sales versus previous years.
    19   discussion of how your sales dollars           19        Q. Do you recall placing
    20   were, how was your performance. And you        20   journal advertisements for Mallinckrodt's
    21   would have typically a presentation that       21   opioid products?
    22   you would go over. We would have, for          22        A. We had a team that would do
    23   example, an LCD -- an LCD project or on        23   that, a different division that would do
    24   the screen, and we would use that              24   that. But I do recall advertisements to
                                              Page 51                                            Page 53
     1   messaging in our presentation and               1   pharmacies, chain and wholesaler
     2   business review with, for NACDS, the            2   headquarters, as our target, yes.
     3   chains. But wholesalers would also              3        Q. And do you remember what
     4   attend that, distributors would also            4   journals -- in what journals you placed
     5   attend that meeting. So that would be           5   such ads for opioid products?
     6   the customer base that we would have.           6        A. Drug Store News, Pharmacy
     7        Q. Did anybody else attend the             7   Times, Drug Store Management, Chain Drug
     8   NACDS meetings that you recall?                 8   Review.
     9        A. As far as competitors? Or               9            So those are the ones --
    10   as far as Mallinckrodt employees? What         10   U.S. Pharmacist.
    11   are you --                                     11            So those are the ones that I
    12        Q. No. Outside of                         12   can recall.
    13   Mallinckrodt.                                  13        Q. Was the NACDS conference
    14        A. Outside of Mallinckrodt.               14   considered a key project -- strike that.
    15   Yeah, it would encompass the majority of       15            How many NACDS conferences
    16   pharmaceutical companies in the country.       16   would you attend per year?
    17   It would also include pharmacy providers.      17        A. They have two separate
    18   So as I spoke to the bulk totes in the         18   meetings. One -- so there are two per
    19   past, earlier today, there would be            19   year. One is the one I referred to
    20   manufacturers of the dispensing machines       20   earlier. And that is now referred to as
    21   who would be present. There would be           21   NACDS Total Store Expo. And that is a
    22   people who would be there representing         22   meeting that occurs at the end of August
    23   over-the-counter medications, greeting         23   every year. I would attend that on an
    24   cards.                                         24   annual basis.
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     1            There's also another meeting            1        Bates-stamped copy that you have.
     2   called NACDS annual that occurs roughly          2            MS. BAIG: Well, for the
     3   April of every year. I didn't begin              3        record, it appears to be a
     4   attending that, I don't believe, until I         4        document about half an inch thick
     5   was director of sales and vice president         5        that begins -- it states it's
     6   of sales.                                        6        Covidien John Adams view
     7            In that case, you would meet            7        assessment, and starts with
     8   with the senior management teams from            8        performance goals for 2007.
     9   wholesalers. Most of the time                    9   BY MS. BAIG:
    10   distributors would not be there. But            10        Q. Do you see that?
    11   wholesalers and chain headquarters.             11        A. I do.
    12            MS. BAIG: Counsel, do you              12        Q. Okay. And if you flip
    13        know whether the sell sheets and           13   through this document, do you see that it
    14        the advertising that we've just            14   generally appears to be a series of -- of
    15        talked about has all been                  15   performance evaluations and other
    16        produced?                                  16   documents from your personnel file?
    17            MR. TSAI: I can check and              17        A. Yes.
    18        confirm with you.                          18        Q. And in -- the first one is
    19            MS. BAIG: That would be                19   for 2007. So at that time, your position
    20        great. Thank you.                          20   was what, again?
    21            Let's have marked as                   21        A. I believe this was still
    22        Exhibit 3 this stack of                    22   senior product manager. I can't say that
    23        performance evaluations. I will            23   for certain. I mean there -- there's
    24        represent that was produced to us          24   again timelines when the promotions
                                               Page 55                                              Page 57
     1       last night at about 10:45 p.m.               1   were -- I don't -- I don't recall
     2           (Document marked for                     2   exactly, so...
     3       identification as Exhibit                    3        Q. Okay. But in all of --
     4       Mallinckrodt-Adams-3.)                       4        A. I'm just looking to see if
     5   BY MS. BAIG:                                     5   it does state that. I just don't recall.
     6       Q. So we just have that one                  6        Q. In all of your positions at
     7   copy that you'll have to share with your         7   Mallinckrodt, did you understand that it
     8   counsel.                                         8   was your job to maximize sales?
     9           MS. BAIG: And obviously I                9            MR. TSAI: Object to form.
    10       have not had an opportunity to              10            Go ahead.
    11       read these in detail. But I'd               11            THE WITNESS: My -- my
    12       like to attach them to the record.          12        goal -- certainly one of the
    13       And -- and we reserve our right to          13        objectives that I had is to -- to,
    14       reopen questioning if necessary.            14        yes, have sales targets and to
    15           This document does not                  15        work to achieve or exceed those,
    16       appear to be Bates stamped; is              16        but as you can see from this,
    17       that right?                                 17        there are multiple goals, that
    18           MR. TSAI: We have produced              18        being one of them.
    19       a Bates-stamped copy yesterday and          19   BY MS. BAIG:
    20       we identified that to you.                  20        Q. Would you agree that that
    21           For convenience we                      21   was one of the key goals?
    22       separately printed out a hardcopy           22        A. They all have various
    23       to use it as an exhibit today. So           23   weightings just like any performance
    24       there -- the -- there is a                  24   review. I don't have the exact weighting
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     1   for this scenario.                              1   reports, Jeff Burd and Bonnie New that
     2        Q. Do you see at the very top              2   you mentioned earlier?
     3   of this page, the first item that's             3        A. Yes, that's true.
     4   listed under expected results, it states,       4            Actually correction. I
     5   "Increase net margin of products                5   didn't mention them earlier. I don't
     6   available through the Zydus alliance from       6   recall them reporting to me, which is --
     7   200,000 to $7.9 million before split by         7   again, I hope they won't be insulted by
     8   gaining share of already launched               8   that. But that is not who I mentioned
     9   products and capitalize on fiscal year          9   before. I mentioned Rebecca Coyner and a
    10   '07 launches."                                 10   person with the name John who I don't
    11             Do you see that?                     11   recall his name. I didn't recall that
    12        A. I do.                                  12   Jeff and Bonnie reported to me.
    13        Q. And what was Zydus alliance?           13        Q. Okay. But here, now that
    14        A. Zydus was a pharmaceutical             14   you see this document, do you recall that
    15   company in which Mallinckrodt had an           15   Jeff Burd reported to you?
    16   alliance. So Zydus was -- existed              16        A. Yeah, I -- I --
    17   outside the U.S., but was just launching       17        Q. And he was the product
    18   its own product in the U.S. and needed to      18   manager for product pricing and promotion
    19   have a sales team represent them at            19   of the hydrocodone family and the
    20   various chains and wholesalers. And so         20   oxycodone family?
    21   this alliance was developed.                   21        A. Yeah, yeah. I mean this --
    22             They had a different product         22   this triggers that. But again, I didn't
    23   portfolio that was all noncontrolled,          23   recall that.
    24   non-opioid drugs. And so this was an           24        Q. And then if you look at the
                                              Page 59                                            Page 61
     1   initiative that we worked on to -- to           1   next document, it appears to be
     2   drive sales of, as I stated, non-opioids,       2   performance goals for 2005. Do you see
     3   non -- noncontrolled substances.                3   that?
     4            And to inject some humor               4        A. I do see that.
     5   into this, I can say I failed in my             5        Q. And there's a reference in
     6   objective. Apparently I fell                    6   expected results to HD/APAP. What is
     7   $2.5 million short of my objective. So          7   that?
     8   not a good performance.                         8        A. Hydrocodone with
     9        Q. If you skip to the second               9   acetaminophen.
    10   stapled document in the packet. That           10        Q. And so your expected result
    11   appears to be performance goals for 2006.      11   here was to formalize the micro-marketing
    12   Do you see that?                               12   campaign strategy for hydrocodone with
    13        A. I do see that, yes.                    13   acetaminophen by the end of Quarter 2 and
    14        Q. And if you skip -- skip then           14   achieve $130 million in fiscal year '05
    15   to the third document. It's titled             15   sales or a $17 million increase over
    16   Marketing Department Overview. Do you          16   fiscal year '04.
    17   see that?                                      17            Do you see that?
    18        A. I do see this, yes.                    18        A. I do. This was specific to
    19        Q. And it's -- it's showing               19   the micro-marketing that's being referred
    20   that, as senior product manager, you were      20   here.
    21   part of the marketing department; is that      21            Let me just finish this.
    22   right?                                         22            Okay. Yes. I'm sorry,
    23        A. That is correct.                       23   could you repeat your question?
    24        Q. And those are the two                  24        Q. So your expected result was
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     1   to formalize the micro-marketing campaign       1   Our goal was to get 600 thousand of that.
     2   strategy for hydrocodone with                   2             Is that right? Yeah, of
     3   acetaminophen by the end of fiscal year         3   that amount to -- which was again just
     4   '05?                                            4   filling what was already there as the
     5         A. Yes. And the                           5   demand that their pharmacist had, but it
     6   micro-marketing campaign, as I look             6   didn't expand the amount of pills being
     7   through this, AmerisourceBergen has a           7   used.
     8   generic source program, which they have         8         Q. And what was the
     9   customers that are enrolled in this             9   micro-marketing campaign strategy for
    10   program. And so if a pharmacy orders a         10   this hydrocodone product?
    11   specific product -- so in this case,           11         A. I don't remember specifics,
    12   let's say -- let's say they order              12   but as I read through this, there is an
    13   hydrocodone with acetaminophen, the goal       13   inside sales team that would call the
    14   was to be the primary dispensed product.       14   pharmacies and let the pharmacies -- make
    15   So that pharmacist would order a product       15   them aware that when they ordered from
    16   based on their demand. And then                16   AmerisourceBergen, they had a choice
    17   AmerisourceBergen in this case would ship      17   between Mallinckrodt product or Watson
    18   their primary product that was on that         18   product. And they could work to talk
    19   source program.                                19   with those pharmacists to make them aware
    20             In this case, we were not            20   of our access on that contract.
    21   initially the primary product, but we          21         Q. Do you see maybe two pages
    22   earned what was called a dual primary.         22   in, there's a document with an eagle on
    23   So that meant the pharmacist, in ordering      23   it that states, "Trust in our strengths"?
    24   the product, could choose Actavis, or at       24         A. Yes.
                                              Page 63                                             Page 65
     1   that time Watson product, or Mallinckrodt       1        Q. It also states, "Hydrocodone
     2   product.                                        2   bitartrate and acetaminophen."
     3            So our goal was if that                3        A. Yes.
     4   pharmacist was to order the product based       4        Q. Do you -- do you know what
     5   on their own demand, that the product           5   this is?
     6   that was -- that was -- that they chose         6        A. Yes, I'm familiar with --
     7   was ours, instead of Watson.                    7   I'm familiar with the document.
     8            So it was nothing more                 8        Q. What is it?
     9   than -- than if 100 percent of the market       9        A. This would be considered a
    10   is being pulled through this particular        10   sell sheet or something that would -- in
    11   wholesaler, we wanted to be the one that       11   this case I don't know how it was used.
    12   the pharmacist chose.                          12   But it would talk about the key strengths
    13        Q. You wanted to increase                 13   of Mallinckrodt. And it -- you can't --
    14   market share?                                  14   you can't read it down below here, but
    15        A. We wanted to increase our              15   that we made the active ingredient, that
    16   market share of that customer. But that        16   we manufactured the actual product
    17   does not do anything to increase the           17   itself. We had specific packaging to
    18   market itself. So if AmerisourceBergen         18   meet the pharmacist's need. And we were
    19   has 100 million doses that they sell into      19   able to distribute product into the
    20   the market, our goal was to get six --         20   marketplace through our -- through our
    21   excuse me, 600,000 -- excuse me, 600 --        21   trade partners.
    22   sorry, what did I say, a hundred million.      22        Q. And do you see, though it's
    23   Sorry.                                         23   hard to read, just under, "Trust in our
    24            A hundred million doses.              24   strengths," it says, "Soar" -- S-O-A-R --
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     1   "Soar with the Number 1 selling generic        1        MS. BAIG: I'm just asking.
     2   in America."                                   2        THE WITNESS: Yeah, yeah, no
     3             Do you see that?                     3   problem.
     4         A. I do see that. So that                4        So what you had access to --
     5   again is referencing the IMS. You can't        5   I don't agree with the beginning
     6   make a claim without having a reference        6   part of that. Or maybe that's why
     7   on something like that.                        7   it's the question.
     8             So that was just referencing         8        What it provides you is
     9   our position in the market relative to         9   information on where it was sold
    10   the IMS data.                                 10   to from the wholesaler or
    11         Q. So you were able to track            11   distributor in this case. And so
    12   that hydrocodone was the Number 1 product     12   what I will -- what I'll do is
    13   in America from the IMS data, correct?        13   kind of walk through that process.
    14         A. As far as -- every generic           14        When I sold a product to
    15   pharmaceutical company in the country is      15   AmerisourceBergen, I didn't know
    16   able to and does purchase IMS data to         16   where that product was going to be
    17   obtain reporting.                             17   purchased, what pharmacy was going
    18         Q. And the next page --                 18   to purchase it off of which
    19         A. And just to clarify. The             19   contract.
    20   IMS data is products sold into                20        So when I would sell it to
    21   pharmacies, long-term care, all of that.      21   AmerisourceBergen for $100, there
    22   It's not sales out of pharmacies into         22   were contracts with various
    23   patients. We just don't have that             23   pharmacy groups that would
    24   visibility through an IMS report.             24   purchase that product from
                                             Page 67                                       Page 69
     1        Q. No. But you have that                  1   AmerisourceBergen.
     2   visibility through your chargeback data,       2       So a GPO, a group purchasing
     3   correct?                                       3   organization, who buys for a group
     4        A. No. That is incorrect. You             4   of hospitals, negotiates for a
     5   don't know what happens beyond the             5   group of hospitals, I don't know,
     6   pharmacy itself.                               6   when AmerisourceBergen purchases
     7            So where that goes to a               7   that, where that's going to go.
     8   patient -- chargeback data is a financial      8       So it may go to a hospital.
     9   transaction, basically bringing product        9   It may go to an independent
    10   from gross to net. A chargeback does not      10   pharmacy. It may go to a
    11   give you any information that would say       11   long-term care nursing home. It
    12   why the doctor prescribed your product,       12   may go to a chain pharmacy.
    13   who it went to, the reason that it went       13       So this is a way of
    14   to that patient.                              14   reconciling what you sold at that
    15        Q. So your understanding of              15   $100 price to net it down to that
    16   chargeback data, as you sit here right        16   contract price that was there. So
    17   now, is that you would not be able to see     17   I sold it to AmerisourceBergen for
    18   any of your downstream customers, so you      18   100. They sold it to that
    19   would only be able to see sales to your       19   contract for $75.
    20   direct customers, but you had no access       20   AmerisourceBergen is not going to
    21   to any data for any of their customers.       21   take a loss on that product. They
    22   Is that your understanding?                   22   charge me back for the difference
    23            MR. TSAI: Object to form.            23   between what they purchased for
    24        Mischaracterizes testimony.              24   and then what they sold it to that
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     1        specific customer for.                   1         A. Correct. And you wouldn't
     2   BY MS. BAIG:                                  2   know what type of pharmacy Joe's Pharmacy
     3        Q. Sure. And when they -- when           3   was. You could say -- Joe's Pharmacy, it
     4   they submit that chargeback data to you,      4   may be an independent pharmacy. It may
     5   you are then able to see who it was that      5   be a long-term care pharmacy. You don't
     6   AmerisourceBergen sold the product to,        6   know what their particular patient
     7   whether it was a pharmacy or whether it       7   population is that they serve or what
     8   was a pain clinic or whether it was a         8   channel they're in.
     9   hospital or whoever it was, correct?          9         Q. And if you turn to, I
    10        A. You could see that it went           10   believe, what is the next document. It
    11   to a pharmacy. So yes, but you didn't        11   states, "October 1, 2003, to
    12   know that -- what that pharmacy, you         12   September 30, 2004, Tyco Healthcare
    13   know, did they -- what physician             13   annual incentive plan."
    14   prescribed that product or did it go to,     14            Do you see that?
    15   you know -- what information went beyond     15         A. I do see the document. Yes.
    16   that pharmacy, you don't have that           16         Q. And was this your annual
    17   information.                                 17   incentive plan at the time?
    18        Q. You could see who                    18         A. I have to look to see if
    19   AmerisourceBergen sold the product to,       19   it's specific for me. I know it's got my
    20   though, correct?                             20   name on it. But if this is broader,
    21        A. There was data that would            21   so...
    22   tell you which pharmacy it went to. But      22            Yes.
    23   if you're asking who it went to, nothing     23         Q. Okay. And you see under
    24   beyond the pharmacy was included in that     24   Objective 2, it says, "Base products,
                                            Page 71                                            Page 73
     1   data.                                         1   create/execute new sales/" -- I think it
     2        Q. Right. But you could see              2   says -- "AFO/graphics for the hydrocodone
     3   who AmerisourceBergen was selling the         3   product line."
     4   product to, so whether it was a pharmacy,     4            Do you see that?
     5   a hospital, a pain clinic, whoever it         5        A. I do see the line that
     6   was, you could see the entity that            6   you're referring to. I don't know what
     7   AmerisourceBergen sold the product to.        7   AFO stands for. So this is, yes, one of
     8        A. It wouldn't come across as a          8   two objectives. One is sales on
     9   class of trade. So let's say                  9   anagrelide. One is on base products,
    10   AmerisourceBergen sold to Joe's Pharmacy,    10   yes.
    11   or it sold to CVS. I could say, oh, it's     11        Q. And this objective was
    12   sold to CVS. Yes, that is a chain            12   weighted at 50 percent; is that right?
    13   pharmacy. When it sold to Joe's              13        A. That is correct.
    14   Pharmacy, I wouldn't know if Joe's           14        Q. What was your understanding
    15   pharmacy was affiliated with a hospital,     15   of your annual incentive plan?
    16   was affiliated with a pain clinic. I         16            Or let me put it this way.
    17   wouldn't know what type of pharmacy that     17   Is your annual incentive plan, is that a
    18   was. It didn't come across and say, oh,      18   bonus plan?
    19   this is a chargeback affiliated with a       19        A. Yes. It -- it would tie
    20   specific class of trade.                     20   into your bonus at the end of the year,
    21        Q. So it didn't tell you the            21   correct.
    22   class of trade of Joe's Pharmacy, but you    22        Q. And did you have any other
    23   could see that AmerisourceBergen sold the    23   incentive plans other than an annual
    24   product to Joe's Pharmacy, right?            24   incentive plan? For example, did you
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     1   also have a long-term incentive plan?          1        A. I do see that, yes.
     2        A. I -- I don't know                      2        Q. And it indicates that your
     3   specifically. I just don't recall.             3   annual salary is about             and your
     4            If -- if there was a                  4   target bonus opportunity was about
     5   breakout of long-term and short-term, I        5       percent.
     6   had that at Dr. Reddy's. I'm just foggy        6             Do you see that?
     7   on if I had that at Mallinckrodt.              7        A. Yes, I do.
     8        Q. And do you recall what your            8        Q. And right under that it
     9   base salary was roughly when you began at      9   states, "Bonus multiplier of
    10   Mallinckrodt and what it was when you         10             percent."
    11   left?                                         11             Do you see that?
    12        A. I know when I started it was          12        A. I do see that.
    13              a year plus bonus. But I don't     13        Q. What was the bonus
    14   know what the bonus was.                      14   multiplier?
    15            And then I don't remember            15        A. So if my target was
    16   what it was when I left.                      16       percent, which again I didn't recall,
    17        Q. Do you -- can you give me             17   that meant that I was -- that I earned
    18   your best estimate of around what it was      18            percent of the    percent. And
    19   when you left?                                19   then the proration is -- I don't remember
    20        A. I would say around                    20   the fiscal year. But that must have been
    21   annually.                                     21   the amount of months I was in during the
    22        Q. And do you have a general             22   fiscal year at Mallinckrodt.
    23   recollection of the way that your             23        Q. And if you skip maybe five
    24   bonus -- bonuses changed over the years       24   or six pages you'll see a page that
                                             Page 75                                                Page 77
     1   while you were at Mallinckrodt?                1   begins "A career built on more than
     2        A. I don't recall.                        2   words: Tyco Healthcare internal job
     3        Q. Do you recall whether or not           3   board." And it says position director --
     4   they grew?                                     4        A. Sorry, I'm -- I haven't
     5        A. I don't recall specifically.           5   found it.
     6   I would assume that with increasing            6        Q. -- director of sales.
     7   responsibility I had increasing bonus          7            So I'm just describing it so
     8   percent.                                       8   you can see it since it's not Bates
     9            I know as I transitioned              9   stamped.
    10   into vice president of sales, there would     10        A. Okay. I see it.
    11   be higher potential relative to that          11        Q. And this is the position
    12   bonus. I just don't recall along the way      12   description for the position that you
    13   what the progression was.                     13   moved into when you became director of
    14        Q. Do you recall being part of           14   sales; is that right?
    15   the stock -- a stock plan at some point?      15        A. Yes.
    16        A. Yes. I don't remember                 16        Q. And if you skip maybe five
    17   specifics on it. But I did receive stock      17   or six more pages. You'll see a 2007
    18   based on some interval and I don't know       18   stock and incentive plan.
    19   what it was. I just don't recall.             19        A. It looks like there are two
    20        Q. So if you turn a couple               20   of them with the same title.
    21   pages down, you'll see, "Tyco TAIP            21        Q. Let's look at the 2007 -- or
    22   summary bonus payout breakdown for fiscal     22   the -- I'm looking at the one granted on
    23   year '04."                                    23   July 1st, 2008.
    24            Do you see that?                     24        A. They both have the same
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     1   heading. I'm sorry. Maybe this -- I               1        Q. And if you skip a couple
     2   just want to make sure I'm referring to           2   documents further, you'll see there is a
     3   the right one.                                    3   document titled "2008 total cash
     4        Q. Let's look at the first one.              4   compensation statement "for John Adams,"
     5        A. Okay.                                     5   with a pie chart.
     6        Q. And does this refresh your                6           I think it's before that
     7   recollection that at least around July of         7   document. So it's the document before
     8   2008, that you were part of the stock and         8   this one.
     9   incentive plan?                                   9        A. Thank you. Appreciate it.
    10        A. This -- yeah, this looks                 10        Q. Sure.
    11   like the plan laid out. What I don't             11           So you see here it reflects
    12   know is how it -- if it -- this was              12   your 2008 base salary as being           .
    13   specific to me or what, you know, what           13   And a few lines down, your 2009 base
    14   was the context of this relative to              14   salary as being            . Do you see
    15   anyone else in the division. So I don't          15   that?
    16   know. Yeah, I don't know specifically if         16        A. I do see that, yes.
    17   this is related to me or -- or just as a         17        Q. And then it identifies your
    18   broad organization.                              18   target bonus opportunities, correct?
    19        Q. Well, I can represent to you             19        A. I do see, yes, the various
    20   that your counsel produced it as part of         20   components, yes.
    21   your personnel file. Do you have any             21        Q. Okay. And it identifies as
    22   reason to doubt that this was the plan           22   target bonus opportunities, pharma sales
    23   that you were part of?                           23   growth at 40 -- 40 percent, pharma gross
    24             MR. TSAI: Oh, just as a                24   margin at 30 percent, and pharma
                                                Page 79                                               Page 81
     1        clarification. I think we -- it              1   operating income at 30 percent. Do you
     2        was his home personal file.                  2   see that?
     3        Just -- you said personnel. So               3        A. I do see that, yes.
     4        these were hard copies that we               4             What I don't know on this,
     5        gathered from Mr. Adams' home,               5   and I don't recall if -- as -- as this
     6        home office.                                 6   was VP of sales, pharma, I don't know if
     7            MS. BAIG: Oh, I see.                     7   that's tied to just generics, or if
     8   BY MS. BAIG:                                      8   that's tied to more, is it a global
     9        Q. So you produced these from                9   number, global being defined as the
    10   files that you had at your home?                 10   broader than just generic. I don't know
    11        A. Correct. I have a                        11   what this references. And so I -- I wish
    12   compensation history file --                     12   I had more detail, and I just don't.
    13        Q. Okay.                                    13        Q. Do you see the pie chart to
    14        A. -- and that's what this came             14   the right where it states your total cash
    15   from, correct.                                   15   compensation?
    16        Q. Okay. So is there any                    16        A. I do.
    17   reason to doubt that this was the plan           17        Q. And there's a shaded area
    18   that you were part of?                           18   that reflects merit increase?
    19        A. No. I don't know that it                 19        A. Yes. There's two shaded
    20   was specifically for me, but it                  20   areas. One is merit and one is
    21   certainly -- if I received information           21   performance bonus.
    22   regarding incentives that related to me,         22        Q. And then there's the current
    23   I would have -- I would have it retained         23   base salary, correct?
    24   somewhere. Somewhere in this file.               24        A. Correct.
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     1        Q. And the next document is               1        Q. Okay. So the NS goal was
     2   titled "The Covidien annual incentive          2   net sales and the NM goal was net margin?
     3   plan for fiscal year 2009."                    3        A. Correct.
     4             Do you see that?                     4        Q. And the net sales goal came
     5        A. I do.                                  5   in at 135.1 percent, and the net margin
     6        Q. And is it your understanding           6   goal came in at 163.7 percent, correct?
     7   that this was the annual incentive plan        7        A. Correct. And I would -- to
     8   that applied to you at that time?              8   put it into context, I wish I could look
     9        A. This appears to be more of a           9   at that to see was that driven on supply
    10   global document than a specific document.     10   disruptions from competitors that that
    11   This was designed to help employees           11   was driven up. Was that -- was that
    12   understand.                                   12   driven on the fact that one of our
    13             I -- I don't -- let me              13   competitors went out of the market which
    14   review it just to see where else it goes.     14   happened sometime while I was there. So
    15             I see here it's not                 15   there are certain scenarios in which you
    16   specifics. They are not in there. It          16   can have a growth. Or -- it doesn't tell
    17   talks about measured on sales growth,         17   me as well what products were launched
    18   operating income, and strategic focus         18   during that time. This could be a new
    19   metrics. So this is -- this appears to        19   product launch that occurred during that
    20   be a little bit more global in nature.        20   time frame. So I don't know what's
    21        Q. But this was the annual               21   behind the numbers.
    22   incentive plan in place at -- at that         22        Q. You just can see that there
    23   time in 2009, correct?                        23   was significant growth?
    24        A. Yes. Yes.                             24        A. I can see there -- there was
                                             Page 83                                            Page 85
     1        Q. If you look at the next                1   growth, absolutely.
     2   document, it starts fiscal year '10,           2        Q. And do you see the next --
     3   equity talking points. Do you see that?        3   the next sentence says, "John Adams
     4        A. I do see that, yes.                    4   summary." And it follows: "Victor
     5        Q. And if you turn two pages,             5   continually identified opportunities to
     6   you'll see a page that begins "achieve         6   grow the business despite some of the
     7   net sales and net margin objectives for        7   challenges. This includes maximizing oxy
     8   fiscal year '09."                              8   5, 15 and 30 as select accounts and
     9            Do you see that?                      9   delaying price decreases to maximize
    10        A. I do.                                 10   sales in the face of growing
    11        Q. And it states, "Fiscal year           11   competition."
    12   '09 NS goal was $80,127,760 and NS for        12             Do you see that?
    13   the year came in at $108,199,828."            13        A. I do see that, yes.
    14            Do you see that?                     14        Q. And was Victor Borelli one
    15        A. I do see that, yes.                   15   of your top sales reps?
    16        Q. And then it states, it's              16        A. I don't believe he was one
    17   1 -- in parentheses, 135.1 percent. Do        17   of the top sales reps, no. He was -- I
    18   you see that?                                 18   only had six. So if you're in the top
    19        A. I do see that.                        19   five, it doesn't do too -- too much to
    20        Q. What was the NS goal?                 20   differentiate you.
    21        A. I don't know what the --              21             But I believe Dave Irwin was
    22   there is a net sales and a net margin.        22   top. And I believe Toby -- Toby Bane was
    23   So net sales and net margin are both          23   second. And that is often based on the
    24   defined here.                                 24   accounts in which you call on, so
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     1   hopefully that provides the context               1   your sales reps' targets each year while
     2   you're looking for.                               2   you were at Mallinckrodt?
     3        Q. Did those two individuals                 3        A. I don't remember
     4   also work on opioid products?                     4   specifically if there was increases or
     5        A. Yes.                                      5   decreases. In all likelihood it would
     6        Q. Okay. So your top sales                   6   vary depending upon launches, or if there
     7   reps for the opioid products were those           7   were discontinuations, those would also
     8   two?                                              8   factor.
     9        A. They didn't just do opioid                9        Q. Do you recall generally that
    10   products. That was for the entire                10   the sales targets for opioid products
    11   Mallinckrodt generic portfolio which             11   were increasing over the period of time
    12   included non-opioid -- non-opioids.              12   that you were at Mallinckrodt?
    13        Q. Was the vast majority of                 13        A. Generally they did increase.
    14   that portfolio opioid products?                  14   As I mentioned, there were some products
    15        A. The vast majority was opioid             15   that were launched and then discontinued
    16   products, correct, in -- as far as               16   later, or there were significant
    17   dollars were concerned, yes.                     17   backorders which also led to targets
    18        Q. Roughly 80 to 90 percent?                18   being increased but actuals not.
    19        A. I don't know that                        19        Q. And like you, your sales
    20   specifically.                                    20   reps' bonuses were contingent on their
    21            So I -- I do know that that             21   ability to maximize sales of opioid and
    22   was one goal across this entire -- and I         22   other products; is that right?
    23   don't know if -- if you want to -- to            23             MR. TSAI: Object to form.
    24   review building effective teams, or a            24             Go ahead.
                                                Page 87                                             Page 89
     1   summary of -- of, you know.                       1            THE WITNESS: As we've seen
     2        Q. I don't think there's a                   2        here, there are a number of
     3   question pending, but we're not going to          3        parameters in which the sales reps
     4   review every line of this document,               4        are, and I was evaluated on.
     5   because it's a half inch thick.                   5        Sales was one of those, but there
     6        A. Okay. Sounds good.                        6        were others.
     7        Q. So the sales targets that we              7   BY MS. BAIG:
     8   just reviewed, do you know who set those          8        Q. Would you agree that it was
     9   sales targets for you?                            9   one of the key metrics by which they were
    10        A. Not specifically, no.                    10   evaluated?
    11        Q. Do you know who communicated             11        A. I would agree that anyone in
    12   them to you?                                     12   sales would have a part -- a larger part
    13        A. Not specifically. Certainly              13   of their incentives based on that.
    14   I would sit down with Mike Gunning and go        14            MR. TSAI: Aelish, we've
    15   through numbers.                                 15        been going about an hour and a
    16        Q. Anyone else?                             16        half. Can we take a quick break?
    17        A. No he'd be -- as my manager,             17            MS. BAIG: Sure. How long
    18   that's who would walk through objectives.        18        would you like?
    19        Q. And were you involved in                 19            MR. TSAI: Five minutes.
    20   creating the targets for the people that         20            THE VIDEOGRAPHER: Going off
    21   reported to you?                                 21        the record. The time is 10:46.
    22        A. At the territory level, yes,             22            (Short break.)
    23   I was.                                           23            THE VIDEOGRAPHER: We're
    24        Q. And do you recall increasing             24        going back on record. Beginning
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     1        Media File Number 2. The time is          1   ER it's only 7 percent. Do you see that?
     2        11:03.                                    2        A. I see that, yes.
     3            MS. BAIG: We'll have this             3        Q. And the two right-hand
     4        marked as Exhibit 4.                      4   columns on that page, the pink one and
     5            (Document marked for                  5   the tan one, those are net sales and net
     6        identification as Exhibit                 6   margin quota without oxy ER; is that
     7        Mallinckrodt-Adams-4.)                    7   right?
     8   BY MS. BAIG:                                   8        A. Yes.
     9        Q. This document is                       9        Q. And if you look at --
    10   Bates-stamped Mallinckrodt 21 -- or           10        A. It appears.
    11   Mallinckrodt 10005426063 through 64. But      11        Q. If you look at the next
    12   64 appears to be a multiple-page              12   page, do you see there's a line -- a
    13   document.                                     13   column third from the right called "net
    14            And it starts as an e-mail           14   sales bonus"?
    15   dated July 28, 2005, from Mary Beth           15        A. I do see that, yes.
    16   Walton to you and a number of others.         16        Q. And fourth from the right,
    17   Subject, updated generics marketing roles     17   it says "attainment." So does this
    18   and responsibilities.                         18   identify which sales reps for oxy ER were
    19            Do you see this e-mail?              19   meeting -- were meeting or attaining
    20        A. I do. I do see this.                  20   their bonuses -- bonus potential?
    21        Q. And who is Mary Beth Walton?          21        A. I'm pausing on this because
    22        A. She was the administrative            22   I can't imagine -- I can't imagine an
    23   assistant for Mike Gunning.                   23   e-mail going out to the entire group that
    24        Q. And have you seen this                24   would indicate a bonus that would be paid
                                             Page 91                                             Page 93
     1   document before?                               1   to individuals that would literally go
     2         A. I don't recall.                       2   out to the entire team. So I can't
     3         Q. And does this appear to be a          3   speculate on what NS bonus and NM bonus
     4   bonus plan to you?                             4   are relative to the context here.
     5         A. It does not.                          5        Q. So where it shows, for
     6         Q. What does this appear to be           6   example, for Steve Becker, was he an oxy
     7   to you?                                        7   ER sales rep?
     8         A. This appears to be budget             8        A. No. He was a national
     9   numbers by territory. But again I              9   account manager representing the entire
    10   haven't looked through all the details.       10   line.
    11         Q. And so if you look at the            11        Q. Including oxy ER?
    12   first page of -- of the chart, the            12        A. Yes. However, I don't know
    13   colored chart.                                13   when oxy ER launched. And as you know --
    14         A. Yes.                                 14   or as you may know, it was only on the
    15         Q. Those are sales reps for oxy         15   market for a short amount of time with a
    16   ER in or about 2005; is that right?           16   specific amount of product. So again,
    17         A. Yes.                                 17   I'm not sure.
    18         Q. And at the bottom of that            18        Q. Okay. Do you see where it
    19   chart it shows net sales increases and        19   says, "Totals with oxy ER," and, "Totals
    20   net margin increases with and without oxy     20   without oxy ER," and then it identifies
    21   ER. Do you see that?                          21   Steve Becker's name?
    22         A. I do see that, yes.                  22        A. Are you back on the front
    23         Q. And the net sales increase           23   page? Which page are you on there?
    24   with oxy ER is 17 percent and without oxy     24        Q. Page 2 of the chart.
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     1         A. Oh, gotcha. Yes, I do see                 1   reps with higher attainment received
     2   that.                                              2   higher bonuses?
     3         Q. Okay. And there's numbers                 3        A. Again, I'll put out there
     4   identifying his fiscal year '08 quota net          4   this is a document that I don't think
     5   sales.                                             5   would be published to this entire group.
     6            Do you see that?                          6   But what I will say is product is
     7         A. I do see that, yes.                       7   allocated out to customers, and you may
     8         Q. And his December quota. Do                8   find yourself -- you, being the sales rep
     9   you see that?                                      9   for a specific territory -- having more
    10         A. I do see that, yes.                      10   of the finite amount of product available
    11         Q. And then it shows his                    11   allocated to your customers and not to
    12   December net sales.                               12   others.
    13            Do you see that?                         13             So that attainment can be
    14         A. I do see that.                           14   driven on a number of factors.
    15         Q. And then it states in the                15        Q. Sure. But all I'm asking
    16   first row for totals with oxy ER, his             16   you is does this document suggest to you
    17   attainment was 75 percent.                        17   that the higher your attainment, the
    18            Do you see that?                         18   higher your bonus?
    19         A. I do see that.                           19        A. Yes. That is what it would
    20         Q. And then it goes on to state             20   suggest. You do have to hit a certain
    21   fiscal '08 quota net margin, and it               21   level of attainment in order to get one.
    22   identifies a figure, $34.3 million.               22        Q. And these appear to be the
    23            Do you see that?                         23   figures for oxy ER at that time, based on
    24         A. I do see that.                           24   the chart, correct?
                                                 Page 95                                              Page 97
     1       Q.    And a December quota figure.             1        A. With and without.
     2            Do you see that?                          2        Q. Correct. So these sales
     3         A. I do see that.                            3   reps' bonuses were contingent on their
     4         Q. And then it lists                         4   ability to maximize sales of opioid
     5   attainment, 75 percent.                            5   products, including oxy ER in this case;
     6            Do you see that?                          6   is that right?
     7         A. I do see that, attainment of              7             MR. TSAI: Object to form.
     8   75 percent.                                        8             Go ahead.
     9         Q. Okay. And then for net                    9             THE WITNESS: This would
    10   sales bonus and net margin bonus, it              10        suggest -- sorry. I guess a few
    11   lists no number. And no total number.             11        different points.
    12            Do you see that?                         12             It wouldn't necessarily
    13         A. That is correct. I do see                13        relate to just opioid products. I
    14   that has zero.                                    14        think the other thing it would
    15         Q. However, if you look further             15        suggest is their attainment to
    16   down to some of the other sales reps, you         16        this number, there are a couple of
    17   see that their attainment figures were            17        factors. One, I mentioned, is
    18   over 100 percent and they have bonuses            18        allocation. Number two is, was
    19   identified in the net sales bonus column          19        the -- was the objective, was the
    20   and the net margin bonus column.                  20        goal correct.
    21            Do you see that?                         21             So the goal could have been
    22         A. I do see that.                           22        set arbitrarily high for one
    23         Q. Does that suggest to you                 23        person and arbitrarily low for
    24   that the people with higher -- the sales          24        another person.
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     1            So the fact that there was               1   of decline, I believe, on specific
     2        an attainment level for a specific           2   molecules. I don't recall which. But I
     3        person, there are many variables             3   believe there were times of decline. A
     4        that go into that.                           4   lot of times that was driven by -- it was
     5   BY MS. BAIG:                                      5   driven by supply disruption.
     6        Q. Have you had any experience               6        Q. So you had no understanding
     7   marketing or selling drugs to treat the           7   when you were at Mallinckrodt that
     8   addiction to opioids?                             8   generally speaking opioid sales were
     9        A. I have not.                               9   growing nationally. You didn't
    10        Q. Did you understand while you             10   understand that?
    11   were at Mallinckrodt that opioid sales           11        A. No, I understood that there
    12   were increasing exponentially across the         12   were products that grow -- that did
    13   country?                                         13   accelerate, that did grow. And there --
    14        A. Yes. IMS data would show                 14   I understood at times there were ones
    15   what the -- what the growth or decline           15   that declined. You can look at any
    16   rate was by molecule. So you would be            16   period in time and derive various
    17   able to identify it from that, what the          17   conclusions.
    18   market growth and decline would be.              18            But yes, I do agree that
    19        Q. And you understood that it               19   there was growth in opioids across the
    20   was growing exponentially across the             20   market and growth in overall dispensed
    21   country, correct, opioid sales?                  21   products, non-opioids as well, because of
    22        A. I would view the IMS data                22   the aging population, et cetera.
    23   and understand that. I wouldn't                  23   Prescriptions and particularly conversion
    24   necessarily look at that as, okay, this          24   to generics of non-opioids was growing.
                                                Page 99                                             Page 101
     1   product is growing, and this one is               1        Q. Were you aware that the
     2   declining as an indication of what was            2   growth for the product oxy 15 and oxy 30
     3   sold into the market. It's driven by the          3   was very significant during the period --
     4   demand that physicians are writing                4   nationally during the period that you
     5   prescriptions for patients, is what's             5   were at Mallinckrodt?
     6   driving demand.                                   6        A. I understand that they grew.
     7        Q. But you --                                7   What I don't know is, was that driven
     8        A. So it's not --                            8   because of oxy ER being on and off the
     9        Q. -- understood that demand --              9   market, and details surrounding that I
    10        A. No, I -- but I -- sorry.                 10   just don't recall.
    11   But IMS data is sales out into the               11        Q. So you don't understand why,
    12   outlets. And so that would be the                12   but -- or you didn't understand why, but
    13   indication of, yes, I could see that it          13   you understood that oxy 15 and oxy 30
    14   was either growing or declining. But             14   were growing significantly in terms of
    15   again, that's driven by prescriptions,           15   sales across the country; is that right?
    16   which we don't drive prescriptions.              16        A. I don't -- I don't recall
    17        Q. But my question is not                   17   the why. Again, the demand is not
    18   whether you could see whether it was             18   generated by a generic manufacturer. The
    19   growing or declining. My question is             19   demand is generated by prescriptions
    20   whether you understood that it was in            20   writing -- being written by doctors.
    21   fact growing during the period that you          21        Q. And did you oversee sales of
    22   were there.                                      22   any branded opioid products?
    23        A. There were years of decline              23        A. I did not.
    24   as well regarding -- or at least periods         24        Q. Did you have any insight
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     1   into the sales of the branded opioid              1        manufactured in the U.S. cannot go
     2   products at Mallinckrodt?                         2        outside the U.S.
     3        A. I don't recall.                           3            That's my understanding of
     4        Q. You don't recall reviewing                4        it. So what happens outside of
     5   reports for branded opioid products at            5        the U.S. in this regard, I don't
     6   Mallinckrodt?                                     6        recall any insights there.
     7        A. I don't recall, no.                       7   BY MS. BAIG:
     8        Q. You don't recall one way or               8        Q. You don't recall
     9   the other or you don't recall ever having         9   Mallinckrodt touting itself as a world
    10   done that?                                       10   leader in the manufacture and
    11        A. I don't recall having done               11   distribution of opioid analgesics?
    12   that. And to add further, I didn't               12        A. No. I don't recall that.
    13   recall that the branded side had opioids.        13        Q. Do you recall which generic
    14   I'm trying to think if -- I don't recall.        14   opioids were part of Mallinckrodt's
    15   If those were even on the market while I         15   portfolio while you were there?
    16   was there. And again, I just don't               16        A. So hydrocodone -- well, so,
    17   recall them having any opioids.                  17   hydrocodone, oxycodone, oxycodone with
    18        Q. Do you recall Exalgo being               18   acetaminophen, morphine. Oxy ER for a
    19   part of Mallinckrodt portfolio while you         19   finite amount of time.
    20   were there?                                      20        Q. Was fentanyl also a
    21        A. I recall the trade name. I               21   Mallinckrodt product?
    22   don't know if --                                 22        A. Launched that sometime near
    23        Q. How about Xartemis?                      23   the end of my tenure there.
    24        A. I don't know if it was while             24            (Document marked for
                                               Page 103                                            Page 105
     1   I was there though. I just know the               1         identification as Exhibit
     2   name.                                             2         Mallinckrodt-Adams-5.)
     3        Q. Okay. How about Xartemis?                 3   BY MS. BAIG:
     4        A. That name is not familiar to              4         Q. I'm handing you what's been
     5   me. Just don't recall the name.                   5   marked as Exhibit 5.
     6        Q. Did you understand while you              6             This document starts as an
     7   were at Mallinckrodt, that Mallinckrodt           7   e-mail from Phyllis Fischer dated May 17,
     8   was a world leader in the manufacture and         8   2005. Bates-stamped Mallinckrodt
     9   distribution of opioid painkillers?               9   0007917913 through 7925.
    10        A. I recognize that yes                     10             And its subject line is PCL
    11   Mallinckrodt had a key position in               11   library, pharmaceutical industry
    12   manufacturing raw material and finished          12   newsletter. Do you see that?
    13   dosage forms.                                    13         A. I do see that.
    14        Q. Not just a key position, but             14         Q. What is the PCL library?
    15   a world leader, did you understand that          15         A. I'm not certain. I don't --
    16   at the time?                                     16   I don't recall any PCL library or -- if
    17            MR. TSAI: Object to form.               17   it's a virtual or an actual. I don't
    18            Go ahead.                               18   know. I just don't recall.
    19            THE WITNESS: I don't have               19         Q. Do you recall a pharmacy --
    20        vision to outside the U.S. And              20   pharmaceutical industry newsletter?
    21        from an opioid perspective, my              21         A. I don't recall.
    22        understanding is products in the            22         Q. You don't recall receiving
    23        U.S. have to be manufactured in             23   those types of newsletters on a regular
    24        the U.S., and products                      24   basis?
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     1        A. I do not. It doesn't ring a              1        Q. In the middle of the page
     2   bell to me.                                      2   there's a section titled -- in this
     3        Q. Do you ever -- ever recall               3   newsletter titled, "Pain patients take
     4   learning that OxyContin was -- was a drug        4   fewer than half of OxyContin scripts as
     5   that had a high potential for abuse?             5   directed."
     6            MR. TSAI: Object to form.               6             Do you see that?
     7            Go ahead.                               7        A. I see the heading, yes.
     8            THE WITNESS: As far as                  8        Q. And it goes on to state that
     9        OxyContin, the branded drug by              9   "just 45 percent of prescriptions for the
    10        Purdue, I am aware of that now as          10   opiate OxyContin (oxycodone HC)
    11        I look through and hear things in          11   controlled-release are taken as directed
    12        the press.                                 12   by patients being treated for
    13            At the time, I'm trying to             13   nonmalignant pain, according to a study
    14        think of how much controversy              14   of urine samples from approximately
    15        there was. But ultimately I'm not          15   5 percent of the nation's outpatient pain
    16        sure what I would put that into            16   clinics."
    17        context. But oxycodone -- or               17             Do you see that?
    18        OxyContin written by doctors as a          18        A. I see that paragraph, yes.
    19        Purdue product, it makes sense             19        Q. Do you recall ever learning
    20        that there would be -- what did            20   a statistic on par with 45 percent of
    21        you say?                                   21   OxyContin and oxycodone being --
    22   BY MS. BAIG:                                    22        A. I -- I -- no.
    23        Q. High potential for abuse.               23        Q. -- being -- hang on. Hang
    24        A. It makes sense, again, I                24   on.
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     1   can't put a timeline into that, but based        1        A. Okay.
     2   on kind of everything that I'm reading           2        Q. -- not being taken as
     3   and all of that.                                 3   directed?
     4        Q. Do you recall learning that              4        A. I don't recall that. And --
     5   while you were at Mallinckrodt or having         5   and truthfully, what it was being
     6   discussions with folks at Mallinckrodt           6   prescribed for was obviously pain. But
     7   about the high level of abuse for opioid         7   beyond, I don't know what a treatment
     8   products generally?                              8   profile would be for a patient, if they
     9        A. I recall components of that              9   are supposed to take -- I don't even know
    10   because there was an initiative to              10   the strengths of -- of oxy ER, but -- if
    11   make -- there was -- abuse resistant            11   they are supposed to take one or two or
    12   technology was something that was in            12   three a day, I don't know.
    13   development. So I recall in that                13        Q. And do you see it goes on to
    14   context.                                        14   state that "fully 40 percent of the drug
    15        Q. Okay. Do you recall it in               15   was recycled among other patients being
    16   any other context?                              16   treated for pain in 264 clinics whose
    17        A. I don't recall.                         17   combined case loads exceeded 33,000
    18        Q. So if you turn to the fourth            18   patients."
    19   page of this 2005 document. Do you see          19            Do you see that?
    20   that there's a section titled --                20        A. I see that, yes.
    21        A. I'm sorry, what is the                  21        Q. And then the next paragraph
    22   number on the bottom? Sorry.                    22   states, "Another 15 percent of OxyContin
    23        Q. It ends in 916.                         23   prescriptions apparently were diverted to
    24        A. Okay.                                   24   the black market."
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     1             Do you see that?                       1   in general, I can tell you that, you
     2        A. I do see that.                           2   know, we worked and had appropriate
     3        Q. Do you recall having any                 3   channels in which we sold through, and if
     4   discussions at Mallinckrodt about figures        4   there was any deviation, obviously our
     5   such as these and the potential for              5   compliance team would certainly
     6   OxyContin and oxycodone to be abused?            6   investigate those. I don't remember a
     7        A. I -- I recall discussions                7   lot of cases where that would happen
     8   about a scenario where, like a -- Watson         8   truthfully.
     9   had a truck that was hijacked that was           9        Q. And the generic for
    10   filled with some sort of opioid. I don't        10   OxyContin was oxycodone HC, right?
    11   know exactly which one. So I recall that        11        A. I'm sorry?
    12   scenario.                                       12        Q. The generic for OxyContin
    13             But as far as looking at              13   was oxycodone HC, right?
    14   diverted, and if there was anything --          14        A. No, that is not correct.
    15   this is outside of my purview as far as         15   The generic for OxyContin is oxy ER.
    16   kind of who would investigate. I think          16        Q. Okay.
    17   compliance is probably better suited for        17        A. Yes.
    18   that scenario, if they would go and find        18        Q. Do you see here where it
    19   the situation. Or be made aware of is           19   says, "Just 45 percent of prescriptions
    20   probably better.                                20   for opioid OxyContin" and then in parens
    21        Q. Apart from the isolated                 21   it says oxycodone HC. Do you know what
    22   incident of the theft with respect to           22   oxycodone HC stands for?
    23   the -- I think it was a UPS truck --            23        A. Oxycodone hydrochloride.
    24        A. I don't know. I don't know              24   But as far as -- those products -- if a
                                              Page 111                                           Page 113
     1   exactly.                                         1   doctor writes a prescription for
     2         Q. Do you recall any other                 2   OxyContin, that product cannot be
     3   discussions at Mallinckrodt about the            3   substituted by the pharmacist for oxy IR.
     4   high potential for diversion of opioids?         4   That's an illegal substitution. They
     5         A. I know that there were                  5   would have to call the doctor. It's
     6   always controls in place that were               6   considered a different dosage form
     7   established. I remember at a UPS                 7   because of how it's delivered. Extended
     8   facility when some product went missing,         8   release versus immediate release cannot
     9   that there was -- and I don't know if it         9   be substituted without a call to the
    10   was our specific product or someone             10   doctor.
    11   else's, but that investigations down to         11            MS. BAIG: Let's have this
    12   the camera level would be -- would be           12        document marked as Exhibit 6,
    13   there to try and isolate where the              13        please.
    14   product may have -- who may have stolen         14            (Document marked for
    15   it, if that was the case or why it was          15        identification as Exhibit
    16   missing. I do recall those                      16        Mallinckrodt-Adams-6.)
    17   investigations taking place through the         17   BY MS. BAIG:
    18   supply chain.                                   18        Q. This document starts as an
    19         Q. But you don't recall stats             19   e-mail from LouAnn Behlmann to you and
    20   such as these, as at 45 percent or              20   others. It's Bates-stamped Mallinckrodt
    21   40 percent level in terms of diversion or       21   0004839173 through 9174; 9174 is a
    22   discussing those at Mallinckrodt?               22   multipage document and it's dated
    23         A. Related to OxyContin,                  23   January 23, 2007.
    24   absolutely not. And as far as diversion         24            It states in the first line
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     1   of the e-mail, "Attached is the updated         1   that was so small that it wasn't on my
     2   master EOE generic product list."               2   radar.
     3             Do you see that?                      3        Q. Do you recall that methadone
     4        A. I do see that.                          4   sales were increasing --
     5        Q. What's EOE stand for?                   5        A. No.
     6        A. Let me look through this and            6        Q. -- significantly during the
     7   see if it triggers anything. Off the            7   time that you were at Mallinckrodt?
     8   top, I don't know.                              8        A. I don't recall.
     9             I believe this would be               9        Q. You didn't have a general
    10   order entry numbers. So when we sell to        10   awareness of that while you were there?
    11   a wholesaler or, let's say, Walgreens,         11        A. I can't speak to when I was
    12   they would have a number that they would       12   there. I can only say right now that I
    13   assign for a specific product. So for          13   do not recall it at all.
    14   us, we have an NDC number on our product.      14        Q. Do you recall having any
    15   That NDC number is not how a pharmacy          15   discussions with anybody at Mallinckrodt
    16   would order from a wholesaler. They            16   about the simultaneous sale of opioid
    17   would look at what is this item number.        17   products and methadone and the
    18             So similar going to Best             18   simultaneous increasing on both sides?
    19   Buy, and you see SKU number, this is           19        A. I don't remember any
    20   assigned by the customer for their             20   conversations like that. I just don't
    21   patient purview. I don't know what EOE         21   recall.
    22   stands for truthfully.                         22        Q. Do you recall that
    23        Q. Okay. And this was                     23   Mallinckrodt's opioid products accounted
    24   Mallinckrodt's generic product list as of      24   for more than 90 percent of total sales?
                                             Page 115                                               Page 117
     1   2007?                                           1        A. I couldn't have told you a
     2        A. It appears -- it appears                2   percentage, so I don't recall what the
     3   that way.                                       3   percentage would be.
     4        Q. Do you see that, on the                 4        Q. Do you recall it being high?
     5   second page of the product list, there's        5        A. I do recall it being high,
     6   a product called methadone listed?              6   yes.
     7        A. I do see that.                          7        Q. Do you recall that methadone
     8        Q. Do you know what methadone              8   was also among the company's top
     9   is used for?                                    9   products?
    10        A. I don't know what the exact            10        A. I don't recall, and it would
    11   indication is. But it's something to do        11   surprise me. But again, I only had
    12   with addiction treatment.                      12   vision to the retail segment. There is
    13        Q. So does this refresh your              13   the methadone clinic -- at least I don't
    14   recollection that you worked on products       14   recall any sort of vision to that other
    15   that were designed to treat addiction of       15   segment and the sales affiliated with it.
    16   opioids?                                       16            (Document marked for
    17        A. I know we had a sales team             17        identification as Exhibit
    18   that called specifically on methadone          18        Mallinckrodt-Adams-7.)
    19   clinics. That was what the lion's share        19   BY MS. BAIG:
    20   of methadone was used for, is my               20        Q. I'll have this document
    21   understanding. So, yeah, I didn't recall       21   marked as Exhibit 7.
    22   that this was part of the portfolio. I         22        A. Thank you.
    23   don't know how much this represents            23        Q. This is a document that
    24   relative to sales. It may have been one        24   starts as an e-mail from Steven Becker
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     1   dated October 17, 2008, Bates-stamped            1             Do you see that?
     2   Mallinckrodt_0006339059 through 9065.            2        A.    I do see that.
     3            And if you turn to the                  3        Q.    And 8.9 billion in annual
     4   second page. The title is "Covidien              4   sales.
     5   Mallinckrodt Pharmaceuticals." And               5            Do you see that?
     6   there's a reference to HD Smith executive        6         A. I do see that.
     7   visit dated October 16, 2008.                    7         Q. Do you know if that
     8            Do you see that?                        8   8.9 billion is global or limited to the
     9        A. I do.                                    9   U.S.?
    10        Q. And do you recall receiving             10         A. I don't -- I don't know.
    11   this document while you were at                 11   But since it references 57 countries,
    12   Mallinckrodt?                                   12   I'll assume here, but again I didn't know
    13        A. I don't.                                13   or I don't know. Since it references
    14        Q. Do you recall an executive              14   that, I would assume it's global.
    15   visit with HD Smith at or around October        15         Q. And if you -- if you -- if
    16   of 2008?                                        16   you move three pages in, you'll see a
    17        A. I don't recall. Executive               17   document titled -- or a page titled "Five
    18   visits occurred multiple times, not             18   Growth Platforms."
    19   specifically HD Smith, but just in              19         A. I see that, yes.
    20   general. So I don't recall.                     20         Q. And under -- do you see on
    21        Q. I see. And would you                    21   the left-hand side it identifies
    22   participate in executive visits?                22   generics?
    23        A. Yes, I would on occasion.               23         A. I do see that.
    24        Q. Okay. And would you                     24         Q. And it states, "Number one
                                              Page 119                                               Page 121
     1   typically create PowerPoints like the one        1   pain med"?
     2   included here, or would Mallinckrodt             2         A. I do see that.
     3   create PowerPoints like the one included         3         Q. Was that because pain
     4   here for executive visits?                       4   medication was Mallinckrodt's number one
     5        A. There would be PowerPoint                5   generic category of drugs at the time?
     6   presentations. Whether or not sales and          6         A. So I know -- obviously this,
     7   marketing created those, I can't speak to        7   I wasn't included in this e-mail chain.
     8   that on a broad spectrum.                        8   As far as kind of speculating on this,
     9        Q. Do you have any reason to                9   this appears to be number one pain med as
    10   doubt that this was a PowerPoint created        10   if it may be referencing hydrocodone,
    11   for the HD Smith executive visit                11   because that was, I think, as we
    12   October 16, 2008?                               12   discussed earlier, the number one product
    13        A. I don't have any doubt based            13   in the U.S. per IMS.
    14   on this. I do find it somewhat                  14         Q. And it states here that
    15   interesting to see sales from the dosage        15   Mallinckrodt was number six in terms of
    16   and API group on Page 7, as I'm looking         16   generics in the U.S. Is that -- is your
    17   at this. So from my perspective, that's         17   understanding of that that you were
    18   pooling data from other areas, is my            18   number six in terms of generic market
    19   assumption.                                     19   share?
    20        Q. And it states here on Page              20         A. Yeah, that number, if I
    21   three of the PowerPoint, "Understanding         21   recall fluctuated, and it's based on IMS
    22   the organization." It identifies                22   data, number of -- number of pills if I'm
    23   Covidien as having 43,000 employees in 57       23   not mistaken, or extended -- it was
    24   countries.                                      24   called extended units, is the way IMS
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     1   defined it.                                     1        Q. And do you see, flipping two
     2        Q. And do you see on the next              2   more pages, that -- that HD Smith was
     3   page in the pie chart that shows 2007           3   part of Mallinckrodt's volume incentive
     4   sales by product type?                          4   program?
     5        A. I do see the pie, yes.                  5        A. I'm sorry, I just noticed
     6        Q. The majority of the drugs               6   that units grew quite a bit less than did
     7   are controlled drugs?                           7   dollars. So it looks like there was an
     8        A. Yes. It appears to be                   8   increase in average selling price per
     9   about, I would estimate, 65/35, something       9   dose on the last slide. So, I'm sorry, I
    10   like that, percent.                            10   was still reflecting since again, I don't
    11        Q. And just to the right of               11   know -- this wasn't to me, so I'm just --
    12   that it states, "Areas of focus,               12   I'm still catching up.
    13   controlled substances and pain                 13        Q. So I think my question to
    14   management."                                   14   you on that was whether sales increased
    15             Do you see that?                     15   more than three times from 2007 to 2008.
    16        A. Yes. Sorry.                            16   And I'm looking at the first -- the first
    17        Q. And that was one of                    17   row.
    18   Mallinckrodt's key areas of focus at the       18        A. Dollar sales did, but unit
    19   time. Would you agree?                         19   sales did not.
    20        A. Yes, it was at the time.               20        Q. For which drug, do you know?
    21        Q. And if you flip two more               21        A. I don't know. This -- this
    22   pages, you'll see Covidien Mallinckrodt        22   would be a -- I assume a full list of the
    23   organizational chart. And it has you           23   products that Mallinckrodt sold to HD
    24   reporting to Mike Gunning who was              24   Smith from the retail segment.
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     1   reporting to Chuck Bramlage who was             1        Q. I think we're going to get
     2   reporting to Tim Wright.                        2   to the products in a few pages.
     3            Do you see that?                       3        A. Okay.
     4        A. I do see that.                          4            And I'm sorry, you had a
     5        Q. Is it your understanding                5   follow-up question or another question,
     6   that that is accurate for the time?             6   and I don't know which page you went to.
     7        A. Yes. As I see this now,                 7   I apologize.
     8   yes.                                            8        Q. Two more pages later.
     9        Q. And if you skip two more                9        A. Okay.
    10   pages you'll see HD Smith 2007 versus          10        Q. You'll get to HD
    11   2008 net sales.                                11   Smith-Mallinckrodt volume incentive
    12            Do you see that?                      12   program.
    13        A. I do see that, yes.                    13        A. Okay.
    14        Q. Do you recall HD Smith being           14        Q. Was HD Smith part of
    15   one of Mallinckrodt's key customers?           15   Mallinckrodt's volume incentive program?
    16        A. I recall them being a                  16        A. I don't recall.
    17   customer. But I -- I don't believe they        17        Q. Does this suggest to you
    18   would fall into a top ten.                     18   that they might have been?
    19        Q. Do you see that their sales            19        A. This does not suggest it --
    20   from '07 to '08 more than tripled?             20   that, no. It doesn't suggest it one way
    21        A. I do see that. I don't know            21   or the other.
    22   what drove that, if it was opioids or          22        Q. Okay. Did Mallinckrodt have
    23   non-opioids or if it was supply                23   a volume incentive program?
    24   disruptions. I just don't know.                24        A. Yes.
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     1        Q. And what is your                        1        Q. So HD Smith -- so we've
     2   understanding of how that program worked?       2   established HD Smith had a volume
     3        A. So, basically, that program             3   incentive program.
     4   worked where you would look at historical       4            And can you look at the
     5   sales. So what was the -- what were --          5   page -- if you look in the bottom
     6   what was the purchasing that they made          6   left-hand corner there's a page
     7   from Mallinckrodt. And you would use            7   Number 16?
     8   that, and you would tie in what is the          8        A. I see, yes.
     9   market growth as driven by demand, and          9        Q. And it says key product
    10   you would layer on top of that any new         10   drivers?
    11   products that may be introduced in the         11        A. Yes, I see that.
    12   market. You would layer in market              12        Q. And it appears to identify
    13   declines on the molecules. And you would       13   HD Smith products for which Mallinckrodt
    14   estimate what the dollar sales would be.       14   was supplying?
    15            Upon doing that, you would            15            Do you see that?
    16   say, if your dollar sales are, let's just      16        A. I do see that, yes.
    17   say $2 million today, and you build them       17        Q. And is that your read of
    18   to $4 million, you'll get an extra             18   what this chart shows?
    19   1 percent rebate. You build them to            19        A. Yes, it is.
    20   6 million, you get an extra 2 percent          20        Q. Okay. And if you go to the
    21   rebate. Build them to 10 million, you'll       21   next page, you see the top ten
    22   get an extra 3 percent rebate. That's          22   Mallinckrodt products?
    23   just an example.                               23        A. I do see that, yes.
    24        Q. And if you turn to the next            24        Q. And can you see that all of
                                             Page 127                                            Page 129
     1   page, you see key product drivers.              1   these products are opioid products?
     2        A. I'm sorry, what page are you            2        A. Yes, I do see that.
     3   on? I don't see it.                             3        Q. And does this refresh your
     4        Q. The one ending 060.                     4   recollection that methadone was among
     5        A. Okay. Gotcha. I wasn't on               5   Mallinckrodt's top ten products?
     6   that page.                                      6        A. It does not. I mean I --
     7            Okay. I didn't realize,                7   like I said before, I don't recall that
     8   when you said, did they have the volume         8   it would be at that level. And as I
     9   incentive, I wasn't on that page. I was         9   stated before, that would surprise me
    10   two pages before that. So that's why I         10   that it was a top ten product.
    11   said I couldn't derive that they had a         11            Looking at this in
    12   volume incentive program. So I was on          12   isolation, I still can't derive that.
    13   page ending in 9060.                           13   This is what HD Smith had as their -- one
    14            Now turning to -- sorry,              14   of their top ten products. So again I
    15   whatever page this is, I now know that         15   can't speak to the -- how it fit into our
    16   you were referencing this. So yes, I can       16   overall portfolio.
    17   confirm that they had a volume incentive       17        Q. I see. So for HD Smith
    18   program.                                       18   though, methadone was among the top ten
    19        Q. Okay.                                  19   Mallinckrodt products, correct?
    20        A. So I was on the wrong page             20        A. That's -- that's what --
    21   when you asked that question.                  21   that is what is in the presentation,
    22        Q. Understood.                            22   correct.
    23        A. Okay. So, sorry, now we're             23        Q. And it shows here that for
    24   on --                                          24   example, the first -- the first row for
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     1   oxycodone HCL, 30 milligrams, do you see       1   hydrocodone APAP 10/500 tabs increased at
     2   that?                                          2   136.8 percent from 2007 to 2008?
     3        A. I do.                                  3            Do you see that?
     4        Q. And the percent increase               4        A. I do see that. And I'll
     5   from 2007 to 2008 is 37,000 percent,           5   reiterate the -- the same, that I don't
     6   about 37,000 percent. Do you see that?         6   know what drove that, if that was a
     7        A. I do see that. So what that            7   transition from another company to us as
     8   would indicate to me, I don't know when        8   a primary supplier. I don't know.
     9   oxy 30-milligram was launched. But it          9        Q. And what's 10/500 indicate?
    10   may have been launched with one month in      10        A. That is 10 milligrams of
    11   the 2007 time frame and 2008 showed a         11   hydrocodone and 500 milligrams of
    12   full year. So I don't know what the           12   acetaminophen.
    13   comparison is.                                13        Q. Okay. And just beneath the
    14            And the other component of           14   chart it states, "The top ten products
    15   this is oxy 30 may have been a product        15   account for 91.3 percent of total net
    16   that used to be an Ethex product,             16   sales volume."
    17   supplied product, and that Mallinckrodt       17            Do you see that?
    18   earned that award when Ethex had supply       18        A. I do see that.
    19   issues or we just earned it on the merits     19        Q. The next page is relatively
    20   of relationship or price. And so it was       20   blank, but has a heading entitled
    21   a conversion from their product to our        21   "Mallinckrodt RiskMAPs." Do you know
    22   product. It doesn't indicate that it's        22   what RiskMAPs are?
    23   an increase in demand as driven by            23        A. I remember the -- I remember
    24   physician prescribing or any other            24   the term. I don't remember the concept.
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     1   reason.                                        1          Q.   You don't remember it at
     2        Q. It doesn't necessarily                 2   all?
     3   indicate that, but as you sit here right       3        A. No, I don't recall the
     4   now, do you recall why it increased            4   concept of it, but I -- like I said, I
     5   specifically 37,000 percent from one year      5   remember the term.
     6   to the next?                                   6        Q. And the last three pages of
     7        A. I -- I do not.                         7   the document. Do you see it identifies
     8        Q. Okay. And do you see that              8   HD Smith net sales and lists 2007 totals,
     9   the methadone 10-milligram tabs increased      9   2008 totals, the change in the percentage
    10   about 238 percent from 2007 to 2008?          10   and the forecast?
    11        A. I'll reiterate. I see that            11        A. Sorry, you jumped through --
    12   it does. But I'll reiterate, I don't          12   you're faster than me. The third from
    13   know what drove that. If it was a             13   the back, is that what you --
    14   situation where someone else had that         14        Q. Yeah, the last three pages
    15   product and we earned the award               15   are basically the same. Or there's a
    16   throughout there, I don't know.               16   chart that covers the last few pages. Do
    17        Q. And do you see that the oxy           17   you see that?
    18   APAP product increased from 2007 to 2008      18            I'm looking at the very end,
    19   at a rate of 374.6 percent?                   19   the one you're holding.
    20        A. I do see that. And I'll               20        A. Okay. Great. I just wanted
    21   just reiterate what I said before, I          21   to make sure. They all look the same so
    22   don't know what was the key driver behind     22   I wasn't sure. Okay. I'm sorry.
    23   that.                                         23        Q. And the left -- the
    24        Q. And do you see that the               24   left-hand column identifies HD Smith net
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     1   sales. Do you see that?                          1        Q. All the --
     2        A. I do see that, yes.                      2        A. I would assume, but I -- no,
     3        Q. And then there's a column of             3   I can't make an assumption on that.
     4   2007 totals, 2008 totals, a change, a            4        Q. Do you recall seeing such
     5   percent, and a forecast. Do you see              5   documents created, business review type
     6   that?                                            6   documents?
     7        A. I do see that, yes.                      7        A. I do recall business review
     8        Q. Does it suggest to you that              8   documents.
     9   these are the figures that back up the           9        Q. Okay. And this one is
    10   data that was in the PowerPoint we just         10   specific to specialty generics?
    11   went through?                                   11        A. I -- so specialty generics,
    12        A. This does look like the                 12   I didn't recall this but it did take on a
    13   supporting data for the dollars.                13   new name, not just generics. So I think
    14   Interesting, it does not include the            14   that was part of a, not a rebranding of
    15   average selling price.                          15   the -- of the division of generics, but
    16            MS. BAIG: We'll have this              16   that's the best way I can categorize it.
    17        document marked as Exhibit 8.              17   I didn't recall that it occurred until I
    18            (Document marked for                   18   see this title.
    19        identification as Exhibit                  19        Q. But this was a review of the
    20        Mallinckrodt-Adams-8.)                     20   generics department, which you were
    21   BY MS. BAIG:                                    21   overseeing; is that right?
    22        Q. This document begins as an              22        A. I only oversaw the retail
    23   e-mail from Ginger Collier to you and           23   segment. So this looks like it may go
    24   others. It's dated November 20, 2009.           24   beyond that since Bob Lesnak is on there.
                                              Page 135                                            Page 137
     1   It's Bates-stamped Mallinckrodt                  1        Q. And Bob Lesnak is listed as
     2   0006305472 through 5474.                         2   VP of sales, addiction treatment?
     3              And again, if you -- if you           3        A. Correct. Correct.
     4   skip to the first page of the PowerPoint,        4        Q. And would that have been of
     5   it's titled "Covidien Pharmaceuticals,           5   methadone?
     6   specialty generics business review." It          6        A. Yes. He oversaw that team.
     7   has your name on the front page along            7        Q. Do you recall working with
     8   with Ginger Collier and Bob Lesnak, dated        8   him on this?
     9   January 6, 2010.                                 9        A. I don't recall working with
    10              Do you see that?                     10   him on this.
    11         A. I do.                                  11        Q. Do you recall working with
    12         Q. Okay. And do you recall                12   him generally?
    13   receiving this document?                        13        A. Not too much, truthfully.
    14         A. I do not.                              14   Yeah, I'm trying to think. It was more
    15         Q. Did you help -- do you                 15   towards the end of my tenure at
    16   recall helping create this document?            16   Mallinckrodt that Bob was even present.
    17         A. I do not.                              17   He was a remote employee. So I didn't
    18         Q. Was this the type of                   18   see or talk with him much.
    19   document -- and this looks, at least in         19        Q. Do you recall working with
    20   form, to be similar to the one that we          20   somebody else before Bob on addiction
    21   just looked at. Would you agree?                21   treatment?
    22         A. I do. I do agree at least              22        A. I don't. I remember the
    23   based on the first two pages. What I'm          23   team. Not the members of the team, but I
    24   trying --                                       24   remember the team.
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     1        Q. What do you remember about               1   appears to be.
     2   that team?                                       2        Q. And do you see down at the
     3        A. That they called on                      3   bottom there's a reference to a fentanyl
     4   methadone clinics. It was an area I              4   lozenge?
     5   didn't have any familiarity with, that it        5        A. I do see that now.
     6   even existed until I learned of this             6        Q. Was Mallinckrodt selling
     7   team.                                            7   both a fentanyl patch and a fentanyl
     8        Q. And the next page has an org             8   lozenge?
     9   chart.                                           9        A. I don't recall the timing in
    10            Do you see that?                       10   which the lozenge was launched. And I
    11        A. I do see that.                          11   don't recall the fentanyl patch, if that
    12        Q. And that was accurate -- to             12   was approved while I was there or not. I
    13   your understanding, that was accurate for       13   just -- I don't remember if that was
    14   the time?                                       14   marketed to the wholesalers and chains
    15        A. Yes. That looks like a good             15   and distributors at that time.
    16   representation.                                 16        Q. And the next -- the next
    17        Q. And the people underneath               17   chart is a bar graph for hydrocodone APAP
    18   your name were reporting to you; is that        18   and modified gross sales.
    19   right?                                          19             Do you see that?
    20        A. That is correct.                        20        A. I do see that, yes.
    21        Q. So Bob Lesnak was VP of                 21        Q. And the one following is
    22   sales or VP of sales for addiction              22   also hydrocodone APAP extended units,
    23   treatment?                                      23   right?
    24        A. Based on this, health                   24        A. Yes.
                                              Page 139                                           Page 141
     1   systems, which included hospitals,               1        Q. And the first -- the first
     2   federal government, self-explanatory.            2   one shows an increase from 2006 through
     3   And AT would be addiction treatment. So          3   2010 of hydrocodone APAP in terms of
     4   he had that team.                                4   modified gross sales, correct?
     5        Q. And the next page says,                  5        A. I'm sorry. What about the
     6   "Sales performance and forecast."                6   ten? I'm sorry. Oh, the year?
     7             Do you see that?                       7        Q. This chart shows an increase
     8        A. I do see that.                           8   from 2006 to 2010 of modified gross sales
     9        Q. And then you see two pages               9   for hydrocodone APAP, the chart on
    10   down, you have a pie chart with products        10   Page 7?
    11   driving modified gross.                         11        A. Yes, it does.
    12             Do you see that?                      12        Q. Okay. And similarly, the
    13        A. I do see that.                          13   next chart shows increase of hydrocodone
    14        Q. It looks like the key                   14   APAP from extended units from 2006 to
    15   products are hydrocodone APAP, oxycodone        15   2010, correct?
    16   IR, oxycodone APAP, and morphine ER; is         16        A. Yes. So, it looks like
    17   that right?                                     17   during that time, we may have encountered
    18        A. Yes, that's correct.                    18   Watson having a scenario of supply. And
    19        Q. And it states that those                19   so it looks like we may have been able to
    20   four key product families represent             20   transition some product usage from Watson
    21   82 percent of total modified gross sales;       21   to us.
    22   is that right?                                  22            I'm trying to look at this.
    23        A. That's what it's                        23        Q. If you go two pages further,
    24   representing here, yes. That's what it          24   you see a similar bar graph chart for
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     1   oxycodone IR, modified gross sales?              1   hydrocodone with acetaminophen, it would
     2        A. Yes, I do see that.                      2   be our product, then it would be shipped
     3        Q. And it shows in the table                3   to that pharmacy.
     4   above, an 83 percent increase from 2007          4             McKesson, when you sell to
     5   to 2008?                                         5   McKesson, you don't know where that
     6        A. I see that, yes. I do see                6   product is going. There is a component
     7   it declining in 2010. I don't know what          7   that's OneStop. But McKesson also had
     8   drove that.                                      8   hospitals, chain accounts, long-term care
     9        Q. And do you see oxycodone IR              9   facilities. And so this was their, we'll
    10   on the next page?                               10   call it, generic source programs. But it
    11        A. I do see that.                          11   would go elsewhere outside of the OneStop
    12        Q. And that shows a 54 percent             12   generic source program.
    13   increase from 2007 to 2008 in terms of          13             MR. DOWNS: This is Paul
    14   extended units?                                 14        Downs from Covington. I'm just
    15        A. Yes. It appears as if a                 15        going to place an objection on the
    16   competitor exited the market.                   16        record.
    17        Q. Ethex and Actavis?                      17   BY MS. BAIG:
    18        A. Correct. I guess it was a               18        Q. If you skip to Page 38 of
    19   big driver, is what it indicates here, at       19   the PowerPoint presentation, you see a
    20   least as an assumption.                         20   market share report for hydrocodone/APAP
    21        Q. So was this the type of data            21   tabs?
    22   that Mallinckrodt typically -- I mean was       22        A. I do see that.
    23   this a typical tracking of the data of          23        Q. Does this show that
    24   its products?                                   24   Mallinckrodt was third in terms of market
                                              Page 143                                           Page 145
     1        A. This appears to be more in               1   share for hydrocodone APAP at this time
     2   depth than would be traditional. I don't         2   or for 2007 to 2009?
     3   recall a format like this.                       3         A. It does not show that, no.
     4        Q. If you go a couple pages                 4         Q. What does it show?
     5   further, you'll see on Page 19 of the            5         A. Mallinckrodt was the number
     6   presentation, it states, "Customers              6   one supplier of hydrocodone to pharmacies
     7   driving modified gross."                         7   through its wholesale and chain partners.
     8        A. Yes, I see that.                         8         Q. I see.
     9        Q. Does this identify                       9         A. It does show here that it
    10   Mallinckrodt's key customers?                   10   has declined throughout FY '07 from
    11        A. It looks -- identifies --               11   52 percent in Q1 down to 40 percent in
    12   yes, it looks like potentially, yeah, it        12   Q4, at the expense of Watson increasing
    13   does.                                           13   its share.
    14        Q. Is McKesson OneStop                     14             But again, this is not
    15   different than just McKesson?                   15   indicative of the market getting bigger.
    16        A. Yes. So McKesson OneStop,               16   It's indicative of, we'll call it that --
    17   OneStop is a generic source program, and        17   that pie, what percentage of that pie was
    18   McKesson has pharmacies that are apart of       18   earned by each respective company.
    19   that program. And we negotiate with             19         Q. And your understanding is
    20   McKesson to gain a primary position on          20   that pie remained the same size in the
    21   their contract. And the pharmacies that         21   last two decades?
    22   they sign on with this program, when they       22         A. My understanding is that the
    23   purchase product from McKesson, they            23   pie is influenced by prescribers of, in
    24   would put in, if they put in a                  24   this case, hydrocodone, not by supplying
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     1   or shipping the product.                        1   product on the contract. So it is a
     2            MR. TSAI: Do you folks want            2   function that is used.
     3        to take a break, do another hour,          3             I will say again, rebates
     4        or do you want to break for lunch          4   are a part of the financial interaction
     5        now?                                       5   between manufacturer and wholesaler,
     6            Most important for you.                6   manufacturer and chain headquarters. But
     7            THE WITNESS: Yeah. On the              7   that in itself does not drive demand.
     8        record my bladder won't make it an         8   That in and of itself hopefully
     9        hour, but I can keep on going for          9   encourages them to use our product over a
    10        a bit if --                               10   competitor's product.
    11            MR. TSAI: We can take a               11             MS. BAIG: Let's have this
    12        short break now. Do you want to           12        document marked as Exhibit 9.
    13        do another hour?                          13             (Document marked for
    14            MS. BAIG: Do you want to              14        identification as Exhibit
    15        break now or keep going?                  15        Mallinckrodt-Adams-9.)
    16            THE WITNESS: I can keep               16   BY MS. BAIG:
    17        going for a little while. Yeah.           17        Q. This document starts as an
    18            MS. BAIG: Okay. Just let              18   e-mail from Jeff Burd to you and others,
    19        me know when you'd like a break.          19   dated October 5, 2005. It's
    20            THE WITNESS: Okay. Sounds             20   Bates-stamped Mallinckrodt 0007917528
    21        good.                                     21   through 7576.
    22   BY MS. BAIG:                                   22             And as the subject it says,
    23        Q. Did Mallinckrodt use a                 23   "Gained accounts and rebate reports."
    24   rebate program in order to maximize its        24   For attachments it says, "Gained
                                             Page 147                                             Page 149
     1   sales of opioid products?                       1   accounts, rebate matrix, and rebate
     2        A. No. Rebate programs were --             2   schedule." And the first line of the
     3   they did a number of different things.          3   e-mail states, "Please find attached the
     4   Certainly a volume incentive program was        4   updated gained accounts and rebate
     5   designed to choose our product over a           5   reports with pricing and sales effective
     6   competitor's product relative to what           6   as of September 30, 2005."
     7   they decided to purchase. Rebates are           7             Do you see that?
     8   part of an industry norm, whether it's          8        A. I do see that.
     9   controlled or noncontrolled, whether it's       9        Q. And did you have the
    10   opioids or non-opioids. It is a                10   opportunity to review these types of
    11   structure that's -- is fairly common.          11   reports in the regular course of your
    12        Q. My question was just                   12   business at Mallinckrodt?
    13   whether -- whether Mallinckrodt used a         13        A. Yes, I would -- I would
    14   rebate program in order to maximize sales      14   regularly see what the rebate structure
    15   of opioid products.                            15   was for customers.
    16        A. Mallinckrodt used a rebate             16        Q. And on the first page of
    17   program, but not to -- designed to             17   the -- first attachment where it says,
    18   increase -- with the exception of the          18   "Rebate matrix by contract," do you see
    19   volume incentive program, which was            19   that?
    20   designed to choose our product over            20        A. I do.
    21   another competitor's product.                  21        Q. And this shows the customers
    22             So as far as maximizing              22   on the left-hand side and then under
    23   sales, it did -- the intent was to make        23   rebate percentage, does it show the
    24   sure that our product was the selected         24   rebates that are being offered for their
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     1   entire portfolio of products?                    1   for other Progenerics sales; is that
     2        A. It shows the rebate                      2   right?
     3   percentage. Some products may be                 3        A. So this is a volume
     4   included or excluded. But that would be          4   incentive program. The other Progen
     5   correct, as far as kind of what the              5   sales is considered a volume incentive
     6   rebate percentage is in general.                 6   program. So that's what you'll see here.
     7        Q. And what's the difference                7   And morphine is excluded, apparently,
     8   between direct and indirect?                     8   from this -- from the volume incentive
     9        A. So direct, so in the case                9   program.
    10   of -- I'll use an example here,                 10        Q. So instead of getting a
    11   Burlington Drug. They would not be --           11   rebate percentage, they are just getting
    12   from an indirect perspective, they would        12   a $1 million rebate for morphine; is that
    13   be buying off a contract that they didn't       13   right?
    14   necessarily negotiate directly. They            14        A. On purchases of 10 million
    15   would -- that contract was negotiated by        15   and above.
    16   a group purchasing organization called          16        Q. Okay. And this document
    17   Opti-Source.                                    17   shows rebates ranging up to 25 percent or
    18              Associated Pharmacies was            18   so?
    19   considered direct. They had their own           19        A. I don't have the full
    20   warehouse. So Mallinckrodt would                20   purview of the document in front of me.
    21   negotiate with Associated Pharmacies,           21   I do see one at 25 percent, yes. So when
    22   would sell into their warehouse and their       22   developing a contract with a specific
    23   warehouse would sell into their -- the          23   customer, you would look at what is the
    24   pharmacies within their own network.            24   net price that you are going to sell to
                                              Page 151                                             Page 153
     1         Q. So ABC Progenerics primary,             1   that customer at. And then you would
     2   one of the first ones listed here, do you        2   gross up the contract price by this
     3   see that?                                        3   percentage.
     4         A. I do.                                   4             So, in the case of
     5         Q. What does ABC stand for?                5   AmerisourceBergen Progenerics primary, if
     6         A. AmerisourceBergen.                      6   you were selling to them at a net price,
     7         Q. Okay. And it shows                      7   which is what you would -- internally how
     8   different types of rebate percentages            8   we would do it, we would say okay, great,
     9   for -- what -- what does this show?              9   this is a $10 net price. And then we
    10   There -- there's more data under the ABC        10   would gross up their contract price to
    11   Progenerics primary than there is for           11   5 -- 5 percent above that.
    12   many of the others.                             12             So this is all what is the
    13             And you see for example,              13   net price that is being sold to our
    14   it's discussing morphine only. And then         14   customers at, is what drives it, not the
    15   it says for $10 million and above there's       15   rebate. Each customer has their own
    16   a $1 million rebate; is that right?             16   rebate type of program and process.
    17         A. That's correct.                        17        Q. And if you turn a couple
    18         Q. So that means they need to             18   pages further, you'll see a new document
    19   sell $10 million in order to receive the        19   starts that's titled Rebate Product
    20   $1 million rebate; is that right?               20   Schedule?
    21         A. They need to purchase.                 21        A. Do you have a page number
    22         Q. They need to purchase, okay.           22   here? Okay. I see, yes.
    23             And then -- and then that's           23        Q. And it's a little bit
    24   different thresholds of -- of purchases         24   different, because here you have not just
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     1   a rebate percentage, but also a rebate         1   calculated on, what is the net price that
     2   per bottle figure. Do you see that?            2   we would sell to them. And then the $14
     3         A. Yeah. It's -- it's -- I               3   rebate you would gross that up from what
     4   can't speak to the rest of the pages, but      4   the net price was up to the $14. So the
     5   it is not on a per bottle. It is -- here       5   real, true price in how you compare
     6   are the -- using methylplenidate. It is        6   across your customers is the net price,
     7   a rebate percentage based on that              7   which is not listed here.
     8   particular molecule. So it's not on a          8        Q. If you move a little further
     9   different size bottle do you get a             9   down, you'll see that's two references to
    10   different rebate. It's on that                10   morphine sulfate ER?
    11   particular molecule.                          11        A. Yes.
    12             I don't know if there are           12        Q. One is for 200 milligrams --
    13   circumstances where it's a different          13        A. Yes.
    14   rebate per bottle size within a product       14        Q. -- in tabs, bottle of 100.
    15   family. I can't speak to that by what         15   And one is for 100 milligrams in tabs
    16   I've seen here yet.                           16   bottle of 100. And the 200-milligram
    17         Q. So if you move about halfway         17   tabs have a rebate per bottle of $165.
    18   down, you'll see APAP codeine and 300/15      18   And the 100-milligram tabs have a rebate
    19   tabs bottle of 1,000.                         19   per bottle of $90, correct?
    20         A. Yes.                                 20        A. Yes. And so what you can't
    21         Q. And there's zero percent             21   tell here is, is that equivalent to a 10
    22   rebate offered on that? But then it says      22   percent rebate on what the price is? Is
    23   $14 rebate per bottle. What does that         23   that 165 and is that 90 a 10 percent
    24   $14 figure mean?                              24   rebate? I don't know what the price is
                                            Page 155                                             Page 157
     1        A. So a couple different things           1   as the basis for this. So the percentage
     2   here is, I -- you really can't look at         2   may be very low, 5, 10 percent, whatever.
     3   APAP codeine and say there's zero percent      3        Q. Mm-hmm, of the total price.
     4   rebate. What you can do is, let's say          4   But you can see that the higher strength
     5   here's Albertsons. And Albertsons has a        5   morphine sulfate is receiving, at least
     6   zero percent rebate for whatever products      6   in this case, a higher rebate per bottle?
     7   they stock. So these are the products          7        A. That's correct. It's more
     8   that they stock. And that's -- they just       8   of the raw material in there.
     9   don't have any rebates affiliated with         9            So in certain circumstances
    10   that from a percentage basis.                 10   that would be the situation.
    11            Now, this rebate per bottle.         11        Q. Do you recall hydrocodone
    12   Instead of doing a percent, you can do it     12   and oxy being big sellers back in the
    13   at a bottle level. So it's one or the         13   mid-2000s time frame?
    14   other. Very rarely would it be both. I        14            MR. TSAI: Object to form.
    15   don't know if there's circumstances where     15            Go ahead.
    16   we -- you would do a per bottle and a         16            THE WITNESS: Oxycodone and
    17   percent rebate. I don't know off the          17        hydrocodone were certainly large
    18   top. I don't recall.                          18        dollar producers for Mallinckrodt,
    19        Q. I see. So they are getting            19        yes.
    20   a $14 rebate per bottle for that              20   BY MS. BAIG:
    21   particular drug at Albertsons, correct?       21        Q. And did you have key clients
    22        A. For a bottle of a thousand.           22   ordering ahead of schedule for those
    23   So they are getting that rebate, yes.         23   drugs? Do you recall?
    24   But again, that rebate was first              24        A. What would you say -- I'm
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     1   not sure what ahead of schedule is.             1   certain dollar goals, we will help fund
     2             The only -- not the only,             2   part of that vault program, or that
     3   but a scenario in which I could imagine         3   vault."
     4   is we were awarded the product in January       4            So they would have to hit
     5   but the contract didn't start until May.        5   targets in order for us to make that
     6   So instead of having them order the             6   payment for their vault.
     7   product on May 1st, in anticipation of          7        Q. I see.
     8   the conversion to our product versus            8            MS. BAIG: Let's have this
     9   Watson, they would buy it two weeks in          9        document marked as Exhibit 10.
    10   advance so they could take the                 10            (Document marked for
    11   distribution network and make sure the         11        identification as Exhibit
    12   product was stocked in the distribution        12        Mallinckrodt-Adams-10.)
    13   center for when their pharmacies would         13            THE WITNESS: Is this a good
    14   order it.                                      14        time to take a break --
    15        Q. I think we've touched                  15            MS. BAIG: Sure.
    16   already on volume incentive programs.          16            THE WITNESS: -- since we're
    17   We've touched upon rebates. I'm                17        moving documents.
    18   wondering if there are strategies, other       18            MS. BAIG: Okay.
    19   strategies that Mallinckrodt used in           19            THE WITNESS: Great.
    20   order to maximize its sales or increase        20            THE VIDEOGRAPHER: Going off
    21   its market share with respect to opioid        21        the record. The time is 12:24.
    22   products, apart from the volume incentive      22               - - -
    23   program, and the rebates.                      23              (Lunch break.)
    24        A. I'm trying to think if there           24               - - -
                                             Page 159                                          Page 161
     1   are any other scenarios that you would do       1     AFTERNOON SESSION
     2   besides rebates, volume incentive               2            THE VIDEOGRAPHER: We are
     3   program, per -- per bottle rebates. So          3        going back on record. Beginning
     4   there can be a per bottle rebate as             4        of Media File 3. The time is
     5   opposed to a percentage rebate.                 5        1:04.
     6           There was a reference to a              6                - - -
     7   vault program, which was -- which was           7            EXAMINATION (Cont'd.)
     8   included in one of the documents we             8                - - -
     9   reviewed. So there may be others. I             9   BY MS. BAIG:
    10   just don't recall others.                      10        Q. Okay. Let's have this
    11        Q. What was the vault program?            11   document marked as Exhibit 10, please.
    12        A. The vault program was a                12            This is a document that
    13   program where a particular customer,           13   starts as an e-mail from you to Kevin
    14   as -- well, maybe I'll backup one step.        14   Vorderstrasse dated February 8, 2007.
    15   Controlled substances, Schedule II, would      15   Bates-stamped with Mallinckrodt 000685111
    16   be stored in a vault. In that vault we         16   through 121?
    17   would basically say to a customer, and it      17            And it states, "Attached is
    18   was not something that we did for              18   the monthly report."
    19   everybody, but we would say, "Hey, we          19            If you look into the
    20   understand that you're going to be             20   attachment, it appears to be a monthly
    21   expanding your vault. We would like for        21   report for -- for January of 2007. Do
    22   you to choose our product over Actavis,        22   you see that?
    23   over Ethex," whoever the alternate             23        A. I do.
    24   manufacturer was. "And if you meet             24        Q. And do you recall receiving
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     1   reports like -- like this on a regular           1   lower ordering much in January."
     2   basis at Mallinckrodt?                           2            Do you see that?
     3         A. No, I don't recall that.                3        A. I do.
     4   Can I take a look at it though, just to          4        Q. And then a little bit
     5   go through it a little bit more here?            5   further down, it states, "Oxycodone was
     6             (Whereupon, a discussion was           6   extremely strong this month, primarily
     7         held off the record.)                      7   driven by the oxy APAP
     8             THE WITNESS: Okay.                     8   10/325 milligrams."
     9   BY MS. BAIG:                                     9            Do you see that?
    10         Q. So do you recall receiving             10        A. I do.
    11   monthly reports like this?                      11        Q. What is 10/325?
    12         A. No, I don't remember this              12        A. Ten is the milligrams of
    13   type of detail.                                 13   oxycodone. 325 is the milligrams for the
    14         Q. Who is Kevin Vorderstrasse?            14   acetaminophen.
    15         A. Kevin, I don't know what his           15        Q. Okay. And it goes onto
    16   title was, but Kevin would -- he would          16   state, "The forecast was artificially low
    17   look at a lot of the IMS data. And he           17   on this SKU but the majority of the
    18   would do analytics, that type of                18   additional demand was higher than normal
    19   reporting. Some business development            19   ordering from Walgreens and Cardinal
    20   too.                                            20   needing product ahead of our previously
    21         Q. I see. And you see the                 21   agreed upon schedule."
    22   first -- second -- or first couple lines        22            Do you see that?
    23   of the e-mail at the end it says, "I know       23        A. I do.
    24   you mentioned it was just for a month or        24        Q. And then a little bit
                                              Page 163                                            Page 165
     1   two."                                            1   further down, maybe two lines further, it
     2            It appears to be referring              2   states, "We will need to stimulate sales
     3   to the monthly reports. Do you recall            3   demand through a promotion."
     4   that there was a short period of time            4            Do you see that?
     5   where monthly reports were generated?            5        A. I do see that.
     6        A. I don't.                                 6        Q. And are you familiar with
     7        Q. You don't recall one way or              7   what types of promotions Mallinckrodt
     8   another?                                         8   would use in order to stimulate sales
     9        A. I don't.                                 9   demand?
    10        Q. But you don't have any                  10        A. So with this, I don't
    11   reason to doubt that you received this,         11   remember this specifically, but to your
    12   given that you e-mailed it, right?              12   question, this would be demand that would
    13        A. No, I don't have any doubt.             13   not be new demand. It would be demand
    14        Q. Okay. If you look to the                14   that exists already as a result of
    15   product forecast variances, it's showing        15   physicians prescribing the product. So
    16   that generics had an extremely strong           16   what would stimulate purchases from
    17   January, driven by hydrocodone and              17   wholesalers, chains, et cetera, would be
    18   oxycodone in the second -- third line.          18   along the lines of trying to make sure
    19            Do you see that?                       19   that we garnered our part of what that
    20        A. I do.                                   20   potential unit usage was.
    21        Q. It goes on to state, "Both              21            As far as some of these, we
    22   appeared to be strong, as though                22   referred to it earlier, through like
    23   wholesalers loaded in additional product        23   AmerisourceBergen, there was the inside
    24   at the end of last year. They did not           24   sales group who would call pharmacies to
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     1   increase awareness of the product. That          1   just mentioned, regarding calling
     2   would certainly be a good example of what        2   AmerisourceBergen, the pharmacies that
     3   would be done to do work with the                3   purchase through them, to hopefully have
     4   customer base, customers again being             4   them choose our product over a Watson
     5   defined as pharmacies.                           5   product which was on a dual primary
     6        Q. But you see the line here                6   contract.
     7   that says, "We will need to stimulate            7        Q. Do you recall fax blasts out
     8   sales demand through a promotion, et             8   to hospitals about certain opioid
     9   cetera."                                         9   products?
    10             Do you see that?                      10        A. I didn't recall that. I'll
    11        A. I do.                                   11   reiterate that I was on the retail side
    12        Q. Does it say anywhere there              12   and not on the hospital health system
    13   that it's not intended to stimulate new         13   side.
    14   demand?                                         14        Q. So if you look at the bottom
    15        A. Sales is -- we'll -- we'll              15   of the second page of this document, do
    16   say it's synonymous with demand, we can't       16   you see where it says, "Unit dose oxy
    17   generate new prescriptions. That is             17   APAP and morphine, buy two get one free
    18   not -- by definition of a generic               18   promotion starts on February 1st and ends
    19   company, we can't generate new demand.          19   on March 31st. Faxes will be sent to
    20   We can work with our customers to supply        20   approximately 47,000" -- sorry -- "4,700
    21   them product. Again, even the                   21   hospitals."
    22   wholesalers, et cetera, and chains can't        22            Do you see that?
    23   be the ones to prescribe a product. So          23        A. I do see that.
    24   they can't do it either. It's just more         24        Q. Do you recall promotions
                                              Page 167                                            Page 169
     1   of what part of it can we get to -- what         1   like buy two, get one free promotions?
     2   part of that market can we earn, if you          2        A. I don't recall that. I can
     3   will.                                            3   certainly see where this would certainly
     4        Q. Sure. Stimulate sales                    4   drive the demand as defined purchases
     5   demand. I'm not asking if you had an             5   from the hospital through the wholesaler.
     6   opportunity to prescribe product,                6   It doesn't mean that the hospital would
     7   obviously. I'm just asking what tools            7   have more demand from patients' needs or
     8   you used to stimulate demand. Did you            8   from prescriptions.
     9   use promotions?                                  9        Q. Why don't we just clarify
    10        A. Sorry, I may have --                    10   when we're talking about demand and
    11        Q. What types of promotion?                11   sales, we're talking about Mallinckrodt
    12        A. I may have misunderstood                12   sales, right?
    13   your question, your last one.                   13        A. We are talking about
    14        Q. Well, let me rephrase. It               14   Mallinckrodt sales into wholesalers and
    15   states, "We will need to stimulate sales        15   distributors.
    16   demand through a promotion, et cetera,"         16        Q. Correct.
    17   correct?                                        17        A. Correct.
    18        A. That's correct, sales                   18        Q. So when you send a buy two,
    19   demand.                                         19   get one free promotion to 4,700
    20        Q. Sales demand, yes, through a            20   hospitals, do you have any recollection
    21   promotion. Are you familiar with                21   of what that promotion looked like?
    22   promotions that Mallinckrodt used to            22        A. Maybe -- let me just state
    23   stimulate demand, sales demand?                 23   it once again. This is -- this is the
    24        A. The one that I recalled, I              24   health system side. So I can't speak
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     1   specifically to this. But I can                1         A. I do.
     2   speculate that what this is is if they         2         Q. And it states, "The unit
     3   will buy those two bottles from their          3   variance was due to stronger orders from
     4   wholesaler, then a -- then that third one      4   McKesson, Walmart, and CVS."
     5   would be free. And that would be -- that       5             Do you see that?
     6   would be coordinated, if you will, to          6         A. Yes, I do.
     7   have them put the product on the shelf.        7         Q. And then a little bit
     8        Q. And who designed these buy             8   further down, next to oxycodone family,
     9   two, get one free promotions? Who would        9   it states, "The adjusted gross sales for
    10   have designed that? The marketing             10   the family were over 100 percent above
    11   department?                                   11   the forecasted dollars."
    12        A. I don't know truthfully.              12             Do you see that?
    13   I'm not sure.                                 13         A. I do.
    14        Q. Mallinckrodt had a generics           14         Q. And volume was also up by
    15   marketing department, right?                  15   38 percent from forecasted units?
    16        A. Yes, that's correct.                  16         A. Correct.
    17        Q. Would your best guess be              17         Q. Would you agree that that's
    18   that it probably would have been the          18   trending pretty strongly at this point?
    19   generics marketing department that            19         A. What I would look at is, was
    20   designed the promotion such as this?          20   the forecast wrong? It certainly could
    21        A. Again, this is -- this is a           21   be. And so -- so there could be a
    22   different non-retail segment. So I don't      22   forecasting issue. I don't know if from
    23   know how that was derived or how that was     23   the perspective of, in this case, does
    24   developed.                                    24   that mean that they were putting that in,
                                            Page 171                                             Page 173
     1        Q. If you wanted to know, who             1   whether they were purchasing that and
     2   would you ask at Mallinckrodt?                 2   that increased their inventory? I don't
     3        A. I can certainly ask the                3   know what the key driver was that really
     4   person who -- what's the time? I don't         4   drove those stronger orders.
     5   even know who it would be at this time.        5        Q. If you turn two pages
     6   January of '07. I don't know if that was       6   further, you'll see a heading "Fentanyl
     7   Bob Lesnak who would see the health            7   Transdermal System." And that was one of
     8   systems, or if that was -- I'm trying to       8   Mallinckrodt's fentanyl products; is that
     9   think of the person's name. Lewis              9   right?
    10   Archibeck. I don't know which one of          10        A. I'm sorry. I'm not quite
    11   those would be leading at that time.          11   there yet.
    12        Q. And if you look back again            12        Q. It's the page ending Bates
    13   to the first page of this monthly report.     13   Number 116. Was the fentanyl transdermal
    14   Do you see under products, it identifies      14   system one of Mallinckrodt's fentanyl
    15   a number of opioid products, the HB/APAP,     15   products?
    16   the morphine ER, and the oxycodone            16        A. Yes. I don't know when it
    17   family?                                       17   launched. Just so let me look at this.
    18        A. I do.                                 18            So this appears as if the
    19        Q. And it states that for                19   product has not been launched. I'll
    20   HB/APAP, actual sales were 41 percent         20   define "launch" as us trying to gain the
    21   over forecast in terms of units and           21   primary position of the wholesalers and
    22   31 percent over forecast in terms of          22   the chains. A launch was not defined as
    23   dollars.                                      23   physicians and us promoting to physicians
    24            Do you see that?                     24   to write prescriptions. So the market
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     1   that was there, it was our goal when              1   about, can you think of any other
     2   launching a generic, is to get our part           2   marketing tools that were used in order
     3   of that share that was already out there.         3   to maximize sales of opioids?
     4   So I'll define that as launch.                    4         A. I don't recall. I will say
     5            It does not appear that                  5   to maximize purchases of opioids is --
     6   we've launched yet, and that we are               6   is -- purchases from our customers to us,
     7   preparing for that by building inventory.         7   not -- not to enhance demand.
     8        Q. And the concern there was to              8            I don't recall any other
     9   maintain inventory levels to support the          9   promotions off the top though.
    10   potential for you to garner additional           10         Q. If you turn to the last page
    11   market share right out of the gate at            11   of this document. Do you see under the
    12   launch; is that right?                           12   heading Top 3 Issues, under Point 2-C,
    13        A. So, yes, what that would                 13   there is a reference to marketing tools?
    14   mean is that we need inventory in our            14         A. I'm sorry, I'm not there
    15   distribution center, so that when we             15   yet.
    16   sign -- when we obtain a contract from a         16         Q. Last page. Under Top 3
    17   wholesaler or chain or distributor, that         17   Issues, under 2-C, there's a reference to
    18   we would then be able to support those           18   marketing tools. Do you see that?
    19   purchases from them.                             19         A. I do see that.
    20        Q. What was Project Orange?                 20         Q. Okay. And it references
    21        A. Can you -- where -- where is             21   "promotions sales aids, wholesaler
    22   that?                                            22   stickers are being made and supplied to
    23        Q. Next page. Halfway down.                 23   the sales team."
    24        A. I don't recall Project                   24            Do you know what promotions
                                               Page 175                                             Page 177
     1   Orange. I remember the name. I don't              1   sales aids are being referenced here?
     2   recall what it was.                               2        A. I don't. And I didn't write
     3         Q. If you turn to the next                  3   this. I'm -- I'm looking at this as,
     4   page. Do you see there's a reference to           4   since it's unit dose, probably under
     5   a cocaine topical?                                5   health systems, hospital purchases, but
     6         A. I do see that, yes.                      6   that I can't -- I can't say for certain.
     7         Q. What was a cocaine topical?              7        Q. And are you familiar with
     8         A. I don't know from -- this                8   the concept of wholesaler stickers?
     9   isn't the product that I believe was in           9        A. I'm not -- I'm not confident
    10   the generic retail side.                         10   in what it was or what it is. If I was
    11             I believe the cocaine was              11   to -- if I was to guess, remember we saw
    12   used -- no, I'm not sure, I'm not sure           12   the order numbers, it may be something
    13   who would use that. But yeah, I don't            13   that would go on the -- on the carton
    14   know. I don't know about that product.           14   that would have the order number from a
    15         Q. It says, "Moved launch until            15   particular wholesaler or a particular,
    16   July of 2007." Do you know whether it            16   maybe chain, but where, that way the
    17   was ever launched?                               17   pharmacist, when they ordered, they would
    18         A. I don't know if it was ever             18   see that order number. That's -- that's
    19   launched. Again, it may have happened            19   kind of what I'm recalling.
    20   after my time. I just don't remember.            20        Q. And how would that be a
    21         Q. In addition to the volume               21   marketing tool?
    22   incentive programs, the rebate practice          22        A. If you have the order
    23   programs, the two-for-one offers, some of        23   sticker on there, as a pharmacist you
    24   the sales brochures that we've talked            24   could then look at that order number
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     1   without having to look it up in the            1         Q. And here it appears to be a
     2   system and you can say, oh okay,               2   report from you to Mike Gunning, if you
     3   AmerisourceBergen, their order number for      3   look at the first page of the report. Do
     4   this product is 654321. And you could          4   you see that?
     5   use that to then purchase the product          5         A. I do.
     6   from the wholesaler or distributor, as it      6         Q. Do you recall creating this
     7   were.                                          7   document?
     8        Q. And at least according to              8         A. I do not.
     9   this document, wholesaler stickers were        9         Q. Do you recall working on
    10   being made and supplied to the sales          10   these types of monthly reports when you
    11   team. Do you see that?                        11   were at Mallinckrodt?
    12        A. I do see that.                        12         A. I do not.
    13        Q. And do you have any                   13         Q. Do you have any doubt --
    14   recollection of what those wholesaler         14   reason to doubt that this was created by
    15   stickers that were made and supplied to       15   you since it's -- it states to -- that
    16   the sales team as a marketing tool looked     16   it's to Mike Gunning from you?
    17   like?                                         17         A. Yeah, it looks -- that would
    18        A. No, I think I mentioned               18   be reasonable to assume. What I might
    19   earlier, I don't recall the program or --     19   suggest, and this is -- that -- I didn't
    20   or what it was. I certainly was               20   pull the data, but it would be provided
    21   speculating on what it was to you just        21   to me from various members of different
    22   now.                                          22   teams. I would aggregate the data and
    23        Q. Okay.                                 23   put it forth.
    24             MS. BAIG: Rocky, do you             24         Q. Okay. And if you -- if you
                                            Page 179                                            Page 181
     1         know if the promotion sales aids         1   scan the first page, you see there's a
     2         and the wholesaler stickers that         2   forecast summary for various products.
     3         are referenced here have been            3        A. Yes.
     4         produced?                                4        Q. And customers, correct?
     5              MR. TSAI: I will check and          5        A. Hold on one second. Yes.
     6         get back to you.                         6        Q. And then there's retail
     7              MS. BAIG: That would be             7   highlights. And it -- there's a
     8         great. Thank you.                        8   paragraph on a number of various
     9              Let's have this document            9   customers, right, beginning with Rite
    10         marked as Exhibit 11.                   10   Aid?
    11              (Document marked for               11        A. That's correct.
    12         identification as Exhibit               12        Q. And there's a reference
    13         Mallinckrodt-Adams-11.)                 13   there to your attending Rite Aid's recent
    14   BY MS. BAIG:                                  14   trade showed where you met and mingled
    15         Q. This is a document that              15   with store pharmacists as well as top
    16   starts as an e-mail from -- from you          16   pharmacy management?
    17   dated September 6, 2007. It's                 17        A. Yes.
    18   Bates-stamped Mallinckrodt 0004923043         18        Q. And would you participate in
    19   through 3048.                                 19   these types of -- of trade shows in order
    20              Again, in the first sentence       20   to form strong relationships with the
    21   it -- it seems to attach a monthly            21   store pharmacists and the top pharmacy
    22   report. And the subject line is monthly       22   management so -- as ultimately to
    23   report. Do you see that?                      23   maximize sales?
    24         A. I do.                                24        A. Similar to the CVS meeting
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     1   that we spoke about before. No. Sorry,         1   formulary covering Brooks Eckerd's stores
     2   with reference to that, this is a              2   is progressing smoothly."
     3   scenario where you would attend and the        3            Do you see that?
     4   attendance was primarily driven via            4        A. I do see that.
     5   headquarters of the retail national            5        Q. Do you know what that's
     6   accounts. So in this case Rite Aid.            6   referring to?
     7            You -- as a manufacturer who          7        A. I believe that Rite Aid
     8   supplied product to them, you would be --      8   purchased Brooks Eckerd's stores. And so
     9   you wouldn't really have a choice but to       9   they were transitioning from being a
    10   be there. But really, the top pharmacy        10   specific Brooks Eckerd's pharmacy chain
    11   management is what drove you to be there.     11   to being operated under Rite Aid. So
    12   Being with the pharmacists wasn't             12   they would start to operate as if they
    13   something that was of value, it was more      13   were under the same contract that Rite
    14   at the senior level.                          14   Aid negotiates with manufacturers.
    15        Q. So where you note here that           15        Q. Do you recall working to
    16   you met and mingled with store                16   develop something called a Narcotics
    17   pharmacists, that wasn't valuable?            17   Story?
    18        A. No, that -- the pharmacists           18        A. A Narcotics Story? I don't
    19   don't have a say in the product that is       19   remember any specifics on a Narcotics
    20   selected. That occurs at the headquarter      20   Story. I do recall kind of our component
    21   level. We don't call on pharmacists. We       21   where we would talk about our API and
    22   call on the headquarter level who then        22   kind of the benefits of us manufacturing
    23   makes the decision on which product to        23   our own API and the value of that.
    24   stock, ours or Watson for example. So         24        Q. What is API again?
                                            Page 183                                            Page 185
     1   the pharmacists themselves aren't the          1        A. Active pharmaceutical
     2   ones who are deciding which one's on           2   ingredient. So where we would make the
     3   contract.                                      3   raw material -- by we, the API team.
     4             And I'll make a distinction          4        Q. Do you recall that being
     5   here is a pharmacy chain with a warehouse      5   called a Narcotics Story?
     6   has more control over compliance to a          6        A. I don't recall it being a
     7   contract. So a Rite Aid pharmacist has         7   Narcotics Story. That was kind of, if
     8   very little control over what products         8   you will -- we would talk the fact that
     9   they can purchase off -- off of that           9   we made our own raw material, and that
    10   contract that the headquarters has            10   certainly was a benefit in the narcotics
    11   supplied.                                     11   industry. Any industry, truthfully,
    12        Q. But according to this                 12   where you can make your own raw material.
    13   document, you did meet and mingle with        13        Q. So if you skip to the page
    14   store pharmacists, correct?                   14   that ends in 047, you'll see there are a
    15        A. We -- we did. Again from              15   few references to McKesson.
    16   this, I gather that we did. I will say a      16        A. Yes.
    17   traditional format would be that you          17        Q. And the second one states,
    18   would have a booth that was supplied by       18   "Concerns by McKesson have been expressed
    19   Rite Aid in this case, so a draped table.     19   regarding the upcoming pedigree law
    20   And the pharmacists would rotate around       20   changes for California set for
    21   from booth to booth to -- to talk with        21   January 1st, 2009, will new law will
    22   the -- each manufacturer.                     22   require manufacturers to attach a unique
    23        Q. And there is also a                   23   identifier to each dangerous drug at the
    24   reference to "the implementation of the       24   smallest packaging level or container
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     1   distributed to the wholesaler. Sales and         1   California.
     2   marketing will meet" -- "sales and               2        Q. And do you see on the next
     3   marketing -- it says, "with meet with            3   paragraph it states, "John Adams and Tim
     4   logistics." I assume it intends to say,          4   Berry met with 35 McKesson marketing
     5   "Sales and marketing will meet with              5   members in San Francisco to present the
     6   logistics."                                      6   Narcotics Story."
     7            Do you see that?                        7            Do you see that?
     8        A. I see that.                              8        A. I see that line, yes.
     9        Q. Are you familiar with this               9        Q. Do you recall meeting with
    10   law that was set for January 1st, 2009,         10   35 McKesson marketing members in San
    11   in California?                                  11   Francisco to present the Narcotics Story?
    12        A. I don't remember the                    12        A. I do remember that, yes.
    13   specific timeline. But I do remember            13        Q. Okay. So does that refresh
    14   that the state of California, we'll call        14   your recollection as to what the
    15   it, was ahead of the curve relative to          15   Narcotics Story was?
    16   developing pedigree to trace product            16        A. Yes. It is in line with
    17   through the supply chain, so from               17   what I was talking about relative to the
    18   manufacturer to the wholesaler who the          18   Narcotics Story, is we basically, from
    19   pharmacy.                                       19   the perspective of Mallinckrodt, would
    20            And so from this, certainly            20   purchase the raw opium from India.
    21   logistic -- logistical challenges appear        21            It would then be brought
    22   to be present.                                  22   into the U.S., and Mallinckrodt would
    23        Q. And you understood at the               23   then transition that product from raw
    24   time that the reason for those pedigree         24   opium into powder, which would then be
                                              Page 187                                            Page 189
     1   law changes in California were that these        1   used for -- that would go into finished
     2   drugs were dangerous, and there was a            2   dosage forms for Mallinckrodt, as well as
     3   potential -- potential risk of abuse and         3   other manufacturers of opioids.
     4   diversion?                                       4            And so that reinforced the
     5        A. I don't recall that it was               5   message of really a vertically
     6   specific to that. It does talk about             6   integrated -- meaning, we did the
     7   dangerous drugs. I don't know if it              7   manufacturing from start to finish.
     8   refers to non-opioids as well. It                8            So that was truly the
     9   certainly has expanded into non-opioids          9   Narcotics Story. I don't remember it
    10   as of today.                                    10   being called that. But from the
    11        Q. And why would the sales and             11   perspective of doing that, the real value
    12   marketing team meet with logistics with         12   to the McKesson marketing members who
    13   respect to this particular pedigree law         13   were present is to talk about surety of
    14   change in California?                           14   supply.
    15        A. So really in this case it               15            So when they order product
    16   would be important that sales and               16   from us, the objective was that hopefully
    17   marketing understand how logistics would        17   there's a benefit that we can supply
    18   roll out such a program, because the            18   product in those scenarios to fill the
    19   sales and marketing team would be talking       19   demand that McKesson's pharmacies have,
    20   and speaking with headquarters for              20   that, again, they don't control.
    21   wholesalers and distributors that -- that       21        Q. Were there graphics or
    22   sell into the state of California, which        22   PowerPoint presentations in connection
    23   is virtually every wholesaler and               23   with that Narcotics Story that was
    24   distributor would sell into the state of        24   presented to 35 McKesson marketing
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     1   members?                                         1   marketing. So that's who would be in
     2       A. There would likely be, yes,               2   attendance from the Mallinckrodt team.
     3   a PowerPoint presentation with that.             3        Q. Do you recall who --
     4           MS. BAIG: Counsel, can you               4        A. And again, the retail team,
     5       make that that was produced,                 5   just to define that.
     6       please?                                      6        Q. Do you recall who was there
     7           MR. TSAI: I'll follow-up                 7   from the marketing team?
     8       and let you know.                            8        A. I don't know, no.
     9   BY MS. BAIG:                                     9        Q. And that was a follow-up to
    10       Q. And who was Tim Berry?                   10   the NACDS meeting; is that right?
    11       A. Tim Berry was a national                 11        A. So it's in conjunction with
    12   account manager who reported to me.             12   NACDS. So NACDS, if you recall, is the
    13       Q. It says here that that same              13   National Association of Chain Drug
    14   presentation was then delivered to 60           14   Stores. Part of their meeting that they
    15   employees in the Carrolton, Texas, office       15   would have every August, I believe --
    16   in September.                                   16   yes, every August, there would be, like I
    17           Do you see that?                        17   said, a three or four-day meeting.
    18       A. I do. Yes.                               18            And one of the evenings, not
    19       Q. And were those also 60                   19   every year, but some years we would host
    20   McKesson marketing employees in                 20   an event. And in this case, Covidien had
    21   Carrolton, Texas?                               21   a booth -- or excuse me, had a suite at
    22       A. That's correct. Those                    22   Fenway Park. And so we invited customers
    23   individuals -- so when you talk                 23   to attend that. And we would have food
    24   marketing, again it's just to drive             24   and entertainment there relative to
                                              Page 191                                             Page 193
     1   compliance to a contract. So those               1   customers.
     2   employees would contact -- would contact         2            And again, I will define
     3   pharmacies within their network. So we           3   customers as the buyers, the purchasers
     4   wanted to educate them on Mallinckrodt.          4   of products for wholesalers and chains at
     5        Q. And on Mallinckrodt                      5   the headquarter level, not at the
     6   narcotics, correct?                              6   individual pharmacy level and certainly
     7        A. Yes on the vertical                      7   nothing below that.
     8   integration and the value of being               8        Q. Do you know what the root
     9   vertically integrated relative to supply.        9   learning program was?
    10        Q. On the last page under                  10        A. I don't recollect the root
    11   NACDS, there is a reference to an event         11   learning program.
    12   at Boston's Fenway Park utilizing the           12        Q. You don't recall receiving
    13   Covidien tickets resulting in numerous          13   training in a root learning program as is
    14   business interactions including Harvard         14   referenced here?
    15   Drug, PBA, TrueCare, ABC, Walmart, CVS          15        A. I do not recall, no.
    16   Caremark.                                       16        Q. It goes onto state, the
    17            Do you see that?                       17   objective is to have all 43,000 employees
    18        A. Yes.                                    18   of Covidien be trained by the end of the
    19        Q. And do you recall being at              19   year.
    20   the Boston Fenway Park event?                   20            Do you recall?
    21        A. I do.                                   21        A. I do not recall.
    22        Q. And who else was there?                 22            (Document marked for
    23        A. It would be the sales team              23        identification as Exhibit
    24   and potentially a person or two from            24        Mallinckrodt-Adams-12.)
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     1   BY MS. BAIG:                                     1   focus on the retail or if it's a focus on
     2         Q. We'll have this document                2   the health systems. I don't recall.
     3   marked as Exhibit 12, please. It starts          3        Q. But would it have been
     4   as an e-mail from you to Michael Gunning         4   overseen by the marketing department?
     5   and Ginger Collier dated August 6, 2009.         5        A. I don't know if that would
     6   Bates-stamped twice, but the bottom Bates        6   be overseen by the marketing department.
     7   stamp is MNK-T1_0000418847 through 8850.         7   I don't know if that would be overseen by
     8             And again the subject is               8   the retail -- or, excuse me, by the
     9   "Monthly Report."                                9   health systems team which could include
    10         A. Okay.                                  10   from a sales perspective. I don't know.
    11         Q. It states from you,                    11        Q. And do you see on the second
    12   "Attached is the monthly report for the         12   page under McKesson. That's two bullets.
    13   retail team. Please do not hesitate to          13   And under the first bullet it states, "To
    14   reach out if you have any questions."           14   attain the 70 percent compliance level,
    15             Do you recall generating --           15   the GenericsConnect group (telesales) of
    16   is this refreshing your recollection that       16   McKesson will start a Mallinckrodt
    17   were you generating monthly reports at          17   HB/APAP promotion. The GenericsConnect
    18   least at about this time?                       18   telephone sales team will be offering
    19         A. I see that it's here. I                19   incentives to the pharmacy to make a
    20   don't recall generating monthly reports         20   conversion."
    21   in general.                                     21            Do you see that?
    22         Q. But you don't have any                 22        A. I do. Let -- can I read it
    23   reason to doubt that you did, given that        23   within the context of the whole bullet?
    24   it's attached to your e-mail, right?            24        Q. Mm-hmm.
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     1        A. I agree. I do not have any               1       A.     Thank you.
     2   doubts.                                          2             Okay. Thank you.
     3        Q. Do you recall that there was             3        Q. Do you recall -- do you
     4   a telemarketing program?                         4   recall Mallinckrodt contacting with any
     5        A. Can you refer -- is there                5   of its large customers for their
     6   any reference point?                             6   customers to do marketing for them?
     7        Q. I was just wondering                     7        A. So this GenericsConnect
     8   generally if you recall there ever being         8   group --
     9   any sort of telemarketing program for            9        Q. Well, first I'm just ask --
    10   your generics products?                         10   asking generally if you recall that type
    11        A. I think we had some other               11   of arrangement.
    12   reference before. I didn't recall there         12        A. I do not.
    13   was that group. But that was the group          13        Q. You don't recall having
    14   that, I think we referenced, would call         14   marketing agreements with your large
    15   individual pharmacies at                        15   distributor customers?
    16   AmerisourceBergen, I believe that was           16        A. No. I -- but I can give you
    17   part of that program, where they would          17   reference to -- I can give you context
    18   work to -- to have the pharmacies by our        18   for this one.
    19   product off contract.                           19        Q. Okay.
    20        Q. And was that overseen by the            20        A. But I don't remember having
    21   generics marketing department at                21   a similar program at Cardinal or a
    22   Mallinckrodt?                                   22   similar program at AmerisourceBergen or
    23        A. That's a great question.                23   other wholesalers.
    24   Telemarketing, I don't know if there's a        24        Q. Okay. Or any other sorts of
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     1   marketing agreements with your                    1        Q. Okay. And the
     2   distributor clients, you don't remember           2   GenericsConnect group, that was the
     3   having any kind of marketing agreements           3   telesales department of McKesson that
     4   with them?                                        4   would promote Mallinckrodt opioid
     5        A. Can you define marketing                  5   product?
     6   agreements?                                       6        A. In this case, it would be --
     7        Q. Any sort of agreement that                7            MR. DOWNS: Objection.
     8   you would enter into with a customer like         8            THE WITNESS: In this case
     9   McKesson or AmerisourceBergen or any              9        it was hydrocodone. And this is
    10   other large customer, distributor                10        what we referred to in the
    11   customer, whereby they would market your         11        previous document where Tim Berry
    12   drugs for you?                                   12        and I went to Carrolton, Texas, to
    13        A. I don't recall anything                  13        discuss the Narcotics Story.
    14   specific, but I know that for us to work         14            So that was -- that was the
    15   with the folks, with the McKessons, and          15        group that we spoke with.
    16   with wholesalers, distributors, that -- I        16   BY MS. BAIG:
    17   do recall one now that you say that.             17        Q. The telephone sales team?
    18            So group -- some groups                 18        A. That's right. That's the
    19   besides McKesson would have a telephone          19   GenericsConnect. That's the group that
    20   sales group who would call on pharmacies.        20   we communicated the Narcotics Story to.
    21   So I do remember a couple of specific            21        Q. So that they could
    22   scenarios like that. And as far as that          22   communicate it to others?
    23   was concerned, again, it would be the            23        A. So that the pharmacies that
    24   goal to have the product that we provide         24   purchased through McKesson, when the --
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     1   to that customer as defined by the                1   when the GenericsConnect group talked to
     2   wholesaler distributor, it would be               2   them, they could help drive compliance to
     3   designed for them to have their                   3   the contract toward Mallinckrodt, as
     4   pharmacists who are in their network              4   opposed to other manufacturers of
     5   purchase from them.                               5   hydrocodone, and hydrocodone with
     6        Q. Purchase your product from                6   acetaminophen.
     7   them?                                             7            MR. DOWNS: Objection.
     8        A. Yes, have the pharmacies                  8   BY MS. BAIG:
     9   purchase the product from us.                     9        Q. All right. You understood
    10            Again, not to drive demand              10   while you were at Mallinckrodt that
    11   of the product, but if there is 100              11   opioids were controlled substances,
    12   bottles being purchased, we would                12   right?
    13   certainly want to have them work with            13        A. That is correct.
    14   their pharmacy partners to have it be            14        Q. And that they were
    15   ours. That would be our objective.               15   classified by the DEA as Schedule II
    16        Q. But that is driving demand               16   narcotics?
    17   for your product.                                17        A. Yes. There are Schedule III
    18        A. It is not driving demand in              18   as well. I don't know classification of
    19   the sense of increased prescriptions. It         19   opioid or not. But yes, there are
    20   is driving demand in the case of --              20   Schedule IIIs, IVs as well.
    21        Q. Increased purchases from                 21        Q. Which were the Schedule III
    22   Mallinckrodt?                                    22   products?
    23        A. Purchases from Mallinckrodt,             23        A. Hydrocodone with
    24   yes.                                             24   acetaminophen is a Schedule III, or -- I
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     1   said is. My understanding is that                1   recollection. But ultimately why it's
     2   classification has since changed. But            2   put in as a II or a III or a IV or a V, I
     3   that did not occur -- I was gone from            3   don't know the reasoning behind that. I
     4   Mallinckrodt at that time.                       4   just don't recall.
     5        Q. All the other opioid                     5        Q. And do you know that there
     6   products that we've looked at so far were        6   were sort of gradations of -- of dangers
     7   Schedule II at the time; is that right?          7   associated with these sorts of drugs?
     8        A. I can't say that for                     8        A. I don't know what the --
     9   certain. I don't know with -- did we             9   what the -- why they had different
    10   have -- I can't say that for certain.           10   gradations to use your word. I just
    11   I'm trying to think of some of the other        11   don't recall.
    12   products, if there are other                    12        Q. Do you have an understanding
    13   Schedule IIIs, and IVs, and actually a V.       13   of what a Schedule I drug is?
    14        Q. Were you aware that                     14        A. Schedule I is, I believe, an
    15   oxycodone was a Schedule II product?            15   illegal product. So that can't be
    16        A. Yes.                                    16   prescribed in the U.S.
    17        Q. Were you aware that                     17        Q. And so what was your
    18   hydrocodone was a Schedule II product?          18   understanding of what a Schedule II
    19        A. It was not a Schedule II                19   product was when you were there?
    20   product.                                        20        A. It was a legal product that
    21        Q. The straight hydrocodone?               21   was available, and that FDA deemed was a
    22        A. I didn't -- I don't recall              22   legal product that could be sold in the
    23   selling a straight hydrocodone.                 23   United States, and that physicians could
    24   Hydrocodone, when I was at Mallinckrodt,        24   prescribe the product.
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     1   was a Schedule III product.                      1        Q. Well, that's for all -- all
     2        Q. And were you aware that the              2   scheduled products that were not
     3   morphine sulfate was a Schedule II               3   Schedule I, right?
     4   product?                                         4           My question to you is, did
     5        A. Yes.                                     5   you have any understanding of what
     6        Q. Were you aware that the                  6   Schedule II meant, or no, maybe you
     7   fentanyl products were Schedule II               7   didn't?
     8   products?                                        8        A. The distinction that I
     9        A. Yes.                                     9   understand was the Schedule II required a
    10        Q. And as Schedule II products,            10   DEA 222 form. But Schedule III, I don't
    11   were you aware that they had a high             11   believe did.
    12   potential for abuse?                            12        Q. And did you have an
    13        A. I wasn't sure why they were             13   understanding as to why there were more
    14   classified the way they were. So I              14   regulatory requirements for Schedule II
    15   can't -- I can't speak to how they became       15   than for Schedule III?
    16   a II or a III or a IV or a V.                   16        A. I don't recall at the time.
    17        Q. You never had any                       17        Q. You don't remember?
    18   understanding of -- of why a product            18        A. No.
    19   would be classified as a Schedule II            19        Q. Whether you ever knew --
    20   product?                                        20        A. I don't recall, no. I'm not
    21        A. I wouldn't know necessarily.            21   sure how the classification came to be.
    22   Or I don't know now necessarily on why          22        Q. Were you aware that for
    23   that would be. Potentially there's --           23   Schedule II drugs, Mallinckrodt had an
    24   that would be a gap in my -- again, in my       24   obligation to comply with the Controlled
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     1   Substances Act?                                  1   channel.
     2        A. I was aware that we had                  2            From the pharmacy on down,
     3   guidelines that we needed to follow, yes.        3   that was -- that was not within the
     4   And by we, it's not my area of expertise.        4   purview of what I had and certainly I
     5   But we had a compliance team and a               5   don't believe that was something that was
     6   regulatory team that is well versed in           6   within the purview of even a compliance
     7   that area.                                       7   team.
     8        Q. And when did you first                   8        Q. So it was your understanding
     9   become aware that -- for Schedule II             9   that Mallinckrodt had no obligation to
    10   drugs Mallinckrodt was required to comply       10   prevent diversion?
    11   with the Controlled Substances Act?             11            MR. TSAI: Object to form.
    12        A. I don't know. But as far as             12        Mischaracterizes testimony.
    13   kind of, again in that area, it's a             13            MS. BAIG: I'm not done with
    14   better question for compliance than it is       14        the question.
    15   for me.                                         15   BY MS. BAIG:
    16        Q. So you don't recall when you            16        Q. To prevent diversion of
    17   became aware of it.                             17   opioid products from its downstream
    18            Are you familiar with the              18   customers?
    19   Controlled Substances Act?                      19        A. I guess there's a couple
    20        A. I'm familiar that it exists.            20   things that I would put into there.
    21   I don't know now the details of it. I           21   Mallinckrodt hadn't really put the
    22   just don't recall.                              22   controls in place to ensure that
    23        Q. Were you aware that                     23   downstream customers, and I'll define
    24   Mallinckrodt was a DEA registered               24   customers as all the way to the pharmacy,
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     1   manufacturer and distributor for purposes        1   that the supply chain tracking that took
     2   of the Controlled Substances Act?                2   place was secure and if there was a
     3        A. I know that Mallinckrodt was             3   breach of the supply chain from
     4   approved by the DEA and was allocated            4   manufacturer to wholesaler distributor,
     5   quota to manufacture product, and that           5   or to a pharmacy, that they would take
     6   there was reporting that occurred                6   that very seriously and investigate.
     7   relative to Mallinckrodt. I don't know           7        Q. So you started by saying
     8   necessarily the details of those.                8   that Mallinckrodt hadn't really put the
     9        Q. Do you have an understanding             9   controls in place to ensure that
    10   of what Mallinckrodt's responsibilities         10   downstream customers -- and then it
    11   were under federal law with respect to          11   trailed off from there. Hadn't put what
    12   preventing diversion of opioids?                12   controls in place?
    13        A. As far as kind of specifics,            13        A. Sorry, I want to read this
    14   again, this is not my area of expertise.        14   back. Downstream customers beyond the
    15   But certainly, Mallinckrodt would take          15   pharmacy components, beyond the pharmacy.
    16   any, quote-unquote, to use your term            16   So from the perspective of past the
    17   diversion, extremely seriously. I mean          17   pharmacy, they didn't have anything
    18   as we look at the sale of narcotics,            18   downstream because that was not something
    19   opioids legally, through normal channels,       19   that -- we didn't interact with
    20   would go from the manufacturer to the           20   physicians. We didn't interact with
    21   wholesaler or chain headquarters, and           21   patients. So there weren't controls that
    22   they would then distribute that to their        22   we had, at least that I'm aware of --
    23   pharmacies. That normal chain is a              23   again it's not an area of my expertise.
    24   legal, recognized process through the           24   But we -- we -- from the perspective of
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     1   had controls at the patient and physician         1   would flag orders. And if they were
     2   level, that is certainly not the area             2   stopped for any reason and it was raised
     3   that I understood that -- basically the           3   up, if I knew that a -- and I'll use
     4   controls were in place, but if there was          4   McKesson, since I understand -- if there
     5   anything that ever came to the attention          5   was an order from McKesson, and it
     6   of that group, my understanding is that           6   caught -- if it raised a red flag from
     7   they would investigate it.                        7   that team, they would do what they needed
     8        Q. So you understood that                    8   to do to ensure that we were compliant to
     9   Mallinckrodt was required to have a               9   the regulation.
    10   suspicious order monitoring system in            10        Q. Did you have an
    11   place, correct?                                  11   understanding that Mallinckrodt had a
    12        A. Correct.                                 12   duty to identify suspicious orders?
    13        Q. And when did you first come              13        A. I understood that they had a
    14   to understand that?                              14   process in place.
    15        A. I don't recall a timeline.               15        Q. Okay. And what was that
    16        Q. Well, do you recall when                 16   process and how did it change while you
    17   Mallinckrodt put in a suspicious order           17   were there, if at all?
    18   monitoring system?                               18        A. I don't know the full
    19        A. I don't recall. That was,                19   process. But I know that there was a
    20   you know, obviously driven -- driven             20   team in place who would review orders.
    21   through a different department. I was            21   And I don't know -- I understand that
    22   obviously aware and was certainly the            22   there was some sort of algorithm or --
    23   eyes and ears of the customer to the             23   that would -- that would basically have
    24   extent that I could.                             24   an order come out as an exception. Then
                                               Page 211                                           Page 213
     1        Q. Could you give me your best               1   it would be held for further review.
     2   estimate as to when that system was put           2        Q. Do you have an understanding
     3   into place?                                       3   of what that algorithm was?
     4        A. I really don't have an                    4        A. I don't have full details.
     5   estimate for you.                                 5   Again, that's a question for another
     6        Q. So you don't know if it was               6   group. I do know that it would tie into
     7   towards the beginning of your tenure at           7   historical purchases that were made in
     8   Mallinckrodt or toward the end of your            8   the past. So as it relates to if they
     9   tenure at Mallinckrodt?                           9   have a history of buying 100 bottles a
    10             MR. TSAI: Object to form.              10   quarter, and all of the sudden it was 600
    11             Go ahead.                              11   bottles a quarter, certainly, unless
    12             THE WITNESS: I don't know.             12   there was an explainable cause, it may
    13        I'd certainly -- I don't know the           13   kick out as a -- needed to be reviewed.
    14        timeline that it was put in place.          14        Q. And do you recall what the
    15        For all I know it could have been           15   percentage of increased threshold, what
    16        put in place before I was --                16   percentage was used to trigger an order
    17        before I was aware.                         17   being considered suspicious by
    18   BY MS. BAIG:                                     18   Mallinckrodt?
    19        Q. And did you have an                      19        A. I don't know if there was a
    20   understanding that Mallinckrodt was              20   percentage as part of the algorithm. I
    21   required to identify and halt shipments          21   just don't know how it was built.
    22   of suspicious orders?                            22        Q. So then you probably don't
    23        A. I understood that                        23   have any understanding as to -- or memory
    24   Mallinckrodt would -- had a team that            24   as to how it changed, if it did; is that
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     1   right?                                          1   order, or if there was various levels of
     2        A. I don't have a memory of                2   that.
     3   what it was or how it changed.                  3        Q. Do you recall there being a
     4             What I will tell you is               4   level called "peculiar"?
     5   whether it's narcotic or a non -- or a          5        A. I recall that now that you
     6   non-opioid, purchases fluctuate                 6   say it.
     7   significantly within the generic                7        Q. Do you recall any other
     8   industry. One month they can buy 100.           8   levels, apart from peculiar and
     9   The next month they can buy 20. The next        9   suspicious?
    10   month they can buy 180. It is not a            10        A. I do not.
    11   straight line demand number. You               11        Q. Do you recall receiving
    12   don't -- you don't see that. So it's not       12   training on the suspicious order
    13   a straight line demand, like on the brand      13   monitoring program?
    14   side where physicians -- you know, sales       14        A. I don't remember the
    15   reps work with physicians, and they write      15   training specifically. But I'm -- I'm
    16   prescriptions. That is a steady increase       16   certain it occurred.
    17   or decrease in prescription growth. This       17        Q. Do you recall giving
    18   is a selling into a distribution center.       18   training to others on the suspicious
    19             And so they may be                   19   order monitoring program?
    20   increasing their stock. They may be            20        A. I don't recall training
    21   drawing down inventory. There's a whole        21   others. No, I don't recall that. I'm
    22   multitude of reasons why orders fluctuate      22   trying to think if there would be a time.
    23   to a great degree. But again, that is          23            MR. TSAI: We've been going
    24   not isolated to opioids. That is the           24        about an hour. If we could take a
                                             Page 215                                               Page 217
     1   generics industry in general.                   1       break.
     2        Q. Sure. But what we're                    2           MS. BAIG: Sure.
     3   talking about here is the suspicious            3           THE VIDEOGRAPHER: Going off
     4   order monitoring process, right?                4       the record. The time is 2:04.
     5        A. Of which I'm certainly not              5           (Short break.)
     6   an expert on.                                   6           THE VIDEOGRAPHER: We're
     7        Q. Okay.                                   7       going back on record. Beginning
     8        A. Yes.                                    8       of Media File Number 4. The time
     9        Q. And so do you have any                  9       is 2:17.
    10   further understanding of what suspicious       10           MS. BAIG: Okay. Let's have
    11   order monitoring process was in place at       11       this document marked as
    12   Mallinckrodt, apart from what you've just      12       Exhibit 13.
    13   told me about the fact there was an            13           (Document marked for
    14   algorithm used that you're not sure how        14       identification as Exhibit
    15   it worked?                                     15       Mallinckrodt-Adams-13.)
    16        A. That there was a team or               16   BY MS. BAIG:
    17   there was -- there were individuals who        17       Q. It starts as an e-mail from
    18   would review that. They would see the          18   Karen Harper to you and others.
    19   order, and it would kick out. And I            19   Bates-stamped Mallinckrodt 0000304559
    20   don't know how it was classified. My           20   through 698.
    21   understanding there were different             21           It's dated June 6, 2008.
    22   classifications. I don't know if               22   And the subject is suspicious order
    23   everything reached the level of                23   monitoring training notes from bulk
    24   suspicious order monitoring or suspicious      24   narcotic sales meeting presentation.
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     1            The attachments are customer             1        Q. Headquarter level of your
     2   checklist, suspicious order monitoring            2   customers, correct?
     3   training presentation.                            3        A. That's -- that's correct.
     4            And do you see in the first              4        Q. And the domestic sales
     5   sentence, Karen Harper is stating that            5   meeting for bulk narcotics, is it your
     6   she and Bill Ratliff did an introductory          6   understanding that that was an internal
     7   controlled substance suspicious order             7   Mallinckrodt meeting or -- or a meeting
     8   monitoring training for field sales?              8   with people from outside of Mallinckrodt?
     9        A. I'm sorry --                              9        A. Again, this is outside of my
    10        Q. Do you see that in the first             10   area. But for me, a sales meeting, a
    11   sentence?                                        11   domestic sales meeting would mean for the
    12        A. Field sales.                             12   internal team.
    13        Q. Okay.                                    13        Q. So was there a sales team
    14        A. I thought you were going to              14   for bulk narcotics that you're aware of?
    15   finish the sentence. Sorry.                      15        A. I don't know -- I don't know
    16        Q. So she and Bill performed                16   of a sales team. I'm sure there was. I
    17   this training at the domestic sales              17   mean, for bulk narcotics, which is,
    18   meeting for bulk narcotics. Do you see           18   again, selling the raw material, the
    19   that?                                            19   actual powder that other manufacturers
    20        A. I do see that, yes.                      20   make, their customer base would be
    21        Q. And what was the domestic                21   calling on -- like -- excuse me, like a
    22   sales meeting for bulk narcotics?                22   Watson or Amneal or Ethex. Another
    23        A. I'm not sure. I was not                  23   manufacturer would be -- where you would
    24   involved in bulk narcotics. So I'm not           24   sell bulk narcotics, it's my
                                               Page 219                                            Page 221
     1   sure -- I don't know who would be                 1   understanding.
     2   comprised of that group. And then I               2         Q. And you don't know who this
     3   guess field sales, maybe just want to put         3   presentation was made to, who was on that
     4   some context around that. Field sales             4   field sales meeting?
     5   for -- field sales would not be calling           5         A. I don't. I don't recall.
     6   on physicians or working with patients at         6   If I -- if I knew, I don't recall it.
     7   any level. Field sales is something that          7         Q. And do you see the next
     8   appears to be a term here that is                 8   page, there's a customer checklist?
     9   national account, where you call in               9         A. I do see that. Yes.
    10   headquarters for chains, and in that --          10         Q. Do you recall seeing
    11   in this case, I guess bulk narcotics.            11   customer checklists when you were at
    12   You wouldn't be calling on anything other        12   Mallinckrodt, like this?
    13   than a headquarter level type call.              13         A. It isn't specifically -- I
    14        Q. It doesn't state here who                14   don't remember it specifically. But what
    15   the field sales force were calling on,           15   this -- this is jogging -- there's some
    16   does it?                                         16   familiarity as I look at it.
    17        A. It doesn't. It's just the                17         Q. Do you know who created this
    18   term field sales, for branded -- for             18   or when?
    19   branded products, it tends to be more            19         A. No, I don't know.
    20   where you'd call on a doctor. But field          20         Q. And you don't know when it
    21   sales in the generic certainly would mean        21   was implemented?
    22   calling on headquarters -- headquarter           22         A. I don't recall anyway. I'm
    23   level and not to physicians or                   23   sorry?
    24   prescribers, as it were.                         24         Q. Do you know when -- know
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     1   when the use of this checklist was               1            Do you see that?
     2   implemented, if at all, at Mallinckrodt?         2        A. I do see that.
     3        A. No, I don't recall.                      3        Q. And the next page states
     4        Q. And the next -- who was                  4   that, "DEA policy requires that
     5   Mallinckrodt's security director?                5   registrants report suspicious order to
     6        A. I'm going to speculate it                6   the DEA when discovered through
     7   was Bill Ratliff, but I don't know that          7   monitoring."
     8   to be the case.                                  8            Do you see that?
     9        Q. Okay. And you see the next               9        A. I do see that.
    10   page starts a PowerPoint, "Mallinckrodt         10        Q. And do you know who at
    11   controlled substance suspicious order           11   Mallinckrodt was responsible for
    12   monitoring program."                            12   reporting suspicious orders to the DEA?
    13        A. I'm sorry. Where are you?               13        A. Again, this is outside of my
    14   Oh, there we are.                               14   area of expertise. But I would -- I
    15        Q. First page of the                       15   believe it would be, like, a compliance
    16   PowerPoint.                                     16   team or a regulatory team that would --
    17        A. Yep.                                    17        Q. Do you know?
    18        Q. And do you see the heading              18        A. No, I do not.
    19   there?                                          19        Q. So while you were at
    20        A. Yes.                                    20   Mallinckrodt, were you aware of the
    21        Q. And it states, "Introductory            21   people who were charged with that task or
    22   training for field sales, June 5th,             22   if people were actually charged with that
    23   2008."                                          23   task?
    24            So you don't know who's in             24        A. I don't know for that task,
                                              Page 223                                            Page 225
     1   the field sales group that got this              1   but I know compliance was, like, Karen
     2   training, right?                                 2   Harper is -- who -- who would be the
     3        A. My -- no. I wouldn't know                3   person that would be over the compliance
     4   who would be involved in that. The only          4   team.
     5   thing that I can define as field sales is        5        Q. And did you ever see any
     6   not calling on doctors.                          6   suspicious orders that were reported to
     7        Q. You see here that it                     7   the DEA?
     8   identifies the Mallinckrodt suspicious           8        A. I wasn't -- I wasn't
     9   order monitoring procedure team?                 9   monitoring orders. That was a different
    10        A. Yes.                                    10   group that would do that. So I -- I
    11        Q. And you are identified on               11   can't speculate on that.
    12   that team?                                      12        Q. You don't recall ever seeing
    13        A. That is correct.                        13   any reports to the DEA of suspicious
    14        Q. Do you have any further                 14   orders?
    15   recollection of what you did as being           15        A. That's correct. I would not
    16   part of that team?                              16   be -- I don't believe that I would ever
    17        A. I don't. Being part of the              17   be copied on a document to the DEA for
    18   team just heading up the sales group,           18   suspicious orders. But again, I don't
    19   certainly as eyes and ears of the               19   recall any situation where that would
    20   organization, certainly makes sense to be       20   occur.
    21   kind of there on the periphery.                 21        Q. Do you recall where, at
    22        Q. And the marketing directors             22   Mallinckrodt, those reports, if they
    23   were also on that team, Jeff Burd and Bob       23   existed, would have been kept?
    24   Lesnak.                                         24        A. I don't. Again, that would
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     1   be a compliance topic or question.               1        A. I do see that.
     2         Q. And do you see the next                 2        Q. Do you have an understanding
     3   bullet on the DEA policy on suspicious           3   as to why the orders were flagged as
     4   orders states that, "Registrant is               4   peculiar instead of suspicious?
     5   reminded that their responsibility does          5        A. I don't know. If I recall
     6   not end merely with the filing of a              6   there was a -- from a compliance
     7   suspicious order report."                        7   perspective, I don't know what hit one
     8             Do you see that?                       8   level to another and what the differences
     9         A. I see the statement.                    9   were. But peculiar, I think is the --
    10         Q. And did you have an                    10   we'll call it one level and then
    11   understanding that Mallinckrodt was             11   suspicious order is the next level up, if
    12   required not only to report suspicious          12   I recall.
    13   orders, but also to halt shipment of            13        Q. Do you know if any orders
    14   them?                                           14   actually went from the peculiar level to
    15         A. I don't know what                      15   the suspicious order at Mallinckrodt
    16   constituted at what level it was halted         16   while you were there?
    17   or if it was stopped altogether, later          17        A. I don't recall anything
    18   released. I don't know the level in             18   specifically.
    19   that. Again, compliance has their               19        Q. Generally?
    20   parameters in that regard.                      20        A. I don't recall anything
    21         Q. If you skip two pages                  21   generally.
    22   further onto -- looking at the bottom           22        Q. Do you know what threshold
    23   left, Page 8 of the PowerPoint. Do you          23   was used in the algorithm to flag an
    24   see a slide that says, "Revised                 24   order as peculiar?
                                              Page 227                                              Page 229
     1   controlled substance suspicious order            1        A. I think I answered that no,
     2   monitoring procedure highlights"?                2   I do not know that. I just don't recall
     3        A. Sorry. This is what gets                 3   anything relative to the algorithm that
     4   confusing. When you say two pages, it's          4   would give us that information.
     5   actually four for me, so that's I'm              5        Q. Do you see on the next page,
     6   sometimes having trouble --                      6   the heading is, "Revised controlled
     7        Q. Sorry. Mine are --                       7   substance suspicious order customer
     8        A. -- with mine. So I just --               8   checklist."
     9        Q. Mine are double-sided.                   9             Do you see that?
    10        A. Yeah, yeah, gotcha. So                  10        A. I do see that.
    11   anyway, if you could restate that, that         11        Q. And it states, "To be
    12   would be helpful.                               12   completed by field sales."
    13        Q. Sure. If you go to Page 8.              13             Do you see that?
    14        A. Yes.                                    14        A. I do see that.
    15        Q. And there's a heading there             15        Q. So do you know who -- who
    16   that says, "Revised controlled substance        16   was required to complete the checklist?
    17   suspicious order monitoring procedure           17        A. Field sales says defined by
    18   highlights"?                                    18   the folks who call on customer, defined
    19        A. Okay.                                   19   as -- if you're referring specifically to
    20        Q. The fourth entry under the              20   this training, it looks like to the field
    21   heading states, "Order entry system flags       21   sales for the bulk side. But again, I'm
    22   peculiar orders of unusual size/frequency       22   not sure. I don't recall.
    23   based upon algorithm."                          23        Q. Do you know whether your
    24           Do you see that?                        24   sales team was required to complete the
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     1   controlled substance suspicious order           1   their locations?
     2   customer checklist, the generic sales           2        A. Not that I recall.
     3   team?                                           3        Q. So is it your understanding
     4         A. Yeah. I don't recall if                4   that this check -- this -- this checklist
     5   they were required, but again, the form         5   here identified on this page on Page 9
     6   looked familiar to me.                          6   that identifies knowing your customer,
     7         Q. Well, I think this is a                7   knowing a description of the neighborhood
     8   different customer checklist. I'm               8   and whether it's a high crime area,
     9   reading from this that these are the            9   requiring an on-site visit inside and
    10   checklists. Are you reading it somehow a       10   out, requiring physical description of
    11   little bit differently?                        11   facility or photos, and including a list
    12         A. I thought you were                    12   of indicators (watch outs), that require
    13   referencing back to the form itself. And       13   further review by security, it's your
    14   I guess when we first looked at the form,      14   understanding that this list was to be
    15   I just -- like I said, the form looked         15   applied to whom?
    16   familiar to me, but...                         16        A. I'm not sure. I know from
    17         Q. So here it states, "Revised           17   maybe looking through this as far as kind
    18   controlled substance suspicious order          18   of a description of neighborhood, I was
    19   customer checklist. To be completed by         19   describing more of a pharmacy. So when I
    20   field sales." It goes on to state, "Know       20   mentioned with Victor, I don't know
    21   your customer is the goal." It goes on         21   necessarily that this is a neighborhood
    22   to state, "Description of neighborhood,        22   relative to a distributor or a chain.
    23   high crime area, et cetera."                   23            As far as photos, I don't
    24             Do you know whether or not           24   believe many customers would allow you to
                                             Page 231                                            Page 233
     1   your sales team was doing any monitoring        1   take photos. But nonetheless -- at least
     2   of neighborhoods of customers?                  2   inside.
     3        A. As far as going into                    3            So from this perspective, I
     4   neighborhoods, there's only one scenario        4   can't speak to the context of this
     5   where I'm aware of one of our reps who          5   specific, as it was delivered to a
     6   road along with a consultant from DEA,          6   different group. Again, I received it as
     7   and one scenario.                               7   part of this e-mail.
     8        Q. Which one was that?                     8        Q. Do you recall having
     9        A. That was Victor Borelli.                9   communications with your generic sales
    10        Q. And who was the customer?              10   team about descriptions of neighborhoods
    11        A. I'm not sure. I'm not sure.            11   of certain customers and whether they
    12        Q. Do you recall what the                 12   were in high crime areas?
    13   outcome was of that ride-along?                13        A. I don't remember specific
    14        A. No, I don't.                           14   conversations regarding that.
    15        Q. Do you require -- do you               15        Q. What about with respect to
    16   recall any on-site visits such as              16   on-site visits?
    17   indicated in the next line?                    17        A. Again, we would be at
    18        A. I'm not sure exactly what              18   customers, headquarters, for wholesalers,
    19   on-site -- but certainly going to a            19   chains, distributors. We would
    20   customer is defined by the headquarters        20   definitely be on site to have those
    21   for a chain wholesaler distributor. It         21   meetings.
    22   was not uncommon for us to go and meet         22        Q. So your only understanding
    23   with our customers at their location.          23   for on-site visit would be the
    24        Q. And did you take pictures of           24   headquarters for a distributor. You're
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     1   not aware of any other on-site visits             1        A. I'm not aware of red flags
     2   that Mallinckrodt performed?                      2   or watch outs that were list -- that were
     3         A. I don't know about                       3   listed or identified through any
     4   Mallinckrodt in general. But the                  4   discussions. I just don't recall
     5   meetings I would -- I'm trying to think           5   anything.
     6   if I had meetings at a different level            6        Q. Who is Cathy Stewart?
     7   other than headquarters for chains and            7        A. I'm not sure what her title
     8   wholesalers and distributors.                     8   is truthfully. I don't remember what her
     9         Q. You or your team?                        9   responsibility was.
    10         A. It would be highly unusual.             10        Q. Do you remember what area of
    11   That was not -- yeah, that would be              11   the company she worked in?
    12   highly unusual.                                  12        A. I don't remember.
    13         Q. You don't recall any?                   13        Q. Do you remember working with
    14         A. No. I mean again, Victor                14   her on any projects?
    15   may have done that on one occasion,              15        A. I remember Cathy. I'm sure
    16   Victor Borelli, as I mentioned before.           16   I could pick her out of a crowd of one,
    17         Q. You -- you don't recall                 17   but I don't recall -- I don't recall her
    18   where?                                           18   role or what she did.
    19         A. I don't recall.                         19        Q. How about George Saffold?
    20         Q. Do you know what's in --                20        A. I don't -- I don't recall.
    21   what's referenced here when it says watch        21   I remember the name. I don't recall what
    22   outs, including a list of indicators or          22   George's role was.
    23   watch outs?                                      23            (Document marked for
    24         A. Compliance would be better              24        identification as Exhibit
                                               Page 235                                             Page 237
     1   to identify what that is. I mean --               1        Mallinckrodt-Adams-14.)
     2         Q. Yeah, but I'm just wondering             2   BY MS. BAIG:
     3   if you have an understanding given your           3        Q. I'll have this document
     4   years of experience.                              4   marked as Exhibit 14. And it appears to
     5            Do you have an understanding             5   be an e-mail from Karen Harper dated --
     6   of what was referenced there by watch             6   or it starts as an e-mail from Karen
     7   outs?                                             7   Harper dated September 17, 2009, with the
     8         A. And I'll just put into                   8   subject suspicious order monitoring
     9   context. My -- my years of experience             9   presentation. Bates-stamped at the
    10   were certainly limited relative to -- to         10   bottom Mallinckrodt 21000027124 through
    11   this.                                            11   18266.
    12            But as far as watch outs, I             12             And this, if you turn to the
    13   just viewed that as a general term of            13   attachment. It's Mallinckrodt's
    14   anything raised a flag, red flag. So I           14   controlled substance suspicious order
    15   view that as --                                  15   monitoring program, and it says API sales
    16         Q. And what sorts of things                16   and marketing meeting, September 30,
    17   would raise a red flag, if anything, that        17   2009.
    18   you're aware of?                                 18             Do you recall an API sales
    19         A. I think, again, compliance              19   and marketing meeting from September 30,
    20   would be better to put that out there as         20   2009?
    21   kind of what would be included in that           21        A. I don't. I was not part of
    22   list.                                            22   that group. That's -- that's the bulk --
    23         Q. Are you aware of anything,              23   bulk raw material team. I don't recall.
    24   or no?                                           24        Q. And this presentation
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     1   appears to be similar but not exactly the        1            Do you see that?
     2   same as the one we looked at.                    2        A. I do see that.
     3            But if you turn to the                  3        Q. And that this represents
     4   Bates-stamped page at the bottom that            4   approximately 20 percent of the U.S.
     5   ends 132, which if you're looking at the         5   population?
     6   bottom left is Page 8 of the PowerPoint.         6        A. I do see that.
     7        A. Okay.                                    7        Q. And it goes on to state that
     8        Q. Do you see it says,                      8   "among persons aged 12 or older who used
     9   "Statistics on national drug abuse               9   pain relievers nonmedically in the past
    10   trends. Findings from the most recent           10   12 months, 55.7 percent got the drug from
    11   data available from the National                11   someone they knew, and only 3.9 percent
    12   Institute of Drug Abuse."                       12   purchased the pain reliever from a drug
    13            Do you see that?                       13   dealer or other stranger."
    14        A. I do see that.                          14            Do you see that?
    15        Q. Do you recall Mallinckrodt              15        A. I do see that.
    16   tracking data available from the National       16        Q. Did you have an
    17   Institute of Drug Abuse?                        17   understanding of these basic abuse trends
    18        A. This, again, was outside of             18   while you were at Mallinckrodt?
    19   anything relative to, as an API and             19        A. I guess from the perspective
    20   bulk -- or -- and sales and marketing, I        20   of this -- again I've not seen this slide
    21   don't recall that. So this is outside of        21   that I'm aware of, as far as kind of this
    22   my context, if you will.                        22   context here.
    23        Q. Okay. You don't recall ever             23            Pain relievers sounds pretty
    24   seeing any sort of data from National           24   broad, so I'm not sure what's included in
                                              Page 239                                            Page 241
     1   Institute of Drug Abuse?                         1   that. As far as kind of anything from --
     2        A. I don't recall any data from             2   that I can derive from this, again
     3   them.                                            3   outside of my area of expertise, I'm not
     4        Q. Do you recall seeing                     4   sure.
     5   information about commonly abused opioids        5        Q. So you don't recall having
     6   and morphine derivatives?                        6   any communications with anybody at
     7        A. I don't recall that                      7   Mallinckrodt about abuse trends such as
     8   terminology.                                     8   these or anything similar?
     9        Q. And here it identifies                   9        A. This -- this does not look
    10   codeine -- codeine, opium, morphine,            10   familiar to me. I don't recall it.
    11   oxycodone, hydrocodone, fentanyl and            11        Q. But my question is a little
    12   fentanyl analogs, and then heroin. Do           12   bit broader.
    13   you see that?                                   13        A. Oh.
    14        A. I do see that.                          14        Q. Do you recall ever having
    15        Q. And on the next page, do you            15   communications with anybody at
    16   see there's a heading called Abuse              16   Mallinckrodt about abuse trends such as
    17   Trends. Do you see the abuse trends             17   these or similar to these?
    18   slide?                                          18        A. I don't recall anything
    19        A. I do see the side -- slide,             19   specifically. But as far as kind of
    20   yes.                                            20   abuse, certainly at times and I can't
    21        Q. And it states that "an                  21   pinpoint an example, any example of the
    22   estimated 48 million people, ages 12 and        22   fact that there were people who were
    23   older, have used prescription drugs for         23   abusing prescription products. I know
    24   nonmedical reasons in their lifetimes."         24   from the perspective of, you know, the
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     1   channel of distribution, it was -- it was         1        A. I do see that.
     2   our goal to make sure and supply the              2        Q. Were you familiar with --
     3   product that physicians were prescribing          3   when you were at Mallinckrodt with
     4   to patients for legitimate pain use.              4   Mallinckrodt -- with Masters' massive
     5   That was our objective, is to make sure           5   amounts of sales of opioid products?
     6   and have that supply available for that           6        A. I more recall -- no
     7   legitimate use.                                   7   necessarily. I do remember, though,
     8        Q. Do you recall having any                  8   internet pharmacies as being a red flag
     9   communications with anybody at                    9   in that time frame.
    10   Mallinckrodt about addiction rates for           10             Back to the question. Do I
    11   opioid products?                                 11   recall that they sold massive amounts? I
    12        A. I don't recall having any                12   can't really define massive. What I can
    13   discussions on that.                             13   say is Masters certainly had increased
    14        Q. Were you aware of the Rite               14   sales while I was there. And I'll say
    15   Aid issues identified on the next page?          15   that Masters certainly had the ability in
    16        A. I have not seen it yet. Is               16   short supply scenarios to -- to be able
    17   that two pages? Hold on one second.              17   to reach pharmacies. And they were more
    18        Q. It begins by stating, "On                18   nimble than most.
    19   January 12, 2009, Rite Aid and nine of           19             (Document marked for
    20   its subsidiaries in eight states have            20        identification as Exhibit
    21   agreed to pay $5 million in civil                21        Mallinckrodt-Adams-15.)
    22   penalties. The investigation revealed a          22   BY MS. BAIG:
    23   pattern of violations of the Controlled          23        Q. We'll have this document
    24   Substances Act."                                 24   marked as Exhibit 15. It begins as an
                                               Page 243                                            Page 245
     1        A. I don't recall this.                      1   e-mail from Karen Harper to you dated
     2        Q. You don't recall any of                   2   June 2, 2008. Subject: "Suspicious
     3   these types of issues arising with Rite           3   order monitoring customer
     4   Aid while you were there?                         4   checklist/facility photographs."
     5        A. I do not.                                 5            And I would just direct you
     6        Q. Okay. Do you see the next                 6   to the very end of the document where
     7   page, Page 12, it begins "Masters                 7   Karen Harper writes, "A subcommittee
     8   Pharmaceutical"? Do you recall Masters            8   composed of CSR managers, John Adams, and
     9   Pharmaceutical being fined by the DEA?            9   DEA compliance will meet tomorrow,
    10        A. I do recall.                             10   June 3, 2008, to formulate algorithms to
    11        Q. What do you recall about                 11   be used for detection of peculiar or
    12   that?                                            12   suspicious orders."
    13        A. That they were fined by DEA.             13            Does this refresh your
    14   I remember fined. And if I'm not                 14   recollection that you were involved in
    15   mistaken, I believe that they were               15   formulating these algorithms?
    16   fighting that fine. Based on what                16        A. It does not. I don't know
    17   premise, I don't know.                           17   if I was present at that meeting or -- or
    18        Q. And it states here that                  18   not. So no, I don't recall being part of
    19   Masters sold more than four million doses        19   that algorithm creation.
    20   of hydrocodone, phentermine and                  20        Q. And you don't recall what
    21   alprazolam to internet pharmacies between        21   the algorithms were, correct?
    22   2005 and 2008 without reporting its sales        22        A. That's correct. I do not
    23   to the DEA.                                      23   recall that.
    24           Do you see that?                         24        Q. Okay. Do you know if

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     1   Mallinckrodt worked with any -- with any        1   their services.
     2   third parties to outsource its obligation       2        Q. Okay. And actually I see at
     3   to prevent oversupply and diversion of          3   the bottom of this, it says that Gretta
     4   controlled substances under the                 4   Turner is from risk management. I'm
     5   Controlled Substances Act or did it             5   sorry, from -- wait, from medical
     6   oversee compliance entirely itself?             6   affairs.
     7            MR. TSAI: Object to form.              7        A. Okay.
     8            Go ahead.                              8        Q. She is the risk management
     9            THE WITNESS: I don't recall            9   coordinator for Covidien in the medical
    10        having outside third party from a         10   affairs department.
    11        compliance perspective. I'm               11            Do you see that?
    12        trying to think if there's any            12        A. I do see that.
    13        scenario. I don't recall of any           13        Q. And IntegriChain -- was
    14        scenario.                                 14   IntegriChain hired -- hired by
    15   BY MS. BAIG:                                   15   Mallinckrodt?
    16        Q. So you don't recall working            16        A. I don't recall. I don't
    17   with any third parties on suspicious           17   believe so, but I don't recall.
    18   order monitoring?                              18        Q. You don't recall ever
    19        A. I don't recall that that was           19   working with anybody from IntegriChain?
    20   part of any process for suspicious order       20        A. I recall some time
    21   monitoring.                                    21   throughout my career that IntegriChain
    22            (Document marked for                  22   made presentations about their services,
    23        identification as Exhibit                 23   but I don't know if it was relative to
    24        Mallinckrodt-Adams-16.)                   24   this or other times.
                                             Page 247                                            Page 249
     1   BY MS. BAIG:                                    1        Q. And if you turn to the
     2       Q. Let's have this document                 2   Page 3, looking at the middle of the
     3   marked as Exhibit 16. It begins as an           3   page, of the PowerPoint, this slide is
     4   e-mail from Gretta Turner dated July 15,        4   titled "Background."
     5   2008. First page is                             5            Do you see that?
     6   Mallinckrodt_0002906782 through 6783.           6        A. Yes.
     7            And it's from -- who is                7        Q. And the first line says,
     8   Gretta Turner?                                  8   "Covidien has engaged IntegriChain in a
     9       A. I'm not sure.                            9   proof-of-concept program that leverages
    10       Q. It's from Gretta Turner to              10   Covidien's channel data to proactively
    11   you. And the subject is "July 15th             11   monitor channel integrity."
    12   IntegriChain meeting."                         12            Do you see that?
    13       A. It looks like it's to a                 13        A. I do see that.
    14   broader group than just me.                    14        Q. What's your understanding of
    15       Q. To you and others, yes. To              15   what that means?
    16   you and others.                                16        A. I don't know specifically
    17       A. Okay.                                   17   here. But IntegriChain, in general -- so
    18       Q. Do you recall working with a            18   I can speak not specifically to this and
    19   company called IntegriChain?                   19   what that means. But basically what they
    20       A. I don't recall working with             20   look at is inventory levels at a
    21   them. I do recall IntegriChain in              21   wholesale level, certainly. I don't know
    22   general. That certainly is something --        22   if they have inventory level data at
    23   I don't recall this presentation, but          23   other -- if they have it at chains'
    24   them trying to come in and sell some of        24   headquarters, or if they have it at
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     1   distributors.                                   1   Mallinckrodt used IntegriChain to use
     2             So their channel data, I              2   ARCOS data in connection with controlled
     3   don't know specifically what that would         3   substance monitoring, right?
     4   mean.                                           4        A. I don't know that. Yes.
     5         Q. Does this suggest to you               5   And I guess further, Phase II, is this a
     6   that Covidien actually engaged                  6   theoretical scenario, or is this
     7   IntegriChain?                                   7   something that IntegriChain actually had
     8         A. By engaged, it looks like              8   the ability to do? That, potentially
     9   they met with them. But I don't know            9   they're over promising and would
    10   that they engaged them. So I can't speak       10   underdeliver. I just don't know. I've
    11   to that truthfully.                            11   been presented IntegriChain data services
    12         Q. But you would agree that the          12   and have declined their services in every
    13   first sentence says, "Covidien has             13   scenario.
    14   engaged IntegriChain in a                      14            I don't recall if this was
    15   proof-of-concept program that leverages        15   ever presented to me. But I have never
    16   Covidien's channel data to proactively         16   hired them as a result of not believing
    17   monitor channel integrity."                    17   their data has good integrity.
    18             Correct?                             18        Q. You personally have not, but
    19         A. This is developed by                  19   you're still unsure as to whether
    20   IntegriChain, so I don't know what their       20   Mallinckrodt did, right?
    21   level of -- what their definition of           21        A. I'm uncertain if
    22   "engaged" means. Again, I don't recall         22   Mallinckrodt did. I certainly did not
    23   -- I don't recall this, and I don't            23   see or don't recall seeing anything
    24   recall ever bringing on IntegriChain           24   relative to that. And again, I can tell
                                             Page 251                                            Page 253
     1   services.                                       1   you that I've been presented that, since
     2        Q. Okay.                                   2   departing Mallinckrodt and I've chose not
     3        A. So I just don't recall.                 3   to purchase that data.
     4        Q. Do you see the last --                  4        Q. Okay.
     5   there's a Phase I and Phase II paragraph        5        A. Because of concerns of
     6   here.                                           6   integrity.
     7            Do you see that?                       7        Q. Okay. So if you turn to
     8        A. Mm-hmm.                                 8   Page 27, you see there's a page that
     9        Q. And under Phase II, the last            9   says, "Orders from high-risk channels."
    10   bullet says, "Demonstrate whether ARCOS        10   And it states, "Examples of wholesalers
    11   data, as provided by the government under      11   with counterfeiting/diversion ties
    12   FOIA request, can support comprehensive        12   purchasing Covidien products."
    13   geographically specific monitoring of          13            Do you see that?
    14   controlled substance inventory change and      14        A. I do see that.
    15   risk."                                         15        Q. And then there's a list of
    16            Do you see that?                      16   products: Methadone, oxycodone with
    17        A. Yeah, hold on. Gotcha. I               17   APAP, methadone --
    18   see that. Yes.                                 18        A. Oh wait, sorry, maybe I'm on
    19        Q. Do you know whether                    19   the wrong page.
    20   Mallinckrodt ever used ARCOS data in           20        Q. I'm on Page 27.
    21   connection with the controlled substance       21        A. Okay. List of products.
    22   monitoring?                                    22        Q. It starts, "Orders from high
    23        A. I don't know.                          23   risk channels."
    24        Q. And you don't know whether             24        A. Oh, I'm sorry, I didn't see
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     1   the products on the left. Thank you for         1   dynamic.
     2   clarifying.                                     2            Vermont Veterans Home is a
     3        Q. Okay. You got it?                       3   government facility, so I'm not sure what
     4        A. I do.                                   4   to derive from that. And Community Care
     5        Q. All right. So this doesn't              5   I don't have any insight into either.
     6   necessarily refresh your recollection           6            Six months does not make a
     7   that they did any analysis with respect         7   trend. So when I look at this data,
     8   to Covidien, it could still be a pitching       8   again, it just raises further data
     9   document; is that right?                        9   integrity issues. So I'll just leave it
    10        A. Absolutely. It doesn't --              10   at that.
    11   it doesn't help me recall anything. Nor        11        Q. Did you ever have any
    12   does -- does it give me any indication on      12   communications with anyone at the DEA
    13   the viability of data.                         13   regarding Mallinckrodt's suspicious order
    14        Q. And if you turn two pages              14   monitoring procedures?
    15   further you see a slide, order diversion       15        A. Not that I recall.
    16   risk analysis.                                 16        Q. Do you recall a customer by
    17        A. Yes. Do you know if they               17   the name of Sunrise?
    18   know whose product that is or if these         18        A. I do.
    19   are actual -- oh, never mind. Never            19        Q. And do you recall that in or
    20   mind.                                          20   about 2007 they were placed on a
    21            Say -- okay. Under order              21   do-not-ship list?
    22   diversion risk analysis. Yes.                  22        A. I don't recall that.
    23        Q. I can just see what it says            23            (Document marked for
    24   at the top, which is "oxycodone customers      24        identification as Exhibit
                                             Page 255                                            Page 257
     1   with largest relative growth." Do you           1         Mallinckrodt-Adams-17.)
     2   see that?                                       2   BY MS. BAIG:
     3        A. I'm now -- I'm now on the               3         Q. We'll have this document
     4   right page again. We just have a page           4   marked as Exhibit 17.
     5   difference.                                     5             The bottom Bates-stamped
     6        Q. Page 29.                                6   number is Mallinckrodt 0000383892, and it
     7        A. Yep, I'm there.                         7   is an e-mail from Victor Borelli to you,
     8        Q. Okay. And it says,                      8   dated September 27, 2007, with the
     9   "Oxycodone customers with largest               9   subject line Masters.
    10   relative growth." Do you see that?             10             Do you see that?
    11        A. I do see that.                         11         A. I do see that.
    12        Q. And it identifies a number             12         Q. So in the first -- in the
    13   of customers. Do you see that?                 13   first sentence the subject is Masters,
    14        A. I do see that.                         14   and it's from Victor Borelli. And it
    15        Q. Okay. But you've -- you                15   states, "I already had a conversation
    16   don't have any recollection of this            16   with them about this customer (Sunrise)
    17   document, correct?                             17   back in June and it slipped through one
    18        A. I don't have any                       18   of the cracks. They remembered the
    19   recollection. I do find it interesting.        19   conversation distinctly. They now have
    20   So Kaiser is a health maintenance              20   that customer on a do-not-ship list."
    21   organization that employs physicians and       21             Does this refresh your
    22   pharmacists, and patients outside of           22   recollection at all that Masters may have
    23   Kaiser cannot actually buy product from        23   put Sunrise on a do-not-ship list in or
    24   their pharmacy. So that's an interesting       24   about 2007?
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     1        A. It does.                                1   chargeback is what we would pay Masters.
     2        Q. And what do you recall about            2            In this case we said I know
     3   this incident?                                  3   you bought it from us for 100. I know
     4        A. So when we sold to one                  4   you sold it to Sunrise for some price
     5   wholesaler or distributor, we didn't            5   lower than that. But because we had them
     6   intend for that wholesaler or distributor       6   on a do not ship to another wholesaler
     7   to ship to another wholesaler or                7   distributor, we are denying your
     8   distributor, so the fact that Masters, a        8   chargeback. So even though you bought it
     9   distributor, was selling to Sunrise, a          9   for 100 and you sold it to them for $75,
    10   distributor, wasn't what the sale chain        10   we're not paying you that $25 that you
    11   was intended to be.                            11   believe you're owed.
    12            So instead of selling to a            12            So it potentially is -- is a
    13   Masters, it's not like Masters had a           13   good way to upset your customer that
    14   do-not-ship. It's, we said do not sell         14   you're not going to honor a chargeback.
    15   to them because we would instead never go      15        Q. I see. Okay.
    16   through the process of having a                16            So that was in September of
    17   wholesaler distributor sell to another.        17   2007.
    18            Our intent to sell to                 18            (Document marked for
    19   Masters is that they would sell to their       19        identification as Exhibit
    20   retail pharmacies that are in their            20        Mallinckrodt-Adams-18.)
    21   network, not to other distributors. So         21   BY MS. BAIG:
    22   do-not-ship doesn't mean it was illegal        22        Q. And then we'll have this
    23   or that they were flagged or that there        23   document marked as Exhibit 18. And it's
    24   was any concern about the legality of the      24   an e-mail that begins from Victor Borelli
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     1   shipment. It is more that they are not          1   to you dated -- no, it's an e-mail from
     2   to be shipping to another wholesaler            2   Kate Neely to Michael Gunning, it starts.
     3   distributor.                                    3   Dated June 3, 2008.
     4        Q. And do you see the beginning            4        A. Yes.
     5   of the e-mail, it starts with you asking        5        Q. And it also deals with
     6   Victor, "How did Masters take it when the       6   Masters. If you take a look at the
     7   chargeback was denied because of their          7   document. And if you start at the end of
     8   sales to Sunrise wholesale"?                    8   the e-mail chain, you see an e-mail from
     9        A. Yes.                                    9   Victor Borelli to Kate Muhlenkamp and --
    10        Q. Am I to understand from that           10   or Kate Neely. Who is Kate Neely?
    11   that basically Masters didn't get their        11        A. She is a marketing manager
    12   chargeback because their sales were            12   or product manager.
    13   reduced because they had to stop shipping      13        Q. Okay. And Victor is -- is
    14   to Sunrise?                                    14   identifying some of his larger customers
    15        A. That's not how to interpret            15   by monthly volume. Do you see that?
    16   that, if you will.                             16        A. I do see that.
    17             No disrespect by the way.            17        Q. And that includes both
    18        Q. It's okay.                             18   Masters and Sunrise. Do you see that?
    19        A. What -- what it means is               19        A. I do see that.
    20   Masters bought it from us at wholesale         20        Q. So is -- is Sunrise now a
    21   acquisition cost. And let's say that was       21   customer -- a direct customer of yours
    22   $100. They then sold it to Sunrise at a        22   because you are not shipping to Masters
    23   price that was lower than $100, which          23   who is shipping to Sunrise?
    24   would then trigger a chargeback. That          24        A. That's correct.
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     1        Q. Okay.                                     1   that the selection of Cardinal as a
     2        A. Well, I -- at this time I                 2   choice to compare it against is probably
     3   don't know if they are. But that looks            3   not a good comparison. Cardinal has the
     4   like -- it looks like they were set up by         4   least amount of independent pharmacies in
     5   then, yes.                                        5   its network. So -- so for them most of
     6        Q. Okay. And Kate -- Kate                    6   the product that would be sold through
     7   Neely says, "Is Masters ongoing?" And             7   Cardinal goes to a small number of
     8   Victor Borelli says, "Yes," correct?              8   independents, but a large number of chain
     9             "They have moved us from                9   pharmacies. We'd have a contract with
    10   secondary to primary and it is ours to           10   CVS, and they would buy through Cardinal.
    11   lose going forward."                             11            So to put in Masters, who
    12        A. Yes.                                     12   competes against -- you know, in the
    13        Q. And they have -- appear to               13   independent market against Cardinal who
    14   have pretty substantial volume                   14   doesn't have a huge independent base, is
    15   particularly in the oxy 30-milligram, do         15   an apples and orange comparison. So that
    16   you see that?                                    16   is one component that I guess is worth
    17        A. I do see that relative to                17   looking into further.
    18   these other customers. Relative to the           18        Q. You don't -- her comment is
    19   overall market, I don't know, off the            19   simply that --
    20   top, if this is high volume or just              20            MR. DOWNS: Objection.
    21   relative to the smaller -- these other           21   BY MS. BAIG:
    22   distributors.                                    22        Q. -- here we have an
    23        Q. But we see that he's                     23   independent -- we have monthly volumes
    24   identifying them as one of his larger            24   for these smaller customers that are
                                               Page 263                                            Page 265
     1   customers by monthly volumes in any               1   actually higher than one of the three
     2   event, correct?                                   2   largest distributors in the company,
     3        A. That's correct. And Victor                3   Cardinal Health, correct?
     4   had smaller regional accounts at that             4        A. Yes.
     5   time.                                             5            MR. TSAI: Objection to
     6        Q. And do you see Kate --                    6        form.
     7   Kate's response where she states, "These          7            Go ahead.
     8   usages account for 10 percent of the 15           8            THE WITNESS: Yes. Their
     9   and 30-milligram market, and in the case          9        purchases here are higher than
    10   of the 30-milligram are significantly            10        Cardinal. And it's -- it would be
    11   higher than those of Cardinal, who we            11        the Cardinal Source program. So
    12   have on source. They look" -- all                12        again, different customer base
    13   caps -- "VERY high and are concerning to         13        relative to Masters and Cardinal.
    14   me. We need to talk as I don't know that         14   BY MS. BAIG:
    15   I feel comfortable shipping them at such         15        Q. And you see that, at least
    16   high levels."                                    16   for -- for Kate Neely, she finds these
    17            Do you see that?                        17   concerning?
    18        A. I do see that.                           18        A. Yeah, and I think that's, as
    19        Q. Would that suggest to you                19   a marketing person, it is that person's
    20   that these are pretty high levels for oxy        20   right to look at and say, "What is this
    21   15 and oxy 30?                                   21   volume relative to IMS?" And so this is
    22        A. Just as a top line                       22   a comparison of those volumes to IMS
    23   statement. Certainly, when it's 10               23   extended units. But that -- she has
    24   percent, that's significant. I would say         24   every right to ask that question. And I
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     1   think that's a good sign that she is            1   that those growth rates are for Masters?
     2   taking that step of due diligence.              2        A. That would have been my
     3            (Brief interruption.)                  3   understanding. I think the context of
     4   BY MS. BAIG:                                    4   this is really important. Oxycodone
     5        Q. So do you see in Victor                 5   extended-release, when that went off the
     6   Borelli's response, he states that under        6   market, that basically indicates that
     7   Item 1, "Sunrise business was in their          7   there is a segment of the pain market,
     8   overall monthly usage number. That              8   and the market that would be sold to
     9   brings the Masters number down 25 percent       9   would be the legitimate pain market, is
    10   right off the bat."                            10   what this is presumably speaking to, but
    11        A. Yes, I see that.                       11   when oxy ER went off the market, that
    12        Q. Okay. And so that -- is                12   leaves a gap where patients who need pain
    13   that because Masters is no longer              13   medications had to have their doctor
    14   shipping to Sunrise because of the e-mail      14   write a prescription to change it from
    15   chain we looked at a few moments ago?          15   oxy ER to oxy IR, which then helped drive
    16        A. That's correct.                        16   the growth rate of that.
    17        Q. Okay. And he goes on to                17             So that's a good context to
    18   explain that, "We have begun to ship           18   have in there and why the growth rate
    19   Sunrise an assortment of products:             19   jumped so much.
    20   Hydromorphone, oxy APAP, methadone, oxy        20        Q. Do you have -- do you recall
    21   tabs, et cetera. And you and I have            21   the DEA raising an issues with Masters in
    22   discussed this already."                       22   or about 2009?
    23            Do you see that?                      23        A. I think we looked at a
    24        A. I do see that, yes.                    24   document about that not too long ago in
                                             Page 267                                           Page 269
     1        Q. Do you recall generally                 1   this.
     2   weighing in on this discussion and              2            (Document marked for
     3   talking with them about the high volume         3        identification as Exhibit
     4   amounts going to Masters, KeySource,            4        Mallinckrodt-Adams-19.)
     5   Sunrise or NCM?                                 5   BY MS. BAIG:
     6        A. I don't recall specifically             6        Q. I'll have this document
     7   diving into this discussion.                    7   marked as Exhibit 19. It's Bates-stamped
     8        Q. And in Item 3, with respect             8   Mallinckrodt_0000565729 through 5730. It
     9   to the growth pattern of the molecule,          9   starts as an e-mail from you to Michael
    10   Victor Borelli states, "They had very          10   Gunning dated May 1st, 2009.
    11   solid numbers on these two SKUs over the       11        A. I see it, yes.
    12   past few years, but since oxy ER came off      12        Q. Okay. And it starts off
    13   the market, those two SKUs have                13   with a reference to Masters resolving
    14   skyrocketed. I just took a look at year        14   their DEA issues.
    15   over year numbers, and the 15-milligram        15            Do you see that?
    16   SKU has an '06/'07 growth rate of              16        A. Can I take -- can I go ahead
    17   60 percent and an '07/'08 growth rate of       17   and read?
    18   43 percent, and the 30 milligrams is even      18        Q. Mm-hmm.
    19   stronger with an '06/'07 growth rate of        19        A. Thank you. Okay.
    20   80 percent and '07/'08 growth rate of          20        Q. And it begins as an e-mail
    21   68 percent."                                   21   from someone at Masters to you and Victor
    22            Do you see that?                      22   Borelli, correct?
    23        A. Yes, I do see that.                    23        A. Correct.
    24        Q. And is it your understanding           24        Q. Do you recall communicating
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     1   with Denny Smith from Masters?                   1   has come under great debate and concern
     2        A. I do.                                    2   from the DEA?
     3        Q. On this occasion or just                 3        A. I don't know the exact
     4   generally?                                       4   timeline, but certainly that is a -- that
     5        A. Generally.                               5   is a debate that certainly is valid.
     6        Q. Did you have numerous                    6        Q. You became aware of that
     7   communications with Denny Smith at               7   generally around that time?
     8   Masters?                                         8        A. I'm not sure exactly what
     9        A. No, I did not have numerous              9   time I became aware of that.
    10   discussions with him.                           10        Q. But you did receive this
    11        Q. What do you recall                      11   e-mail in or about March of 2009, right?
    12   communicating with him about?                   12        A. Correct.
    13        A. My first communication with             13        Q. And he goes on to state,
    14   him wasn't so pleasant. I didn't like           14   "Many wholesale drug distributors have
    15   the way that he was advertising at a            15   already had significant fines and had to
    16   national trade show that I attended.            16   add to their existing protocols."
    17           He was advertising,                     17            Were you aware of that at
    18   basically calling AmerisourceBergen,            18   the time?
    19   Cardinal and McKesson, The Three Stooges.       19        A. Yes.
    20   And I took issues with how unprofessional       20        Q. Okay. And he goes on to
    21   his advertising was for the industry as a       21   state, "Distributors are how charged with
    22   whole.                                          22   policing dispensers by increasing
    23        Q. And did you let him know                23   pharmacy due diligence through technology
    24   that?                                           24   and staff."
                                              Page 271                                            Page 273
     1        A. I did.                                   1            Were you aware of that at
     2        Q. And what was his response?               2   the time?
     3        A. He thought that I needed to              3        A. At the time, I didn't know
     4   obtain a sense of humor.                         4   what the level that distributors or
     5        Q. Okay. Any other                          5   wholesalers were charged with doing.
     6   communication? Do you recall?                    6        Q. So did you have an
     7        A. No. In this context right                7   understanding at the time that
     8   here.                                            8   distributors had an obligation to monitor
     9        Q. Do you see in the e-mail at              9   dispensers by increasing pharmacy due
    10   the bottom of the first page from Denny         10   diligence?
    11   Smith at Masters, he starts off, "Thank         11        A. I don't know specifically
    12   you for taking the time to hear our reply       12   relative to this time. I know I had a
    13   to your concerns on Friday."                    13   conversation with HD Smith senior
    14           And he goes on to state, "As            14   management that basically said they
    15   you know, the sale of controlled                15   believe they are doing everything right.
    16   substances to dispensers by distributors        16   But ultimately the rules keep on changing
    17   has come under great debate and concern         17   from DEA and they had a hard time, so I
    18   from the DEA."                                  18   know that that was an issue that I heard
    19           Were you aware of that at               19   from various wholesalers and distributors
    20   the time?                                       20   that the rules kept on changing for them.
    21        A. I'm sorry. Say it -- sorry.             21        Q. Do you recall learning, as
    22        Q. Were you aware of the fact              22   is reflected in the -- in the top portion
    23   what he's saying, the sale of controlled        23   of the e-mail, that Masters had made a
    24   substances to dispensers by distributors        24   decision to greatly curtail shipments to
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     1   Florida for oxy IR, separate from the DEA        1   Masters?
     2   action, because they saw a lot of red            2        A. Yes, from the discussions
     3   flags when visiting a bunch of clinics?          3   and I think from -- yeah.
     4        A. Sorry. Where are you                     4        Q. And that the DEA also asked
     5   reading from?                                    5   for personal financial statements from
     6        Q. The third paragraph of your              6   all the officers at Masters?
     7   e-mail.                                          7        A. I didn't recall that.
     8        A. Oh, yes. Yep.                            8        Q. Okay. But you wrote it here
     9        Q. Do you recall being aware of             9   in the e-mail, correct?
    10   that at the time?                               10        A. Yeah, I didn't recall that.
    11        A. Quite a -- quite a span                 11        Q. You mean you don't recall it
    12   between the time that -- Denny's e-mail         12   now, but you did at the time, right?
    13   from March 16th till May 1st. So I don't        13        A. I -- I don't recall it now.
    14   know at what time that came through or          14   And I wrote it, so I must have had
    15   how that was confirmed. I don't know            15   insight into that, yes, correct.
    16   exactly the -- the timeline.                    16        Q. Okay. Did you ever have
    17        Q. Well, you wrote this e-mail             17   a -- or did you have an understanding at
    18   on May 1st, 2009, correct?                      18   the time that the officers at Masters
    19        A. Correct. I just don't know              19   were earning significant dollar amounts
    20   when I learned it. There's a long span          20   as a result of exceedingly high sales of
    21   between those dates.                            21   oxy?
    22        Q. But certainly by May 1st,               22        A. I can't -- I can't speculate
    23   2009 you learned it, correct?                   23   on how it is that they became -- what was
    24        A. Yes.                                    24   your term, "wealthy"? Or how they gained
                                              Page 275                                              Page 277
     1        Q. And are you aware of what                1   personal financial wealth. I can't
     2   red flags were found and are being               2   speculate on all the reasons that would
     3   referenced here?                                 3   be.
     4        A. I don't know specifically                4       Q. And do you recall the DEA
     5   what they found.                                 5   reaching out to you about Sunrise,
     6        Q. Do you know generally?                   6   reaching out to Mallinckrodt about
     7        A. No. Obviously they saw                   7   Sunrise?
     8   something that was concerning to them.           8       A. I remember circumstances
     9   And after having had this scenario,              9   around it. I don't -- I don't believe
    10   certainly it looks like they made a             10   the DEA reached out to me.
    11   change.                                         11       Q. But you recall that the DEA
    12        Q. But you don't know what                 12   reached out to Mallinckrodt, correct?
    13   types of red flags were found?                  13       A. I don't know if they reached
    14        A. Not specifically, no.                   14   out directly or -- or if Mallinckrodt
    15        Q. And not generally either?               15   reached out to them as a result of
    16        A. No. I'm not sure exactly                16   information that they identified. I
    17   what would come up in those scenarios.          17   don't know who reached out to who.
    18        Q. And --                                  18           (Document marked for
    19        A. Again, this is -- this is               19       identification as Exhibit
    20   what I'm hearing from them. So it's hard        20       Mallinckrodt-Adams-20.)
    21   for me to interpret what the customer has       21   BY MS. BAIG:
    22   determined those red flags could be.            22       Q. Let's have this --
    23        Q. And you were aware that the             23       A. I just don't recall.
    24   DEA was requesting penalty money from           24       Q. -- document marked as
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     1   Exhibit 20.                                     1   that there were -- there was a good
     2        A. Okay.                                   2   amount of money at stake with respect to
     3        Q. And this is from Victor                 3   the Sunrise issues?
     4   Borelli. It starts as an e-mail from            4        A. Relatively speaking, it does
     5   Victor Borelli to Michael Gunning dated         5   look like there were dollars at stake
     6   July 9, 2009. Bates-stamped Mallinckrodt        6   relative to that customer, but it does
     7   0000459331 to 459332.                           7   look like this -- this was brought up to
     8            And it says Sunrise                    8   the appropriate people to have the
     9   follow-up.                                      9   discussion as sales is the eyes and ears
    10        A. Great, yeah.                           10   to the customer.
    11        Q. Does this e-mail refresh               11        Q. So is it your position that
    12   your recollection, do you know what call       12   the -- the salespeople are the -- the
    13   is being discussed in the e-mail from you      13   best people to be monitoring suspicious
    14   to Victor Borelli and Mike Gunning?            14   orders?
    15        A. I don't recall the call, no.           15        A. It would be my opinion and
    16        Q. You don't recall anything              16   it would be my understanding is that, my
    17   about it?                                      17   knowledge is that the sales team does not
    18        A. I don't recall the call                18   review suspicious orders, that there is a
    19   occurring at all.                              19   separate team that does that. And from
    20        Q. Do you recall the incident?            20   the perspective of if the team that
    21        A. I recall excerpts from here.           21   reviews or if compliance has questions, I
    22   Such as Victor was in the field with an        22   believe it's perfectly valid to reach out
    23   ex-DEA agent, I remember that.                 23   to the sales team and investigate, gain
    24        Q. Do you recall the fact that            24   information and insights as needed, and
                                             Page 279                                             Page 281
     1   Sunrise had retained an ex-DEA agent?           1   then validate that for themselves if they
     2        A. Yes.                                    2   need to.
     3        Q. Do you recall who that was?             3         Q. And was that the practice at
     4        A. I don't know. I believe                 4   Mallinckrodt at the time?
     5   from -- from -- there's two names that          5         A. I don't remember any
     6   stand out, and I can't remember.                6   specific formal practice.
     7        Q. And do you see you're --                7             But certainly if there's a
     8   would you agree that you're sort of             8   compliance team that is flagging what
     9   commending Victor Borelli here where you        9   either is -- I think you mentioned the
    10   state, "I wanted to follow up on the           10   word suspicious order, or the words, or
    11   meeting with Karen Harper, Bill Ratliff        11   something along that line. If there is a
    12   and others regarding the potential issues      12   team that does that and they raise up the
    13   for oxy 30. The initial tenure" --             13   issue, potential questions, it would
    14   excuse me, "tenor of the call relative to      14   behoove anyone and everyone to respond to
    15   suspicion and due diligence of Sunrise         15   that, provide as much information to that
    16   wholesale was quickly diffused by your         16   group and so then, that group can make
    17   initiative and I want to thank you. The        17   the decision as they see fit. Ultimately
    18   information was vital and presentation of      18   the decision will always fall to the
    19   it was fantastic, not defensive or             19   compliance group.
    20   emotional which could be possible given        20         Q. And was it the sales team's
    21   the dollars at stake."                         21   responsibility to defuse concerns raised
    22             Do you see that?                     22   about suspicious orders?
    23        A. I do see that.                         23         A. So I think the word defuse
    24        Q. Does this suggest to you               24   is -- is the word of, if there is a
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     1   conversation to take place to be                 1   what?
     2   even-keeled in that, if there are dollars        2        A. From Bill and Karen as part
     3   at stake and for an individual                   3   of the compliance team.
     4   compensation, it would be easy to become         4        Q. So it was released from a
     5   emotional about that.                            5   suspicious order monitoring hold?
     6            But in this case, it wasn't             6        A. I don't know the
     7   defensive, it wasn't emotional about it,         7   technicality of if it was a peculiar, I
     8   but brought a, per my e-mail, a tenor of         8   think is what came up earlier, or if it
     9   professionalism to it, is -- is what I'm         9   was actually a suspicious order. I don't
    10   deriving from this.                             10   know what level it is. It is just
    11        Q. It would be easy to become              11   outside of my -- my purview if you will.
    12   emotional because the sales rep also has        12        Q. So you never knew what
    13   dollars at stake given that his bonus is        13   the -- what the threshold was that was
    14   tied to his ability to meet sales               14   triggering it as a peculiar or suspicious
    15   targets, right?                                 15   order, correct?
    16        A. That would be easy to do,               16        A. I don't understand what the
    17   but that is not what occurred.                  17   threshold is and -- or the algorithm or
    18            MR. TSAI: Do you want to               18   kind of how it was -- it was
    19        take a quick break?                        19   characterized, that's correct.
    20            MS. BAIG: Sure.                        20        Q. And before -- before it's
    21            THE VIDEOGRAPHER: We're                21   released, did you do a site visit of
    22        going off record. The time is              22   Sunrise or any of its customers?
    23        3:29.                                      23        A. I don't -- I don't recall if
    24            (Short break.)                         24   I visited them before this or after. As
                                              Page 283                                              Page 285
     1            THE VIDEOGRAPHER: We're                 1   you can see, it looks like there was
     2        going back on record. Beginning             2   going to be a meeting scheduled after. I
     3        Media File Number 5. The time is            3   don't recall if there was one prior to
     4        3:43.                                       4   this or not.
     5   BY MS. BAIG:                                     5        Q. Okay. But there's no
     6        Q. All right. Going back to                 6   suggestion in here that you had already
     7   Exhibit 20 for just a moment please.             7   been to Sunrise to do it -- to a site
     8        A. Yes.                                     8   visit; is that right?
     9        Q. Do you see at the very end               9        A. You can't -- can't -- you
    10   of the e-mail from you, you state, "As a        10   can't take that one way or another. I'm
    11   result of the information, Sunrise orders       11   not sure.
    12   will be released per Bill and Karen.            12        Q. Okay. And you -- but you
    13   Bill will use the information that you          13   don't recall doing a site visit at
    14   provide to dive deeper into reviewing the       14   Sunrise before releasing this order, do
    15   oxy 30-milligram lot and an audit will be       15   you?
    16   scheduled over the next six weeks with          16        A. Not -- not specifically for
    17   Sunrise."                                       17   this order, no.
    18            Do you see that?                       18        Q. Do you recall doing a site
    19        A. I do see that.                          19   visit of any of Sunrise's customers
    20        Q. So ultimately at least with             20   before releasing this order?
    21   respect to this order, the order was            21        A. No.
    22   released; is that right?                        22        Q. So there weren't any
    23        A. It appears to be.                       23   pictures that you saw of Sunrise or its
    24        Q. And it was released from                24   customers before releasing this order; is
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     1   that right?                                       1   attached the requested reports. The
     2         A. I think from a compliance                2   first report is all DEA numbers that have
     3   perspective, that's a better question for         3   been shipped product from Sunrise in the
     4   them as far as kind of, again, went               4   past 12 months. This second report is a
     5   through training on compliance. Went              5   chargeback report by DEA and SKU showing
     6   through -- I believe, based on this, I            6   Sunrise sales as well as other
     7   went through some training. But as far            7   wholesalers."
     8   as kind of a requirement, is it a                 8            So do you recall whether or
     9   requirement of us for our wholesalers,            9   not you were the person that requested
    10   distributors, to take a picture there, I         10   this data regarding Sunrise?
    11   don't -- I don't know that that was ever         11         A. Let me look at it and see
    12   done. And I don't know if that was a             12   what the distinction is.
    13   recommendation, a guideline or a                 13            Okay. I'll see if I can
    14   requirement. I just don't know.                  14   decipher it as we go along.
    15         Q. But I'm just asking you if              15         Q. Do you recall requesting
    16   you recall seeing any pictures of Sunrise        16   this data?
    17   or any of its customers before releasing         17         A. I do not.
    18   this order.                                      18         Q. Okay. But you have no
    19         A. I don't recall seeing a                 19   reason to doubt that you received it,
    20   picture of any customer.                         20   given that you were cc'd on this e-mail,
    21         Q. Or of Sunrise, correct?                 21   correct?
    22         A. As a customer, they would               22         A. That is correct.
    23   fall into that statement.                        23         Q. Okay. And does this -- if
    24         Q. Okay. And do you recall                 24   you look at the chart, do you see you
                                               Page 287                                           Page 289
     1   reviewing any of the data that would have         1   have in column E, you have a product
     2   shown the delta between these particular          2   description. In product -- column F you
     3   orders and -- and the usual orders from           3   have pricing quantity. Column G you have
     4   Sunrise before releasing these orders?            4   net sales. Column C you have Sunrise
     5        A. No.                                       5   wholesaler. So that's your client here,
     6            (Document marked for                     6   correct?
     7        identification as Exhibit                    7        A. Correct.
     8        Mallinckrodt-Adams-21.)                      8        Q. And then column B you have
     9   BY MS. BAIG:                                      9   ship to customer name, and that would be
    10        Q. Let's have this document                 10   your customer's customer, meaning
    11   marked as Exhibit 21. And this is an             11   Sunrise's customer, correct?
    12   e-mail from Lisa Lundergan to Victor             12        A. That's correct.
    13   Borelli, and you and Kate Neely. Subject         13        Q. Now, looking at this list,
    14   is Sunrise reports, dated July 10, 2009.         14   does this refresh your recollection that
    15        A. I was copied on this. Not                15   Mallinckrodt did actually have data that
    16   to. But yes.                                     16   showed its customer's customers including
    17        Q. But you received it,                     17   not just pharmacies, but also physicians?
    18   correct?                                         18        A. So this -- this is data that
    19        A. Yeah, I think so.                        19   was available. So when you look at this
    20        Q. Okay. And it's                           20   and say it's a physician, again from a
    21   Bates-stamped Mallinckrodt 0000448872            21   physician, they are still the ones
    22   through 8874, which is a multi-page              22   determining whether or not it's writing a
    23   document.                                        23   prescription for a legitimate pain
    24            And it says, "Please find               24   patient. So...
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     1        Q. Correct. But Mallinckrodt                1   learning that South Florida had become
     2   had access to data with respect to, for          2   the largest supplier of illegal
     3   example, here, its customer's customers,         3   prescription drugs in the country?
     4   Sunrise's customers, including                   4         A. Not specifically.
     5   physicians, correct?                             5         Q. Generally?
     6        A. Well, it wasn't a full                   6         A. Florida in general. I think
     7   database. You'd have to pull this data           7   this is South Florida. But Florida in
     8   together. But it -- you can see that             8   general, as I understood it, was a -- was
     9   there are physicians and pharmacists             9   a higher -- higher use of -- of
    10   listed in this data by product, that's          10   prescription medications.
    11   correct.                                        11             And I guess from my
    12             (Document marked for                  12   perspective, obviously Florida has an
    13        identification as Exhibit                  13   aging population, and I mean certainly
    14        Mallinckrodt-Adams-22.)                    14   that is a key driver for increased
    15   BY MS. BAIG:                                    15   prescriptions. But ultimately this is
    16        Q. Let's have this document                16   giving more color around it.
    17   marked as Exhibit 22 please. This is            17         Q. Was it -- was it your read
    18   an -- it starts as an e-mail string from        18   of this article that the prescription
    19   Victor Borelli to you and others.               19   drug abuse epidemic in Florida was a
    20   Bates-stamped Mallinckrodt 0000290150           20   result of the aging population in
    21   through 151. And you'll see the subject         21   Florida?
    22   is prescription drug abuse epidemic.            22         A. I don't recall the article
    23             Do you see that?                      23   at the time. And so I don't recall what
    24        A. I see that. I don't believe             24   it triggered in my mind.
                                              Page 291                                               Page 293
     1   it was Victor who initiated this e-mail          1        Q. Well, as you read it now, is
     2   chain.                                           2   it your understanding that the gist of
     3        Q. Correct. I'm just labeling               3   this article is about the aging
     4   these documents by the very first e-mail         4   population in Florida is causing the
     5   on the chain --                                  5   prescription drug abuse epidemic there?
     6        A. Oh. Okay.                                6        A. I'll take the time to read
     7        Q. -- so that if there's any                7   it. I haven't read it.
     8   question later --                                8        Q. Okay.
     9        A. Gotcha.                                  9        A. Thank you.
    10        Q. -- we can find the document             10        Q. Do you recall understanding
    11   that is this exhibit.                           11   at the time that -- that there was an
    12        A. Great. Sorry.                           12   alarming problem facing the country with
    13        Q. So do you recall receiving              13   nearly one in five teens abusing
    14   an e-mail about the prescription drug           14   prescription medications?
    15   abuse epidemic in or about 2009, July of        15        A. I don't remember that at the
    16   2009?                                           16   time. I don't remember it now rather.
    17        A. I'm sorry. Not                          17        Q. You don't remember -- you
    18   specifically, no.                               18   don't remember hearing anything about
    19        Q. Okay. Do you recall                     19   that at the time?
    20   generally?                                      20        A. Specifically with teens,
    21        A. I don't remember specific               21   absolutely not.
    22   articles or even generally having access        22        Q. Generally speaking, do you
    23   to a large number of articles.                  23   recall hearing that there was an opioid
    24        Q. Okay. Do you recall                     24   epidemic?
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     1         A. I recall there were issues              1   investigations."
     2   with opioids that would raise the alarm.         2            Do you recall hearing
     3   And I guess I'll just call out that the          3   anything about that?
     4   illegal aspect of opioids is what was            4        A. I do not.
     5   causing the problem. The legal component         5        Q. It goes on to state, "A lot
     6   of it is where we were practicing and            6   of the mom and pop pharmacies, the only
     7   filling supply from prescriptions written        7   way they are surviving is by putting out
     8   legally by physicians.                           8   oxycodone, according to Broward Sheriff's
     9         Q. Well, the title of this                 9   Office Sergeant Richard Pisanti."
    10   article is "Prescription Drug Abuse             10            Do you see that?
    11   Epidemic," correct?                             11        A. I do.
    12         A. Correct.                               12        Q. Do you recall hearing that
    13         Q. So this article is                     13   generally at the time?
    14   specifically about prescription drugs,          14        A. I don't. It's hard to draw
    15   correct?                                        15   a conclusion from one person's opinion.
    16         A. It is. And I guess I was               16   But, yes, I see that.
    17   just making the distinction of, there are       17        Q. The Broward County Sheriff's
    18   prescription drugs that are -- and              18   opinion you mean?
    19   prescriptions that are filled                   19        A. Yes.
    20   legitimately, and there apparently are          20        Q. Was your understanding that
    21   prescription drugs that are filled              21   the problem was not as severe in Florida
    22   illegitimately.                                 22   as this article suggests?
    23         Q. Were you aware that South              23        A. No, I didn't say that. I
    24   Florida became the largest supplier of          24   just said that I don't recall -- I don't
                                              Page 295                                           Page 297
     1   illegal prescription drugs in the                1   recall this context. But I think I
     2   country?                                         2   stated earlier that Florida had a high
     3        A. I think asked and answered.              3   volume, if I'm not mistaken. I can look
     4   South Florida, I didn't recall that it           4   back exactly.
     5   was specifically to South Florida. So,           5        Q. Okay. And the article goes
     6   no, I don't recall that.                         6   on to state, "Statistics show an alarming
     7        Q. As it states here, "The                  7   problem facing America."
     8   number of pain clinics and doctors               8            Do you see that?
     9   willing to prescribe these medications           9        A. Yes.
    10   has made the area the logical choice for        10        Q. And at the very end, it
    11   traffickers and drug addicts looking to         11   references an interview on the CBS Early
    12   obtain prescription drugs, including            12   Show, "National drug control policy
    13   powerful painkillers."                          13   director Gil Kerlikowske said, 'The issue
    14            Do you see that?                       14   of prescription drug abuse, which the
    15        A. I do see that.                          15   Office of National Drug Control Policy
    16        Q. And did you understand that             16   has been shouting about from the rooftops
    17   to be the case at the time?                     17   is a significant problem in this
    18        A. I don't recall reading this             18   country.'"
    19   article or seeing this article at the           19            Do you see that?
    20   time. Or I don't recall seeing it.              20        A. I do see that.
    21        Q. Okay. And it goes on to                 21        Q. It's not just necessarily
    22   state that, "Some pharmacies have hired         22   the opinion of would be person, correct?
    23   bouncers and lookouts in order to alert         23        A. I'm referring to a lot of
    24   the owners of the stores to                     24   the mom and pop pharmacies, the only way
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     1   they are surviving is putting out                 1   the extent.
     2   oxycodone. I can't speak to mom and pop           2            (Document marked for
     3   pharmacies have been challenged -- the            3        identification as Exhibit
     4   independent pharmacies have had                   4        Mallinckrodt-Adams-23.)
     5   challenges across the industry that have          5   BY MS. BAIG:
     6   been well known because their pricing             6        Q. We'll have this document
     7   doesn't tend to be as advantageous as             7   marked as Exhibit 23. It's an e-mail
     8   chain pharmacies.                                 8   that starts with a string from Bill
     9            So to draw a conclusion that             9   Ratliff on Monday, July 27, 2009. Bottom
    10   mom and pop pharmacies, because of               10   Bates stamp number is 0000290175 through
    11   oxycodone output is the way they are             11   177.
    12   surviving, I think is a large leap.              12            If you turn to the very last
    13        Q. Is a largely what?                       13   page.
    14        A. It's a large leap to make                14        A. Okay.
    15   that conclusion.                                 15        Q. Do you see that the string
    16        Q. Oh, large leap.                          16   starts as e-mail from Paul Kleissle at
    17        A. Yes, sorry. Sorry, yeah.                 17   the DOJ to Bill Ratliff and Karen Harper,
    18        Q. And do you see Mr. Borelli's             18   correct?
    19   response? He states, "This is an                 19        A. I do see that, yes.
    20   interesting article. This is exactly why         20        Q. Okay. Bill Ratliff's
    21   Sunrise works/hires Lewis Fischer."              21   position again, please?
    22            Do you see that?                        22        A. I'm not sure. I think we
    23        A. I see that, yes.                         23   were estimating potentially security,
    24        Q. Do you know who Lewis                    24   director of security.
                                               Page 299                                             Page 301
     1   Fischer is?                                       1        Q. Okay. And so the DEA -- DOJ
     2        A. I think there's reference to              2   is calling Bill Ratliff and asking him to
     3   that. I couldn't recall the name. So I            3   give him a call regarding the oxy case;
     4   believe he is the ex-DEA agent.                   4   is that right?
     5        Q. And did you understand                    5        A. That's what it states, yes.
     6   Victor Borelli to be saying that the              6        Q. Okay. And Bill Ratliff
     7   prescription drug abuse epidemic was              7   reports to you and others that, "The DEA
     8   largely why Sunrise works?                        8   diversion group supervisor recommended
     9        A. That's not the way I would                9   that we audit Sunrise as soon as
    10   read this. The way that they are going           10   possible."
    11   through is to try and have someone who           11             Do you see that?
    12   can do an audit of their customers, so           12        A. I do see that, yes.
    13   that is their due diligence that they are        13        Q. Does this refresh your
    14   doing.                                           14   recollection that it was the DOJ that was
    15             So hiring an ex-DEA agent to           15   recommending the audit and not
    16   look at pharmacies or to -- whoever is           16   Mallinckrodt?
    17   dispensing the product, that is what             17        A. No, I didn't recall the DOJ
    18   Sunrise appears to have done.                    18   being brought up.
    19        Q. Did you ever interact with               19        Q. Well, the DEA, diversion
    20   Lewis Fischer?                                   20   group of the DOJ, correct?
    21        A. I did not.                               21        A. I didn't know they were
    22        Q. Do you know anything about               22   affiliated.
    23   him?                                             23        Q. Okay. So here -- if you see
    24        A. Ex-DEA agent. And that's                 24   Paul Kleissle, the initial e-mail is
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     1   coming from USDOJ.gov, correct?                  1   was again what?
     2         A. Correct.                                2        A. Right there, controlled
     3         Q. Okay. And you see that Bill             3   substance compliance, global logistics
     4   Ratliff is reporting, "The DEA diversion         4   manager, Covidien Mallinckrodt.
     5   group supervisor recommended that we             5        Q. So does this suggest to you
     6   audit Sunrise as soon as possible."              6   that, at least at that point in time,
     7             Do you see that?                       7   Mallinckrodt was not using the chargeback
     8         A. I do.                                   8   system on a regular basis for suspicious
     9         Q. So in any event, it was not             9   order monitoring, the fact that she
    10   Mallinckrodt that initiated the audit of        10   doesn't know anything about the
    11   Sunrise. Does this refresh your                 11   chargeback system?
    12   recollection of that fact?                      12        A. I -- I think --
    13         A. I didn't -- no, it does not            13             MR. TSAI: Object to form.
    14   refresh me on that memory. Now I see it,        14             Go ahead.
    15   but I didn't know at the time.                  15             THE WITNESS: I can't
    16         Q. Okay.                                  16        speculate on what Karen's thought
    17         A. Yep.                                   17        process was there.
    18         Q. Well, you knew it when you             18   BY MS. BAIG:
    19   got this e-mail, though, right?                 19        Q. Okay. But she does state
    20         A. I didn't recall that I knew            20   here, "I don't know anything about the
    21   it at that time.                                21   chargeback system," correct?
    22         Q. Right.                                 22        A. She does indicate that. So
    23         A. Right.                                 23   I think we all have our areas of
    24         Q. Okay.                                  24   expertise. So I can speak to
                                              Page 303                                            Page 305
     1        A. I think I went on to state,              1   chargebacks. And she can speak to
     2   "We'll make this a priority."                    2   compliance. So I think from an expertise
     3             So I think obviously we're             3   perspective, this makes sense that this
     4   going to take it seriously. I think              4   is not a deep level awareness for her.
     5   that's -- the whole process is designed          5        Q. Okay. And you can speak to
     6   to do that, is to make sure that we can          6   chargebacks, but you're not aware, are
     7   take that up to the compliance -- the            7   you, of the chargeback system being used
     8   level of review that's required from a           8   on a regular basis as part of the
     9   compliance perspective.                          9   suspicious order monitoring process?
    10        Q. And Karen Harper suggests               10        A. I don't know. I didn't know
    11   that we keep -- "The scope of the review        11   if that was part of the suspicious order
    12   will be at a fairly high security and           12   monitoring process.
    13   compliance level."                              13            So, I don't have awareness
    14             Do you see that?                      14   that that was an integral part or a part.
    15        A. Yes, I see that.                        15        Q. You don't know one way or
    16        Q. And she goes on to state                16   another?
    17   that, "I don't know anything about the          17        A. I don't. They had their own
    18   chargeback system, which is how we              18   algorithms that compliance developed.
    19   detected which physicians/pain clinics          19   And they had their methods in which they
    20   are receiving our product through               20   tracked and did what they needed to do in
    21   Sunrise."                                       21   compliance with that program.
    22             Do you see that?                      22            (Document marked for
    23        A. I do see that.                          23        identification as Exhibit
    24        Q. And Karen Harper's position             24        Mallinckrodt-Adams-24.)
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     1   BY MS. BAIG:                                   1   raised. I think you mentioned
     2         Q. Let's have this document              2   medications. If I'm not mistaken, this
     3   marked as Exhibit 24.                          3   is isolated to one medication and a small
     4         A. Okay.                                 4   amount. But yes, I do remember this
     5         Q. This is a document that               5   being raised.
     6   begins with an e-mail from Victor Borelli      6         Q. And -- and he states in this
     7   to Bill Ratliff, you and others. Dated         7   second paragraph, "In October 2008,"
     8   August 4, 2009, Bates-stamped                  8   that's the general time frame, he goes on
     9   Mallinckrodt 0000562325 through 2329.          9   to state, "My first eye-opening
    10             Do you recall generally an          10   experience to the pharmaceutical sale of
    11   issue arising regarding Florida               11   oxycodone sent me off into the direction
    12   medication going into Tennessee?              12   of looking at the pharmacies that were
    13         A. Hold on one moment if I              13   filling the scripts. It was then that I
    14   could. Sorry, this is a lengthy one. I        14   found that we were dealing with several
    15   just want to make sure I can go through       15   pain clinics in Florida where doctors
    16   this.                                         16   were prescribing an abundant amount of
    17             MS. BAIG: Sure. We can go           17   oxycodone medication to numerous
    18         off the record.                         18   Tennesseans, especially within the
    19             THE VIDEOGRAPHER: Going off         19   jurisdiction that I'm assigned."
    20         the record. The time is 4:08.           20             Do you see that?
    21             (Brief pause.)                      21         A. I do see that.
    22             THE VIDEOGRAPHER: We are            22         Q. He's not referencing a very
    23         going back on record. Beginning         23   small amount. He's referencing an
    24         of Media File Number 6. The time        24   abundant amount, correct?
                                            Page 307                                              Page 309
     1        is 4:10.                                  1         A. That's an ambiguous term as
     2   BY MS. BAIG:                                   2   far as abundant. But, you know, I guess
     3        Q. Okay. If you turn back                 3   to prescribe it to Tennesseans in October
     4   towards -- towards the end of the string.      4   of 2008, perhaps there's people going
     5   So starting at the beginning.                  5   down for the wintertime. I don't know,
     6        A. Okay.                                  6   but certainly I'll take your word for it.
     7        Q. Do you see that there's an             7         Q. But I'm just reading his
     8   e-mail from Dwayne Collins to Bill             8   words. He uses an -- he's describing an
     9   Ratliff, subject, Florida medication           9   "abundant amount of oxycodone medications
    10   coming into Tennessee?                        10   to numerous Tennesseans," correct?
    11        A. I do see that, yes.                   11         A. Yep.
    12        Q. And Dwayne Collins, his               12         Q. And he -- a little further
    13   e-mail address is at mymorristown.com.        13   on, he says, "I have three individuals
    14   Do you see that?                              14   who are coming up out of Florida on a
    15        A. I do, yes.                            15   regular basis and selling massive amounts
    16        Q. And he describes himself as           16   of oxycodone 30 -- 30 milligrams."
    17   writing from the Morristown, Tennessee,       17            Do you see that?
    18   police department, correct?                   18         A. I'm not sure where you are
    19        A. Correct.                              19   at yet.
    20        Q. Okay. And he's raising an             20         Q. I'm right in the middle
    21   issue about Mallinckrodt medications          21   of --
    22   coming from Florida to Tennessee. Do you      22         A. I see.
    23   recall this issue being raised?               23         Q. -- his third paragraph.
    24        A. I recall the issue being              24         A. I see that, yes.
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     1        Q. Okay. So he's talking, at               1   lot number. Do you see that?
     2   least from his perspective, about massive       2        A. I do see that, yes.
     3   amounts of oxycodone 30 milligrams,             3        Q. Okay. And then he is
     4   correct?                                        4   essentially asking for help. "I
     5        A. Yep.                                    5   appreciate your help, and if there is any
     6        Q. Okay.                                   6   further information you need from me,
     7        A. I'm not sure what massive               7   please call me."
     8   is, but yes.                                    8            Do you see that?
     9        Q. Okay. The next paragraph he             9        A. Yes.
    10   goes on to state, in the second sentence,      10        Q. Okay. So Mallinckrodt was
    11   "One of the individuals from Florida who       11   then able to identify that batch by the
    12   has local ties here told my informant          12   lot number. Do you -- is that your
    13   that they would be in Morristown on the        13   recollection or do you understand that?
    14   18th of this month and had enough,             14        A. That's what it looks like,
    15   (meaning oxycodone 30 milligrams) to OD        15   correct.
    16   all of Morristown. This comment leads me       16        Q. Okay. And Mallinckrodt was
    17   to believe that they are coming with a         17   also able to identify the doctor, do you
    18   sizable shipment."                             18   see that?
    19            Do you see that?                      19        A. Where are you referring to,
    20        A. I do see that.                         20   I'm sorry?
    21        Q. Okay. So "enough to OD all             21        Q. I'm looking at Bill
    22   of Morristown" is certainly, at least          22   Ratliff's e-mail. So the prior page, the
    23   from his perspective, sizable, correct?        23   page that ends in 327. And Bill Ratliff
    24        A. Correct.                               24   sends to Dwayne Collins in Morristown an
                                             Page 311                                            Page 313
     1         Q. Okay. If you skip down a               1   e-mail that states, "Dwayne, the doctor
     2   couple of paragraphs, you'll see he goes        2   we discussed ordered the following during
     3   on to state, "My motel subpoena indicated       3   the last 12 months: 78 bottles oxy
     4   that these people were in this area             4   15 milligrams, 204 oxy 30 milligrams, 20
     5   routinely beginning since March 2009 and        5   methadone 10 milligrams, and 4
     6   it is my opinion that if these people           6   hydromorphone. All came from the
     7   were coming into this area as often as          7   customer we discussed except the
     8   they were and selling the amount that's         8   hydromorphone."
     9   suspected, this possibly has to lead back       9            Do you see that?
    10   to a holding facility in Florida where         10        A. I do see that.
    11   the amount taken is not as obvious as          11        Q. Okay. So is it your
    12   would be if taken out of a pharmacy."          12   understanding that Mallinckrodt was able
    13            Do you see that?                      13   to identify precisely the doctor that had
    14         A. I do see that.                        14   ordered the -- the drugs that are being
    15         Q. And then he goes on to                15   raised as suspicious by Dwayne Collins?
    16   describe the bottle, and he states,            16            MR. TSAI: Object to form.
    17   "Small white bottle without pharmacy           17            Go ahead.
    18   label. 100-tablet capacity. CI's advise        18            THE WITNESS: It was -- they
    19   that the silver foil is still intact when      19        were able to based on the name of
    20   the cap is unscrewed."                         20        the doctor being provided. They
    21            And then he goes on to                21        certainly could go back and look
    22   state, "Oxycodone hydrochloride                22        at that to identify that
    23   manufactured by Mallinckrodt."                 23        information.
    24            And he gives a barcode and a          24   BY MS. BAIG:
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     1         Q. And if you go a little bit             1   Lewis explained how he made the decision
     2   further up in the chain, if you're              2   on future customers for Sunrise.
     3   looking at the e-mail from Bill Ratliff         3             "Also Sunrise was recently
     4   to Tim Wright and others, you'll see Bill       4   audited by the DEA and no issues were
     5   Ratliff states, "We advised that Sunrise        5   identified.
     6   Wholesale Inc. was the only distributor         6             "During the teleconference a
     7   residing in Florida that received this          7   $500,000 check was received from Sunrise
     8   lot."                                           8   through FedEx. After reviewing all of
     9            Do you see that?                       9   the facts it was determined to continue
    10         A. I do see that.                        10   with the relationship with Sunrise and
    11         Q. "In addition, we advised              11   fill their current order."
    12   that Cardinal Health in Ohio has a             12             Do you see that?
    13   distribution center in Florida and had         13         A. I do see that. Yes.
    14   received some of the lot, but the doctor       14         Q. So does this -- is it your
    15   listed on one of the 100-count bottles         15   understanding that -- that essentially
    16   that was recovered only purchased oxy          16   Mallinckrodt made the decision to fill --
    17   from Sunrise."                                 17   continue filling Sunrise's current order?
    18            And then a little -- then it          18         A. Yes, it appears as if they
    19   goes on. "For background, Sunrise sells        19   did fill the order, and it appears that,
    20   mainly to pain clinics and to dispensing       20   you know, based on the look of kind of
    21   doctors. One doctor was identified by an       21   going through this information now -- so
    22   empty 100-count bottle found by one of         22   it's good to have the context of the
    23   the two informants in the investigation.       23   number of bottles written by this
    24   We tracked the doctor's purchases through      24   physician. What you don't know is how
                                             Page 315                                           Page 317
     1   our chargeback system. See below."              1   many of those -- basically where their
     2            Do you see that?                       2   proximity was. Was his proximity close
     3        A. I do see that, yes.                     3   to an oncology clinic? Kind of how that
     4        Q. Okay. And then a little                 4   all type of usage was transformed or
     5   further down it states, "Initially I            5   what -- what in the context of it was
     6   recommended that we stop shipping to            6   important.
     7   Sunrise until a meeting could be held to        7             What was interesting here,
     8   discuss our due diligence with them.            8   though, was that DEA did audit them. And
     9   This is part of our suspicious order            9   the DEA went through, and I think we go
    10   monitoring system mandated by DEA. Since       10   on further to say that they complimented
    11   Sunrise was having some credit issues,         11   Covidien on the fact that they'd acted in
    12   this was not a problem."                       12   a responsible way and the DEA saw no
    13            And then it goes on a little          13   issues with regard to this matter. So I
    14   further down, "It was determined that          14   think it's -- and went on further to
    15   Victor Borelli had visited Sunrise when        15   compliment Covidien for that process.
    16   they became a customer, approximately          16             So I think those are all
    17   18 months ago. Originally they purchased       17   good points that kind of show that the
    18   their material from Masters distribution,      18   system is alerting people. But again,
    19   another customer. Also Victor advised          19   when it comes down to compliance, they
    20   that Sunrise employed a part-time              20   can determine, based on all the facts in
    21   contract employee Lewis Fischer, former        21   front of them, on what to take as -- you
    22   DEA pharmacist, to contact customers to        22   know, what step is appropriate.
    23   determine if they were legitimate.             23        Q. And is it your understanding
    24   Victor actually rode with Lewis and me.        24   that the DEA did the audit or the DEA
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     1   asked Mallinckrodt to do the audit and         1   August 26, 2009. Bates-stamped
     2   Mallinckrodt performed the audit?              2   Mallinckrodt_000388379 through 386.
     3        A. I'll read it again.                    3            And Karen Harper's title
     4   "Sunrise was recently audited by the           4   identified here is controlled substance
     5   DEA."                                          5   compliance, global logistics manager from
     6            So the DEA audited them, and          6   Mallinckrodt, is sending "Sunrise audit
     7   no issues were identified.                     7   report draft."
     8            So yeah, the DEA did the              8            Do you see that?
     9   audit prior to this scenario all coming        9        A. I do.
    10   up and found that -- found no issues.         10        Q. Okay. And if you turn to
    11        Q. Do you have a recollection            11   the next page, you'll see that it starts
    12   of that or are you just reading that from     12   with the controlled substance compliance
    13   the e-mail?                                   13   suspicious order monitoring customer
    14        A. I'm reading that from the             14   audit checklist.
    15   e-mail.                                       15            Do you see that?
    16        Q. Okay. Do you have a                   16        A. I do see that, yes.
    17   recollection of the DEA asking, from the      17        Q. Okay. And there are certain
    18   documents we looked at a few minutes ago,     18   items filled in on the checklist. If you
    19   the DEA asking Mallinckrodt to perform        19   look through Section 2, for example,
    20   the audit?                                    20   well, the customer name is identified at
    21        A. No, I don't recall that.              21   the top. And if you look at the first
    22        Q. Okay. And you don't have              22   box in Section 2, you see, "Ordering
    23   any recollection of the audit that was        23   excessive quantities of a limited variety
    24   performed?                                    24   of controlled substances while ordering
                                            Page 319                                            Page 321
     1        A. By the DEA, no.                        1   few if any other drug." And that box is
     2        Q. By Mallinckrodt, at the                2   checked yes.
     3   DEA's request.                                 3            Do you see that?
     4        A. I remember scheduling this             4        A. I do see that.
     5   appointment, and I don't remember the          5        Q. Oh, and also at the top of
     6   specifics of traveling down there. But I       6   this page it says, "Checklist completed
     7   see they've asked for appointments to be       7   by Karen Harper."
     8   set up. So it's part of the reading            8            Do you see that?
     9   through here. So that's what I recall          9        A. I do see that, yes.
    10   from the reading.                             10        Q. Okay. And then the next box
    11        Q. Do you remember                       11   says, "Ordering a limited variety of
    12   participating in an audit of Sunrise?         12   controlled substances in quantities
    13        A. I remember going to a                 13   disproportionate to the quantity of
    14   meeting. But I don't remember it              14   noncontrolled medications ordered." And
    15   specifically being an audit.                  15   that check box is marked yes as well.
    16        Q. Okay.                                 16            Do you see that?
    17            (Document marked for                 17        A. I do see that.
    18        identification as Exhibit                18        Q. Do you know what a lifestyle
    19        Mallinckrodt-Adams-25.)                  19   drug is?
    20   BY MS. BAIG:                                  20        A. I know of an example of a
    21        Q. Okay. Let's have this                 21   lifestyle drug, I guess. So yes, I can
    22   marked as Exhibit 25. This is a document      22   piece that together.
    23   that starts as an e-mail from Karen           23        Q. Did you ever hear any opioid
    24   Harper to you and others, dated               24   products being referred to as lifestyle
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     1   drugs?                                           1   she's the one that is checking these
     2         A. No, I'm not familiar with               2   boxes, correct?
     3   that. I just don't recall that                   3         A. Yes. Karen -- Karen would
     4   terminology.                                     4   be the one to fill this out.
     5         Q. And do you see in Section 3,            5         Q. Okay. A couple boxes down
     6   it states at the top, on the next page,          6   it states, "Is there any evidence the
     7   "Per DEA, a distributor seeking to               7   physician offers to sell controlled
     8   determine whether a suspicious order is          8   substances without a prescription?"
     9   indicative of controlled substance               9             Do you see that?
    10   diversion to other than legitimate              10         A. Yes.
    11   medical channels may wish to inquire of         11         Q. And that box is checked yes,
    12   the ordering pharmacy about the                 12   correct?
    13   following: Has the audit candidate              13         A. Correct.
    14   exercised due diligence and determined:"        14             My interpretation of this
    15             And then there's a number of          15   is --
    16   items to be checked.                            16         Q. I just have a few more
    17             Do you see that?                      17   questions. Hang on.
    18         A. I do see that.                         18         A. Oh, sure.
    19         Q. And for example, the first             19         Q. And I'll let you opine.
    20   one checked yes states, "The physician          20         A. Okay.
    21   complies with the laws of every state in        21         Q. If you look then to the --
    22   which controlled substances are sold or         22   to the back of this checklist, there's a
    23   shipped." And it states yes.                    23   narrative.
    24             Do you see that?                      24             Do you see that?
                                              Page 323                                               Page 325
     1        A. I do see that.                           1         A. I see where it starts, yes.
     2        Q. And the next one says, "Does             2         Q. It states under general
     3   the physician solicit buyers of                  3   information, "Sunrise business model is
     4   controlled substances via the internet or        4   to pre-book sales in advance and order
     5   is the subject company affiliated with an        5   from dosage manufacturers such as
     6   internet site that solicits orders for           6   Mallinckrodt."
     7   controlled substances?" And it's checked         7             Do you see that?
     8   yes.                                             8         A. I do see that.
     9            Do you see that?                        9         Q. Do you see a little further
    10        A. I do.                                   10   down it states, "Sunrise accepts orders
    11        Q. And a couple -- a couple                11   for C-II controlled substances and has
    12   boxes down, it says, "Does the subject          12   made the business decision to avoid
    13   company fill prescriptions issued by            13   distribution of C-III and C-IV products
    14   practitioners based solely on an online         14   due to potential internet sales and
    15   questionnaire without a medical                 15   increased diversion risk of C-III and
    16   examination or bona fide doctor-patient         16   C-IV products."
    17   relationship."                                  17             Do you see that?
    18            Do you see that?                       18         A. I do see that.
    19        A. Yes.                                    19         Q. Is it your understanding
    20        Q. And that's checked yes,                 20   that there was more diversion risk for
    21   correct?                                        21   C-III and C-IV products than there was
    22        A. Correct.                                22   for C-II products?
    23        Q. So your understanding is                23         A. I would interpret this as
    24   after Karen Harper looked at Sunrise,           24   it's not necessarily C-III and C-IV, as
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     1   opposed to internet sales is what has the        1        A. I am not.
     2   higher propensity for diversion. So it's         2        Q. Okay. Do you see on the
     3   not the fact that it's classified one way        3   very last page there is a section
     4   or the other. It's just that the                 4   entitled "Mallinckrodt information shared
     5   internet sales would raise the potential         5   with Sunrise"?
     6   issue.                                           6        A. Yes.
     7        Q. Do you see two pages over                7        Q. And it states, "John Adams
     8   there's a heading that starts, "Sunrise          8   showed Sunrise some graphs depicting
     9   customer files and DEA 222 forms                 9   oxycodone 30 milligrams customer
    10   reviewed"?                                      10   distribution" -- "distribution
    11        A. Yes.                                    11   information extracted from the
    12        Q. And there are a number of               12   Mallinckrodt chargeback system."
    13   items following, numbered.                      13            Do you recall doing this?
    14            Do you see those?                      14        A. I don't recall doing that,
    15        A. I do see that.                          15   no.
    16        Q. And Item 4 identifies Barry             16        Q. You don't recall doing
    17   Schultz.                                        17   anything about pulling the graphs or
    18            Do you see that?                       18   shows the graphs at Sunrise?
    19        A. I see the name, yes.                    19        A. No. I certainly wouldn't
    20        Q. And it states, "Within this             20   have pulled the graphs. Someone else
    21   customer's file, there was both a formal        21   would have done that for me.
    22   questionnaire filled out by Lewis Fischer       22            As far as even sharing those
    23   as well as recent 222 forms with orders         23   graphs, A, I don't remember them, and B,
    24   attached. This customer had 222 orders          24   I don't remember sharing them.
                                              Page 327                                            Page 329
     1   for 100 bottles of oxy 30 milligrams, but        1        Q. And it goes on to state,
     2   Sunrise shipped them 24 bottles and              2   "The chargeback system gives Mallinckrodt
     3   closed down the order. This may have             3   visibility to which end user customer is
     4   been done due to the tiered system of            4   purchasing oxycodone 30 milligrams, from
     5   ordering that Carlos Veron had been              5   which Mallinckrodt wholesaler/distributor
     6   referring to during today's meetings."           6   customers."
     7            Do you see that?                        7            Do you see that?
     8        A. I do see that.                           8        A. I do see that, yes.
     9        Q. And this would have been                 9        Q. And then the example that's
    10   written by Karen Harper, correct?               10   given a little bit further down the page
    11        A. I believe she wrote the                 11   states, "The Mallinckrodt chargeback
    12   entire report.                                  12   system can identify that customer A
    13        Q. Okay. Are you familiar with             13   purchases 11 percent of their oxycodone
    14   who Barry Schultz is?                           14   30 milligrams from Sunrise and customer A
    15        A. It doesn't ring a bell, no.             15   also purchases 89 percent of their
    16        Q. You haven't heard his name?             16   oxycodone 30 milligrams from other
    17        A. No. It appears to be -- no.             17   Mallinckrodt wholesaler/distributor
    18   It doesn't sound familiar to me.                18   customers such as HD Smith."
    19        Q. Did you happen to see the               19            Do you see that?
    20   60 Minutes episode on Mallinckrodt that         20        A. I do see that.
    21   came out in the last few months?                21        Q. So all of that was, at least
    22        A. I have not.                             22   according to this, available in your
    23        Q. Were you aware that Barry               23   chargeback data, correct?
    24   Schultz is now in jail?                         24        A. It appears so.
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     1        Q. And the audit findings at                1             So from the end user, end
     2   the bottom. Do you see that?                     2   user is a -- is a pharmacy, it is not a
     3        A. Just in that same section.               3   patient. Or it is a physician who can
     4   It appears as if we can see what we saw,         4   prescribe but it is not a patient. So it
     5   but we don't know what that customer             5   is not -- you can't determine -- you
     6   purchased from others. So you have               6   can't determine if that physician wrote
     7   visibility of what you've done, but --           7   that product, what type of patient.
     8   and you don't know exactly if that               8   There's patient laws regarding patient
     9   pharmacy is affiliated with an oncology          9   confidentiality. You can't have that
    10   clinic or if there's any specific type of       10   information. It's not available.
    11   information. So this is one slice. The          11        Q. But you can certainly
    12   only place where that information is all        12   determine how many prescriptions that
    13   aggregated is at DEA.                           13   Mr. Barry Schultz is writing?
    14        Q. Do you know whether                     14        A. No, that's not true. You
    15   Masters -- whether Sunrise was affiliated       15   don't know --
    16   with an oncology clinic?                        16        Q. Well, you can -- okay.
    17        A. Sunrise would not be. What              17   Well, you can determine how many orders
    18   I'm referring to is who would buy from          18   Barry Schultz is essentially purchasing?
    19   Sunrise. So the chargeback data would           19        A. You can determine that, but
    20   show that particular pharmacy or in this        20   you -- by determining that, it doesn't
    21   case potentially a physician. It would          21   tell you the full context of what type of
    22   show their usage, but it wouldn't show          22   practice, is that physician an
    23   their proximity to a clinic. So it              23   oncologist, is that physician next to a
    24   wouldn't be Sunrise, it would be that.          24   pain clinic or affiliated, is it a pain
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     1            And -- and maybe I'm going              1   clinic. You don't know that context from
     2   to define end user customer, because that        2   chargeback data.
     3   sounds like a patient. It is not. An             3        Q. No, but you could -- you
     4   end user customer is a pharmacy.                 4   could look it up if you wanted to, right?
     5   Anything that happens from the pharmacy          5        A. I don't know. I -- if you
     6   prior to that point is a physician               6   can pick up the Yellow Pages and find
     7   writing a prescription. And that                 7   something like that out, I'm not sure.
     8   prescription then being filled by a              8        Q. And the audit findings here
     9   pharmacy. The pharmacy is defined as an          9   was that Sunrise has systems in place to
    10   end user customer in this context.              10   maintain a suspicious order monitoring
    11        Q. Well, not necessarily,                  11   program that meets the guidelines
    12   because Barry Schultz is identified in          12   outlined in C.F.R. 21 1301.74.
    13   this report and he's not a pharmacy.            13            Do you see that?
    14        A. No, but he is a dispensing              14        A. I do see that, yes.
    15   physician.                                      15        Q. And it goes on to state,
    16        Q. Sure.                                   16   "There were no adverse audit findings as
    17        A. So he can write a                       17   a result of the Sunrise customer files
    18   prescription if he deems the patient to         18   and DEA 222 forms reviewed."
    19   have legitimate pain, so he can                 19            Do you see that?
    20   legitimately and legally write that             20        A. I do see that.
    21   prescription and then that could be             21        Q. Okay.
    22   filled by that same person. That is a           22        A. I know there's a part that,
    23   legal method, at least it was at that           23   to use your word opine. If I could go
    24   point.                                          24   back to that?
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     1        Q. You know what, why don't we             1   people?
     2   save that for the end. Because I'm just         2        A. I don't. I don't recall
     3   worried that we're running out of time.         3   them. Herb Neuman sounds -- or Herbert
     4        A. Fair enough. Fair enough.               4   Neuman sounds familiar, but I can't place
     5        Q. Each one of these documents             5   him.
     6   is so many pages long, and I -- I know          6        Q. Do you know who Gretta
     7   people are trying to get out of here.           7   Turner is?
     8        A. I know. I'm trying to read              8        A. I think we ran -- had an
     9   and keep up with that. I understand that        9   e-mail from Gretta in the past --
    10   as well.                                       10        Q. Medical affairs department,
    11        Q. Have you ever heard of Cares           11   according -- according to the first page
    12   Alliance?                                      12   of this document.
    13        A. Cares Alliance does not ring           13        A. Okay.
    14   a bell.                                        14        Q. But you don't recall her?
    15            (Document marked for                  15        A. I don't recall.
    16        identification as Exhibit                 16        Q. How about Jennifer Lierman?
    17        Mallinckrodt-Adams-26.)                   17        A. I recall the name and I
    18   BY MS. BAIG:                                   18   recall the face. I don't recall the
    19        Q. Let's have this document               19   responsibility or the title or, you know,
    20   marked as Number 26.                           20   where she was at in the organization.
    21        A. Thank you.                             21        Q. Okay. And do you see there
    22        Q. This document starts as an             22   are a number of stats in this report
    23   e-mail from Gretta Turner to Jennifer          23   looking at, for example, about the third
    24   Lierman and Art Morelli, Bates-stamped         24   page in, I think -- the fourth page in --
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     1   Mallinckrodt 0007094264 through 4294,           1   misuse, abuse, and addiction.
     2   with the subject Morelli CA NSM                 2             Do you see that?
     3   presentation short version.                     3         A. I see that slide.
     4            Do you see that?                       4         Q. Okay. And then the next
     5        A. I do see that, yes.                     5   slide is source of abuse of prescription
     6        Q. And do you know who Arthur              6   opioids. Do you recall seeing stats like
     7   Morelli is?                                     7   this before?
     8        A. It does not -- does not                 8         A. I don't recall seeing stats
     9   sound familiar to me. So I don't recall.        9   like this. I -- I do see this was
    10        Q. And you don't know what                10   regarding a branded product.
    11   Cares Alliance is?                             11         Q. Where do you see that?
    12        A. I don't recall that.                   12         A. On the page entitled Agenda,
    13        Q. If you flip through this               13   Exalgo, which was again a branded
    14   PowerPoint presentation a little bit,          14   product. But I don't know if it was
    15   we'll see if it refreshes your                 15   there when I was there. I just remember
    16   recollection.                                  16   hearing the name. But that was a
    17            For the record, the title of          17   different division within Mallinckrodt.
    18   the PowerPoint is "Safe and Appropriate        18         Q. Well, it's unclear whether
    19   Use of Opioids," by Herbert Neuman, M.D.,      19   the entire agenda is about Exalgo, or
    20   chief medical officer and vice president       20   whether the one, two, three, the fourth
    21   of medical affairs, and Arthur Morelli,        21   item on the agenda is about Exalgo,
    22   VP medical affairs operations for REMS,        22   right?
    23   and then medical affairs.                      23         A. Fair enough. It -- yeah,
    24            Do you know either of those           24   it's certainly unclear to me because I
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     1   don't have any recollection of it.              1        Q. Or contributed to the
     2        Q. And if you go to the next               2   funding for the writing of that book?
     3   page after the agenda, you see                  3        A. I don't recall.
     4   the introduction?                               4        Q. Would you have been involved
     5        A. I -- I can see what, I'm                5   in that, if Mallinckrodt did in fact
     6   sorry?                                          6   contribute?
     7        Q. The introduction?                       7        A. I don't recall. Again I
     8        A. Yes.                                    8   don't have any knowledge of this, so I
     9        Q. And do you see on the                   9   don't recall any sort of interaction with
    10   introduction there's a reference to the        10   regards to it. Oh, this was almost a
    11   American Pain Society and the American         11   year after I left Mallinckrodt. This was
    12   Academy of Pain Medicine?                      12   from March of 2011. I left in the spring
    13        A. I do see that reference.               13   of 2010. So I apologize for my -- I
    14        Q. Do you recall if                       14   literally was having a strong gap there.
    15   Mallinckrodt had any interaction with the      15        Q. Okay. My understanding is
    16   American Pain Society and the American         16   this was pulled from your custodial
    17   Academy of Pain Medicine when you were         17   files. I don't know. Maybe it's because
    18   there?                                         18   there is a reference to John Quincy Adams
    19        A. I don't recall. Certainly              19   in there. I just noticed that. I mean,
    20   we weren't affiliated from a generics          20   maybe that's why.
    21   perspective that I'm aware of with any         21             But in any event, you have
    22   society such as these.                         22   not seen this document before?
    23        Q. When you say from a generics           23        A. No.
    24   perspective, was Mallinckrodt affiliated       24        Q. Okay. To your knowledge,
                                             Page 339                                            Page 341
     1   in any perspective with the American Pain       1   did Mallinckrodt have a speakers bureau
     2   Society or the American Academy of Pain         2   program?
     3   Medicine to your knowledge?                     3       A. From generics, I don't
     4        A. I don't know. I don't                   4   recall any program that the generics
     5   recall any -- and context there.                5   would have.
     6        Q. And do you see at the bottom            6       Q. I'm talking about
     7   there's a reference to S.M. Fishman,            7   Mallinckrodt generally.
     8   and --                                          8       A. I don't -- I don't remember
     9        A. I see that.                             9   a speakers program regardless.
    10        Q. Who I'm assuming is Scott              10       Q. Have you ever heard of
    11   Fishman who is the author of the book,         11   Campbell Alliance?
    12   "Responsible opioid prescribing: A             12       A. It doesn't -- it doesn't
    13   decisions guide."                              13   sound familiar to me.
    14            Do you see that?                      14       Q. Are you aware of
    15        A. I do see that.                         15   Mallinckrodt working with any outside
    16        Q. And do you know if                     16   organizations with respect to speakers
    17   Mallinckrodt had any interaction with          17   bureaus or key opinion leaders?
    18   Scott Fishman?                                 18       A. It's not familiar to me.
    19        A. I don't recall any reference           19       Q. Are you aware of
    20   to the name or to the person.                  20   Mallinckrodt working at all with any key
    21        Q. And do you know if                     21   opinion leaders?
    22   Mallinckrodt contributed to the writing        22       A. It does not sound familiar
    23   of that book?                                  23   to me.
    24        A. I don't recall.                        24       Q. You know what a key opinion
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     1   leader is though, right?                         1        can sell to any state in the union
     2        A. Yes.                                     2        for the most part if they gain
     3        Q. Okay. But you just don't                 3        state licensing, as does a
     4   recall Mallinckrodt working with key             4        pharm -- excuse me -- as does a
     5   opinion leaders to your knowledge?               5        wholesale distributor in
     6        A. I don't recall any key                   6        California can sell to virtually
     7   opinion leaders, no. I don't recall              7        every -- all 50 states.
     8   Mallinckrodt working with key opinion            8            So the proximity or the
     9   leaders.                                         9        location of them doesn't
    10        Q. And you left in 2010, right?            10        necessarily indicate where that
    11        A. Correct.                                11        product is being shipped to.
    12        Q. That takes care of that one.            12   BY MS. BAIG:
    13        A. I might be able to get to               13        Q. Sure. But I'm asking if you
    14   opine yet.                                      14   were aware that you had many Florida
    15        Q. Are you familiar with                   15   distributors buying solely oxy 15 and oxy
    16   monthly call plan detail?                       16   30?
    17        A. The term sounds familiar to             17        A. I'm not familiar. I'm
    18   me. I don't recall anything specifically        18   trying to recall if that would even be
    19   on that.                                        19   the case. I'm trying to recall how many
    20        Q. Would you have been involved            20   distributors there are or were in
    21   in any monthly call plan details for            21   Florida. I can think of two.
    22   Exalgo?                                         22        Q. Can you think of any actions
    23        A. I don't recall being                    23   that Mallinckrodt took to curb the abuse
    24   involved in Exalgo. Like I said, I know         24   of oxy 15 and oxy 30 in Florida?
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     1   the name of the product.                         1         A. Probably a better question
     2        Q. Were you aware at the time               2   for compliance, as compliance had a
     3   that you were at Mallinckrodt that oxy 15        3   process in place to detect suspicious
     4   and oxy 30 were among the most abused            4   orders and peculiar orders, I think is
     5   products -- most abused opioids in               5   what the reference is. So that certainly
     6   Florida?                                         6   was a process that compliance put in
     7        A. I don't recall that. I know              7   place.
     8   we've gone through some documents that           8         Q. Are you aware of any actions
     9   showed that, or at least stated that, I          9   that Mallinckrodt took to curb the abuse
    10   should say.                                     10   of oxy 15 and oxy 30 in Florida?
    11        Q. But you were aware that they            11         A. I'm not aware. And abuse is
    12   were two of Mallinckrodt best selling           12   really through the -- not from the -- you
    13   products, correct?                              13   know, this is -- we're selling into a
    14        A. The oxycodone family was                14   distribution network. This is abuse if
    15   certainly, yes, one of the top selling          15   it's a prescription product, and the
    16   products.                                       16   physician is writing the prescription. I
    17        Q. Were you aware that you had             17   don't know at what point we could
    18   many Florida distributors buying solely         18   intervene on that physician writing a
    19   oxy 15 and oxy 30?                              19   prescription.
    20            MR. TSAI: Object to form.              20         Q. Are you -- if I ask that
    21            Go ahead.                              21   same question but for elsewhere in the
    22            THE WITNESS: I'll just make            22   country, is your answer the same?
    23        a clarifying statement there, that         23         A. That is correct. It would
    24        Florida -- Florida distributors            24   be the same.
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     1        Q. Do you know if Mallinckrodt             1   expertise.
     2   ever had communications with the DEA in         2        Q. And was it your general
     3   efforts to try to increase DEA quotas           3   understanding, though, that
     4   that governed the manufacture and               4   Mallinckrodt's typical position would be
     5   distribution of prescription opioids?           5   to want to increase quota?
     6        A. I understand that there was             6            MR. TSAI: Object to form.
     7   communication on a regular basis with DEA       7            Go ahead.
     8   regarding quota.                                8            THE WITNESS: I think really
     9        Q. Were you involved in that               9        what it would come down to is we
    10   communication?                                 10        would want to make sure that we
    11        A. I was not, not that I recall           11        would fill the demand that was
    12   ever having any interaction in that.           12        generated by our customers, and
    13        Q. Do you remember hearing                13        customers again defined as
    14   about those types of communications with       14        wholesalers, chain headquarters.
    15   the DEA?                                       15            And so to fill those orders,
    16        A. I remember having roughly              16        certainly, is part of the
    17   $100 million at wholesale dollars on           17        objective that you would want to
    18   backorder, which was largely driven by         18        achieve.
    19   not having quota. And I don't know if it       19   BY MS. BAIG:
    20   was on the API side or the finished            20        Q. And as part of that
    21   dosage side. I don't recall. But               21   objective, did Mallinckrodt request that
    22   fighting and trying to manage rather the       22   the DEA increase quotas? Do you know
    23   back order situation was significant.          23   that?
    24        Q. And so did that prompt                 24        A. I don't know that
                                             Page 347                                            Page 349
     1   Mallinckrodt to request higher quotas           1   specifically. I know they had
     2   from the DEA?                                   2   communication, so -- but I don't know
     3         A. I don't know what the                  3   what those communications, how they took
     4   quota -- I don't know what the request          4   form. I just don't recall any -- any
     5   volume was made. The fact it's on               5   component of the communication and how
     6   backorder wouldn't drive the volume. It         6   they communicated with the DEA.
     7   would be driven based off what the              7        Q. So we have already talked
     8   forecasted volume would be as it relates        8   about chargeback data, and we've talked
     9   to purchases made by wholesalers, chains,       9   about IMS data, which I believe is the
    10   et cetera.                                     10   same as IQIVIA data.
    11         Q. My question, though, is a             11        A. Yes.
    12   little bit more narrow. It's -- are you        12        Q. Correct?
    13   aware of communications with the DEA           13        A. Yes.
    14   regarding quota and request for increase       14        Q. Okay. Did Mallinckrodt
    15   in quota levels?                               15   purchase any other -- or did Mallinckrodt
    16         A. I'm not aware of                      16   have access to any other data in which it
    17   conversations. But I know that our             17   was tracking -- tracking its products,
    18   team -- by our team, I'm saying -- I           18   essentially?
    19   believe it was Karen Harper's team, so I       19        A. I don't believe there was
    20   used the collective "our" -- was working       20   any other data. I think IMS at that time
    21   with DEA to obtain quota. How -- the           21   was called National Sales Perspectives, I
    22   levels, the amounts, the frequency, I          22   believe was the audit that was available.
    23   don't know specifics on that. That is          23        Q. Did you -- did Mallinckrodt
    24   something that is their area of                24   have Wolters Kluwer data?
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     1        A. I don't know if they                    1   can say manufacturer advisory boards.
     2   purchased Wolters Kluwer data. I don't          2        Q. Okay.
     3   know what their data entails, other than        3        A. So I was on the manufacturer
     4   now they are a pricing database. But            4   advisory board for AmerisourceBergen.
     5   they have -- that's -- that's the only          5        Q. Any others?
     6   context I can think of Wolters Kluwer off       6        A. Not that I recall.
     7   the top. I just don't recall any other          7        Q. And what was your
     8   context.                                        8   responsibility on the manufacturer
     9        Q. So I believe you testified              9   advisory board for AmerisourceBergen?
    10   that you were not involved in any talks        10        A. On an annual basis, we would
    11   with the DEA regarding any Mallinckrodt        11   meet with the members of the manufacturer
    12   opioid product; is that right?                 12   advisory board, the AmerisourceBergen
    13        A. I don't believe I was                  13   leadership team, which would be the folks
    14   involved in any discussions with DEA or        14   overseeing the purchasing of product,
    15   communication with them.                       15   would have that annual meeting and go
    16        Q. Okay. How about FDA?                   16   through various topics of discussion
    17        A. No. I would -- I can't                 17   regarding logistics, supply, those types
    18   think of a scenario. I don't recall any        18   of topics.
    19   scenario where I would be involved at the      19        Q. And that was the generic
    20   FDA level.                                     20   manufacturers advisory board?
    21        Q. No communications with the             21        A. I believe that's what it's
    22   FDA about REMS, risk evaluation                22   called. I don't remember any brand
    23   mitigation strategies?                         23   companies being a part of that.
    24        A. So not with FDA. We had a              24        Q. Were you on any other
                                             Page 351                                            Page 353
     1   risk mitigation person, I forget her            1   boards?
     2   name, who headed up REMS. And from that         2       A. Not that I recall.
     3   perspective, there would be discussions         3       Q. Were you involved with any
     4   with that individual. To the extent             4   lobbying efforts on Mallinckrodt's part
     5   there would be any involvement from FDA,        5   with respect to any opioid products
     6   I don't -- I don't recall any scenario          6   specifically or generally?
     7   where that interaction would occur.             7       A. Not that I recall.
     8        Q. Did that person report to               8       Q. What department at
     9   you?                                            9   Mallinckrodt was involved in lobbying?
    10        A. No.                                    10       A. I am not sure.
    11        Q. Who would they report to?              11       Q. You don't know, you have no
    12        A. I have no idea. I don't                12   idea?
    13   recall.                                        13       A. I have no idea.
    14        Q. And did you work with any              14       Q. Do you know if Mallinckrodt
    15   third parties with respect to REMS?            15   was a member of the Pain Care Forum?
    16        A. I don't recall personally              16       A. I'm not familiar with that.
    17   doing that. I know that, as I understand       17   So I don't know.
    18   it, whoever headed up REMS, again I don't      18       Q. How about the Pain Care
    19   remember her name, interacted with --          19   Coalition?
    20   with a group.                                  20       A. I'm not familiar with that.
    21        Q. Were you on any -- on any              21   I don't know.
    22   pharmaceutical boards while you were at        22       Q. American Pain Society?
    23   Mallinckrodt?                                  23       A. I'm not familiar with that,
    24        A. Pharmaceutical boards. So I            24   other than I think it was maybe
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     1   referenced in another document. But I'm        1   annual and HDA business leadership. I
     2   not familiar with any affiliation.             2   believe that's how it went. So that
     3        Q. HDA Research Foundation?               3   would be twice a year.
     4        A. I'm familiar with a                    4        Q. How about the National
     5   relationship with the HDA, they are the        5   Wholesale Druggist Association?
     6   Healthcare Distribution Association. So        6        A. That is the old name of HDA.
     7   that is the association affiliated with        7        Q. Okay. So same answer?
     8   wholesalers and distributors.                  8        A. Same answer.
     9        Q. And did you have interaction           9        Q. National Association of
    10   with HDA while you were at Mallinckrodt?      10   Chain Drug Stores?
    11        A. I would attend their                  11        A. That's what -- we talked
    12   meetings, but not their association           12   about that one earlier, yes.
    13   meetings.                                     13        Q. How often did you go to
    14        Q. Can you clarify what you              14   those meetings?
    15   mean by the distinction?                      15        A. That was the --
    16        A. So they would hold a                  16        Q. Oh, is that the NACDS?
    17   meeting, I believe at that time it was        17        A. Yes, that's correct.
    18   twice a year. It's now once a year. But       18        Q. Alliance For Patient Access?
    19   we would pay a fee to go to this meeting,     19        A. It's not familiar to me.
    20   members of HDA, was called HDMA, HDA, so      20        Q. Federation of State Medical
    21   members of McKesson, AmerisourceBergen,       21   Boards?
    22   HD Smith, various wholesalers and             22        A. Not familiar to me.
    23   distributors, there would be a meeting.       23        Q. U.S. Pain Foundation?
    24   Each member, each company would have          24        A. Not familiar to me.
                                            Page 355                                           Page 357
     1   specific tables set up and HDA would           1        Q. American Geriatric Society?
     2   organize a meeting time for us to go in        2        A. Not familiar to me.
     3   and talk with their folks. That could be       3        Q. Pharmaceutical Research and
     4   anywhere from the finance team to the          4   Manufacturers of America?
     5   purchase -- you know, the buyers. So we        5        A. I've heard of them, but I'm
     6   would have meetings with each group from       6   not familiar with them -- or I don't
     7   those various companies.                       7   recall any interaction.
     8       Q. How about the Center For                8            (Whereupon, a discussion was
     9   Healthcare Supply Chain Research?              9        held off the stenographic record.)
    10       A. It doesn't -- it doesn't               10            MS. BAIG: I actually have
    11   sound familiar to me. I'm not sure.           11        no further questions.
    12       Q. Just going back for a                  12            THE VIDEOGRAPHER: We're
    13   moment. How often would you go to HDA         13        going off the record. The time is
    14   Research Foundation meetings?                 14        5:03.
    15       A. So let me clarify. HDA                 15            (Short break.)
    16   research meetings, I don't believe I'd be     16            THE VIDEOGRAPHER: We are
    17   any part of. I would be part of the HDA       17        going back on record, beginning of
    18   business leadership conference. So the        18        Media File Number 7. The time is
    19   research was not a component that I'm         19        5:13.
    20   familiar with.                                20              - - -
    21       Q. Okay. So HDA business                  21             EXAMINATION
    22   leadership meetings you attended how          22              - - -
    23   often when you were at Mallinckrodt?          23   BY MR. GASTEL:
    24       A. They had two meetings, HDA             24        Q. Good evening.
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     1        A. Good evening.                            1   first, and you might have covered it this
     2        Q. My name is Ben Gastel, I                 2   morning. I missed it and I apologize.
     3   represent plaintiffs in the Tennessee            3   But where do you live? What is your
     4   lawsuit that have been cross-noticed into        4   specific residential address?
     5   this deposition.                                 5         A. 21 Wellington Drive, Long
     6            MR. GASTEL: We'll lodge our             6   Valley, New Jersey 07853.
     7        usual objection about the lack of           7         Q. And who lives there with
     8        timely document production and the          8   you?
     9        necessary limiting of time                  9         A. My wife and two kids.
    10        examination of the witness.                10         Q. And how long have you lived
    11            Subject to that objection,             11   there?
    12        I'm going to ask you a few                 12         A. Since 2010.
    13        questions.                                 13         Q. And do you have any plans to
    14   BY MR. GASTEL:                                  14   move anytime soon?
    15        Q. Mr. Adams, do you know                  15         A. Retirement time.
    16   anything about the Tennessee litigation?        16         Q. I won't ask you if you have
    17        A. I do not.                               17   plans for that.
    18        Q. In your work for                        18            Do you have any
    19   Mallinckrodt, did you ever travel to the        19   understanding of opioid prescription
    20   state of Tennessee?                             20   rates in the state of Tennessee?
    21        A. Not that I'm aware of.                  21         A. I do not.
    22        Q. Ms. Baig showed you a                   22         Q. Do you have -- what is your
    23   document earlier from a police officer          23   understanding of the opioid crisis in
    24   from Morristown, Tennessee.                     24   this country? Do you have an
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     1            Do you recall that document?            1   understanding of it?
     2        A. I do recall that document.               2        A. Yeah, I guess from the
     3        Q. And you recall that incident             3   perspective, I -- I can kind of put in an
     4   involving the Morristown police                  4   overall perspective relative to more
     5   investigation, correct?                          5   recent. It's obviously in the news all
     6        A. Yeah. At a top level, yes.               6   the time regarding opioid deaths and
     7        Q. You didn't travel to                     7   regarding opioid abuse. So that is
     8   Morristown, Tennessee as part of that            8   definitely something that you read and
     9   investigation?                                   9   see in the news with some regularity.
    10        A. No. I did not. That would               10        Q. Do you believe this
    11   be largely restricted to the compliance         11   crisis -- this country is in the middle
    12   team --                                         12   of an opioid epidemic?
    13        Q. Sure.                                   13        A. I've heard that term.
    14        A. -- and security, if you                 14   Whether or not it's reached -- you know,
    15   will.                                           15   reached epidemic proportions, I can't say
    16        Q. Did you ever talk to that               16   for certain. I feel like potentially --
    17   police officer from Morristown,                 17   I haven't had any personal experience
    18   Tennessee?                                      18   with this -- with it at all.
    19        A. No, I would not -- I don't              19             So from the perspective of
    20   recall any conversation. Typically I            20   an epidemic, I know from the press and
    21   would again stay with compliance and            21   what I see on TV, it is certainly a
    22   regulatory -- excuse me -- compliance and       22   challenge.
    23   security.                                       23        Q. Do you know if certain
    24        Q. Sure. I should cover this               24   portions of the country are more affected
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     1   by that opioid crisis than other parts of       1        Q. So during your time with
     2   the country?                                    2   Mallinckrodt, based on that e-mail
     3        A. I don't know the specifics              3   exchange and your experience with the
     4   on that, no.                                    4   Morristown police investigation, you
     5        Q. Have you ever reviewed                  5   learned that Mallinckrodt drugs had been
     6   materials published by the Tennessee            6   illegally diverted into Tennessee from
     7   Department of Health on Tennessee's             7   Florida, right?
     8   opioid crisis?                                  8            MR. TSAI: Object to form.
     9        A. I have not.                             9            Go ahead.
    10        Q. Are you aware that as of               10            THE WITNESS: I learned from
    11   2013, the Tennessee Department of Health       11        that document that there were
    12   has estimated that there are 221,000           12        some -- a bottle. I'm not sure
    13   adults in Tennessee using prescription         13        beyond that what could be
    14   pain relievers for nonmedical purposes?        14        quantified.
    15        A. I -- yeah, I've been out --            15   BY MR. GASTEL:
    16   I've been out of the opioid component          16        Q. In your mind, is it legal
    17   since 2010. I just haven't kept up with        17   for a physician to write a prescription
    18   that type of statistic or information.         18   for an opioid for a nonmedical reason?
    19   So no, I'm not familiar with that number,      19            MR. TSAI: Objection. Calls
    20   and don't know how to quite put it in          20        for a legal conclusion.
    21   context.                                       21            Go ahead.
    22        Q. Sure. Would it surprise you            22            THE WITNESS: I don't know
    23   if the Department of Justice has found         23        why a physician -- I can't imagine
    24   that prescription opioids rank as the          24        a physician like that. So I don't
                                             Page 363                                            Page 365
     1   number one abused drug among individuals        1         know why a physician would
     2   receiving state funded services in              2         prescribe in that situation.
     3   Tennessee?                                      3   BY MR. GASTEL:
     4       A. Yeah, I -- was the question              4         Q. You can't contemplate the
     5   would it surprise me?                           5   idea that a physician writes a
     6       Q. Yes.                                     6   prescription for an opioid for a
     7       A. Is that what the question                7   nonmedical reason?
     8   was?                                            8         A. The product is -- first of
     9           MR. TSAI: Objection. Lacks              9   all, I'll say, I'm not in -- and I
    10       foundation.                                10   haven't been in the industry where I
    11           Go ahead.                              11   would call on prescribers, that I would
    12           THE WITNESS: I don't have              12   talk indications, that I would go through
    13       much basis for that as far as what         13   any process that would interact with the
    14       my reaction would be. I don't              14   physician. So from the perspective of me
    15       know how to put that into context.         15   personally, that is not an area of
    16       It certainly isn't a number that I         16   expertise. Dosing, none of that would be
    17       would have off the top of my head.         17   anything that I would have any awareness
    18   BY MR. GASTEL:                                 18   of.
    19       Q. And I don't necessarily want            19              So from a layman's
    20   to go back to the document. But the            20   perspective, I cannot imagine a scenario
    21   document that Ms. Baig showed you earlier      21   on why a legitimate pain -- FDA approved
    22   regarding the Morristown police officer,       22   pain medication would be written for
    23   you recall that document, right?               23   anything other than pain.
    24       A. Yes, I do.                              24         Q. And you recall, Miss Baig
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     1   took you through the documents regarding      1   conversation. I will say that it does
     2   your trip down to Sunrise and your audit      2   still follow on the heels of the DEA of
     3   of the Sunrise facility. Do you recall        3   having an audit of their facilities and
     4   that document and that testimony?             4   finding it to be satisfactory to the
     5        A. I do.                                 5   controls that they have in place.
     6        Q. Are you aware that less than          6             (Document marked for
     7   one year after your Sunrise audit that        7         identification as Exhibit
     8   found no problem with Sunrise operations      8         Mallinckrodt-Adams-27.)
     9   in Florida, the DEA suspended Sunrise's       9   BY MR. GASTEL:
    10   license because of its sales of oxy in       10         Q. I'm going to hand you a
    11   the state of Florida?                        11   document that we'll mark as Exhibit 27.
    12        A. Maybe a couple points. I             12   This is actually my third document.
    13   don't know when that occurred. It was        13             This is an e-mail that was
    14   probably after my time at Mallinckrodt,      14   previously introduced in this litigation
    15   because I just don't know.                   15   during Steven Becker's deposition. You
    16            I will say that that will           16   are familiar with Mr. Becker, right?
    17   likely be tied to the same time or           17         A. I am familiar with Steve,
    18   roughly the same window of time that DEA     18   yes.
    19   inspected them and found their practices     19         Q. He was one of the national
    20   to be satisfactory.                          20   sales directors that reported to you,
    21            So at that point, again I'll        21   correct?
    22   reiterate what I -- what I said in that      22         A. That's correct.
    23   testimony. And that is that we were --       23         Q. I want to direct -- and this
    24   we being Mallinckrodt was actually           24   is an e-mail dated June 18, 2010, from
                                           Page 367                                             Page 369
     1   complimented on how that was managed. So      1   Kate Muhlenkamp to a variety of people in
     2   what happened and transpired after I left     2   the sales department at Mallinckrodt. Do
     3   I can't -- I can't speculate.                 3   you see that?
     4        Q. Sure. And you didn't have             4        A. I do, and if I could just
     5   any specific conversations with DEA that      5   interject. I was working at Dr. Reddy's
     6   their audit of Sunrise was -- was --          6   at this time.
     7   found no problems, right?                     7        Q. Sure.
     8             You didn't have any specific        8        A. I was no longer an employee.
     9   conversations with the DEA about their        9        Q. And you left Mallinckrodt in
    10   audit of Sunrise, right?                     10   June of 2010, correct?
    11        A. I don't have those -- I'm --         11        A. I did not. I left in May of
    12   I'm not familiar with any conversations      12   2010.
    13   I've had from DEA. What I've -- what I       13        Q. So you left approximately a
    14   saw in the e-mail that was produced, is      14   month before this e-mail was sent?
    15   that it indicated a compliment to the        15        A. I started at Dr. Reddy's on
    16   organization for how it was managed by       16   June 3rd, if I'm not mistaken. If that's
    17   Mallinckrodt.                                17   Monday, I started on that time at a
    18        Q. That was Mr. Ratliff's               18   different organization, yes.
    19   interpretation of a conversation that he     19        Q. Sure. Do -- all I want to
    20   had with the DEA agent; is that fair?        20   direct your attention to, the third
    21        A. I believe so, from --                21   paragraph in this e-mail where it says,
    22        Q. And you weren't a party to           22   "Additionally, it came to our attention
    23   that conversation, right?                    23   that Sunrise wholesaler's DEA license was
    24        A. I was not a party to that            24   suspended pending further investigation.
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     1   Although the official reason for the            1   took form. And -- and the DEA is the
     2   suspension has not been named, we are           2   organization that has oversight and has a
     3   under the impression that it is also due        3   duty and has a responsibility for this
     4   to the sale of oxycodone in the state of        4   and has the most global viewpoint of such
     5   Florida."                                       5   a distributor. So the fact that, if they
     6             Did I read that correctly?            6   were doing things inappropriately, and
     7        A. That is what it states.                 7   that they were suspended, I applaud that.
     8   Yeah, it sounds like you read it                8        Q. And you say that the DEA has
     9   correctly, yes.                                 9   the most global view of what's going on,
    10        Q. So if that's true, does that           10   but with regard to Mallinckrodt products,
    11   cause you any concern that less than a         11   Mallinckrodt knows just as much
    12   year after you audited Sunrise's               12   information as the DEA through its
    13   facility, that the DEA suspended               13   chargeback data, right?
    14   Sunrise's license for its sale of              14        A. It knows what is happening
    15   oxycodone in the state of Florida?             15   from Mallinckrodt to the distributor to
    16        A. I guess we can talk about              16   the pharmacy. Beyond that it doesn't
    17   ifs, which -- which it is.                     17   have any other information.
    18             So from the perspective of,          18            So it doesn't know why that
    19   I mentioned this earlier that at least in      19   product was prescribed. It doesn't know
    20   conversations that I had with wholesalers      20   why that -- if that particular
    21   was, we believed we are doing everything       21   prescription was generated and put
    22   correct; however, the DEA and -- and the       22   through a pharmacy or dispensing
    23   rules keep changing, or they are not           23   physician as it relates to its servicing
    24   providing the guidance necessary to be         24   a patient population of oncology patients
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     1   able to make sure that we can be                1   or a pain center. So the purview that as
     2   adherent. So we are having a challenging        2   a manufacturer extends only so far.
     3   time, despite believing we do everything        3            The extent that it's deeper
     4   correctly.                                      4   than that resides above a Mallinckrodt,
     5             That's not Sunrise. But               5   or a manufacturer.
     6   that was a general theme that would come        6        Q. Miss Baig showed you some
     7   out of various meetings. So I remember          7   sales figures earlier showing
     8   that specifically.                              8   Mallinckrodt sales of opioids increased
     9             But in reference to this,             9   over time, including at least one
    10   and, you know, answering the if question       10   instance an increase in over
    11   that you state, I certainly, again,            11   37,000 percent of oxy 30 sales. Do you
    12   can -- can state our audit followed a DEA      12   recall those sales figures and that
    13   audit that found them at that time to be       13   testimony?
    14   in compliance.                                 14        A. I do.
    15        Q. So my question is, is does             15        Q. When you saw that
    16   it cause you any certain that less than a      16   Mallinckrodt's sales figures for opioids,
    17   year later the DEA suspends their license      17   including oxy 30, were increasing, what
    18   for -- because of sales of oxy in              18   investigation did you do to ensure that
    19   Florida, the oxy that you were selling to      19   those sales were being driven by
    20   them in Florida?                               20   legitimate medical needs?
    21        A. As far as a concern, what it           21            MR. TSAI: Object to form.
    22   shows me, the fact that it was suspended,      22            THE WITNESS: As far as
    23   is that the controls that are in place         23        investigating, that is a
    24   from a compliance perspective actually         24        compliance. The compliance team
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     1       has the processes in place to                1   saw in the state of Florida during the
     2       investigate those. Again, as                 2   time period that you were the director of
     3       those -- certain things -- when              3   sales for Mallinckrodt, right?
     4       there's an order placed and it               4        A. An explosion of sales. I
     5       seems to be out, there is a                  5   wouldn't characterize it as that. And I
     6       suspicious order monitoring                  6   can't speak specifically to Florida.
     7       process that's in place and those            7            But as far as the
     8       controls are certainly designed to           8   prescriptions generated, again
     9       highlight that.                              9   Mallinckrodt was not calling on
    10           Now, the fact their sales               10   physicians to generate prescriptions.
    11       growth can be driven, as I                  11   The fact that prescriptions were being
    12       mentioned I believe during my               12   written, were being written by
    13       testimony, it can be driven on a            13   physicians. And if there was any
    14       number of scenarios.                        14   promotional activity that was being done
    15           One is, it could be a new               15   to physicians, it was not as a result of
    16       customer who we gained. And so              16   Mallinckrodt. If there was anything that
    17       the comparison from the first set           17   was out there relative to having that
    18       of data to the second could be              18   physician look at the features and
    19       going from zero to -- or from one           19   benefits and details of a prescription
    20       bottle to 100. Okay, great,                 20   product, it was not -- it was not a
    21       you've got a huge percent                   21   Mallinckrodt generics -- that was not
    22       increase, right.                            22   within our -- within how we promoted
    23           It could be that we                     23   products.
    24       basically looked at that -- or              24        Q. I get that that's how -- was
                                              Page 375                                             Page 377
     1        that customer looked at us and              1   not within how you promoted products, but
     2        said, you know what, we want you            2   that wasn't my question.
     3        to be the primary, and we no                3            My question was, one factor
     4        longer want to be able to -- or             4   that could also be driving a demand in
     5        have additional manufacturers of            5   increased sales is an explosion of abuse
     6        this product within our                     6   and diversion of prescription opioids,
     7        distribution network. That could            7   right?
     8        be their decision to do that.               8        A. As far as an abuse, again,
     9            The other one is, when was              9   you saw things in the press on that. But
    10        the product launched. Was the              10   how -- how does the fact that you are
    11        product just launched? So you're           11   manufacturing and supplying, that does
    12        comparing a -- two months of sales         12   not create the demand. And so that
    13        versus 12 months of sales.                 13   explosion isn't something that we
    14        There's many variables that can            14   created. And so from the perspective of
    15        happen there. Or was there a               15   the way you help in that whole process is
    16        supply disruption that occurred            16   to put in a process in place to identify,
    17        from another manufacturer or a             17   which our compliance team, as I
    18        discontinuation of a product.              18   understand, did, was to identify
    19            All of those factor into               19   suspicious orders, et cetera.
    20        what can drive a number.                   20            So that's certainly the
    21   BY MR. GASTEL:                                  21   responsibility that the organization took
    22        Q. Sure. And one way to drive              22   seriously.
    23   that number would be if there's an              23        Q. Do you know how many
    24   explosion of abuse and diversion like we        24   suspicious orders of Sunrise or Masters
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     1   Pharmaceuticals that your compliance team       1        the developmental objectives,
     2   reported to the DEA in the period of            2        would be another. Those would
     3   2008?                                           3        certainly be part of what I would
     4        A. I do not know.                          4        do in developing their objectives.
     5        Q. Do you know how many                    5   BY MR. GASTEL:
     6   suspicious orders your compliance team          6        Q. Sure. And as part of that,
     7   reported to the DEA from Sunrise or             7   and as part of their compensation
     8   Masters in 2009?                                8   structure, there would be a bonus if they
     9        A. I don't know.                           9   met certain sales quotas, correct?
    10        Q. Do you know how many orders            10             MR. TSAI: Objection.
    11   of Sunrise and Masters orders that your        11        Cumulative. Duplicative.
    12   compliance team reported to the DEA in         12        Non-Tennessee specific.
    13   2010?                                          13             THE WITNESS: That would be
    14        A. I think that would be a                14        a component of their compensation.
    15   better question, all of these, would be        15   BY MR. GASTEL:
    16   for the compliance team. That was a            16        Q. Sure. And part of that is
    17   separate team. So I don't -- I don't           17   to incentivize those national sales
    18   know how many suspicious orders were           18   directors to go make sales, right?
    19   flagged for any customer.                      19             MR. TSAI: Object to form.
    20        Q. You spoke with Ms. Baig                20        Can I get a standing objection to
    21   earlier about your compensation. Do you        21        this?
    22   recall that testimony?                         22             MR. GASTEL: Sure.
    23        A. Yes. I don't remember                  23             MR. TSAI: I think this
    24   specific. I mean, we talked about it for       24        is -- I think this violates our
                                             Page 379                                             Page 381
     1   a while.                                        1       agreement about these questions
     2        Q. And as part of your role as             2       being Tennessee specific.
     3   vice president of sales, you oversaw a          3           MR. GASTEL: That's all
     4   team of national sales directors, right?        4       right.
     5        A. That's correct.                         5           MR. TSAI: Go ahead.
     6        Q. And as part of that, did you            6           THE WITNESS: So as far as
     7   put together their compensation packages        7       to have them make more sales, let
     8   too?                                            8       me just be clear that it wasn't us
     9            MR. TSAI: Objection.                   9       going out trying to drive demand
    10        Duplicative. Non-Tennessee                10       for a product or not even trying.
    11        specific.                                 11           It's outside of our ability
    12            THE WITNESS: So the                   12       to drive demand for a product.
    13        objectives were brought down from         13       Our goal was to, when we got a new
    14        the organization on what metrics          14       product, legally approved by FDA,
    15        could be used. And I don't                15       when that product was launched to
    16        remember the term or even know            16       gain distribution for that
    17        what it stands for. But SFM or            17       product. Our goal was, if we had
    18        something like that was in the            18       part of the business and our
    19        documents. So there's corporate           19       competitor had part of the
    20        objectives, and then there are            20       business, we wanted to be the one
    21        individual objectives.                    21       that was the primary product for
    22            And from that, certainly we           22       that.
    23        would look at what are the sales          23           Our sales team was -- was
    24        objectives, as one. What would be         24       incentivize to make ours the
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     1        preferred product by our                    1   of a Mallinckrodt product.
     2        customers, and customers defined            2        Q. Sure.
     3        by the wholesalers and the chain            3        A. And the sales, that's the
     4        headquarters, not at any                    4   purchases from our customer to us.
     5        individual pharmacy or in the               5        Q. And so you developed that
     6        individual -- beyond the pharmacy.          6   program and that incentive structure to
     7            We wouldn't even call on                7   drive sales of Mallinckrodt's products to
     8        pharmacies.                                 8   those customers, right?
     9   BY MR. GASTEL:                                   9        A. And that sales is whether or
    10        Q. When you say that it's to               10   not it's an opioid or non-opioid, that is
    11   incentivize them to make ours the               11   the same design that you would build for
    12   preferred product by our customers, you         12   any pharmaceutical generic sales
    13   mean it's to incentivize them to make           13   organization.
    14   sales, right?                                   14        Q. Sure.
    15        A. Preferred product is -- the             15        A. It is non-opioid specific.
    16   preferred product would be, can you --          16        Q. Did you ever develop a
    17   because it's a generic, it can be               17   program to incentivize the sales force to
    18   substituted for a same dose strength            18   locate pill mills?
    19   product. If a pharmacist places an              19        A. That would -- that was not
    20   order, you want it to be the preferred          20   anything that was even thought about.
    21   product, in the fact that for that              21   Compliance may have directed something
    22   pharmacist placing an order for                 22   like that if there was any vision or
    23   hydrocodone, that it specifically is then       23   viewpoint to that.
    24   sold from the wholesaler to the pharmacy,       24             I don't know how that would
                                              Page 383                                            Page 385
     1   our hydrocodone, as opposed to another           1   be identified. To have a -- to have a
     2   competitor's hydrocodone.                        2   sales force of six -- six people who
     3            So it is not driving                    3   covered the country to go and look at
     4   anything more than as a preferred                4   individual pharmacies or dispensing
     5   product, you have a preferred position on        5   physicians, I don't think that would be
     6   a contract.                                      6   logistically possible. You know, a team
     7            So that's what's the                    7   of six.
     8   preferred component of it, a preferred           8        Q. Did you ever develop a
     9   position on the contract.                        9   program to incentivize the sales force to
    10        Q. And getting that preferred              10   locate and report suspicious orders?
    11   position was part of the reason why they        11        A. The sales team would not
    12   would get a sales bonus if they met             12   be -- it's not like they receive an
    13   certain sales targets, right?                   13   order. An order comes in electronically.
    14        A. Yes. Their goal was to be               14   And 90 percent of the times, it comes in
    15   that preferred contract item that would         15   electronically through electronic --
    16   then say, if there are multiple                 16   electronic data interchange. A sales rep
    17   manufacturers of the same product, the          17   never sees an order. The other 10
    18   ideal scenario is that that would then be       18   percent of orders that come in would come
    19   sold from the wholesaler to that                19   in either by fax or by e-mail. And that
    20   pharmacy, that it was our product, our --       20   would go directly to the customer service
    21   we can't incentivize our sales team to          21   team or somewhere else that would then
    22   sell a competitor product.                      22   fulfill the order.
    23        Q. Sure.                                   23             The salesperson never saw
    24        A. So it is tied to the sales              24   the orders come in.
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     1        Q. Sure. But the salesperson,              1   ultimately receiving those orders, right?
     2   if they wanted to, could go find the            2        A. It's a rear -- it's a
     3   orders that their customers were making,        3   rearview. It's like driving a car
     4   right?                                          4   looking through your rearview mirror.
     5        A. The only place that the                 5        Q. But it could be done?
     6   salesperson could look and see an order         6        A. Again, there's lag data
     7   is to do exactly what you said, and that        7   there. You wouldn't be able to draw a
     8   is to reach out. And what that would            8   correlation.
     9   give them is how much product did this          9             There is new technology that
    10   individual order -- what was on there          10   is going into play. The U.S. is now
    11   from Walgreens. That doesn't say how           11   requiring track and trace. And that will
    12   much went out to the Walgreens                 12   give individual serialized bottles of
    13   pharmacies. They can see how much was          13   prescription. So the prescription
    14   purchased by McKesson.                         14   itself -- excuse me. The product itself
    15            And by the way, McKesson              15   will be serialized so you know where that
    16   then sells it out to -- I don't know the       16   bottle goes. You don't know where the
    17   customer base. I'll speculate and say          17   bottles go when you sell a product into a
    18   20,000 different outlets. You don't know       18   wholesaler or a chain distribution
    19   where that product from the perspective        19   center. You don't know where that
    20   of a purchase order, when it goes into         20   product goes, other than to a pharmacy.
    21   the wholesaler, you don't know where it's      21   But to trace that individual bottle, that
    22   going to go. You have no concept of            22   is not possible today. You can do it at
    23   which customer, hospital, independent,         23   the lot number and expiration date, but
    24   chain, where -- who is going to be             24   not the specific bottle.
                                             Page 387                                             Page 389
     1   purchasing that from a pharmacy                 1        Q. Were you ever on the
     2   perspective from a wholesaler                   2   suspicious order monitoring steering
     3   distributor.                                    3   committee?
     4         Q. Sure. You can then find it             4        A. I didn't recall it. But I
     5   out on the back end through the                 5   see from the documents here that I was
     6   chargeback data, right?                         6   included in a team.
     7         A. There is a lag effect of               7        Q. And you don't recall
     8   roughly 30 days from the time that you          8   anything specifically about your work on
     9   get a purchase order, you ship it out,          9   the team?
    10   let's say in theory within a day. It           10        A. I don't.
    11   takes five days to get to the wholesaler       11            MR. GASTEL: Mr. Adams, I
    12   distributor. From there, the wholesaler        12        appreciate the time. Subject to
    13   distributor stocks four to six weeks of        13        my earlier objection, we'll
    14   supply. From that point on the product         14        reserve any other questions.
    15   then is purchased. So from the time of         15            MR. TSAI: I have just about
    16   point of sale all the way through until        16        two minutes. Just three or four
    17   you actually could see what happened to        17        cleanup questions.
    18   that bottle, if you could isolate that         18            THE WITNESS: Okay. So
    19   individual bottle, then you could see it       19        where should I face?
    20   may be six weeks later.                        20            MR. TSAI: Keep facing.
    21         Q. But the point is, that the            21               - - -
    22   sales staff could look at orders and           22             EXAMINATION
    23   could look at chargeback data to figure        23              - - -
    24   out where the downstream customer was          24   BY MR. TSAI:
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     1        Q. So earlier today we talked a           1   laws." So if Sunrise has that question
     2   bit about text messages during your time       2   in their questionnaire, the fact that
     3   at Mallinckrodt. Do you recall that?           3   every one of these is a yes is actually a
     4        A. I do.                                  4   positive. It seems at the outset that
     5        Q. So just to be clear, do you            5   initially the questions that I -- I was
     6   have or have access to any actual text         6   concerned that I was receiving indicated
     7   messages from your time at Mallinckrodt?       7   yes was a bad thing, that does the
     8        A. I do not.                              8   subject company fill prescriptions issued
     9        Q. And do you have or have                9   by practitioners based solely on an
    10   access to the old phone that you used         10   online questionnaire without a medical
    11   while you were employed at Mallinckrodt?      11   examination or bona fide doctor-patient
    12        A. I do not.                             12   relationship?
    13        Q. Do you know for sure whether          13             The answer is checked yes.
    14   or not Mallinckrodt has or has access to      14   That means that Sunrise asks that on
    15   that phone?                                   15   their questionnaire to the people that
    16        A. I do not.                             16   they are vetting, which means that that
    17        Q. And if we could go back               17   is a good thing. They have that as part
    18   to -- I think it was Exhibit 25. This is      18   of their vetting of their customers.
    19   the one where you were saying that you        19             So their compliance to each
    20   wanted to opine on your interpretation of     20   one of these as a yes appears to be a
    21   the -- of the checklist that we went          21   positive response and as part of the
    22   through. And I don't think you got that       22   analysis that -- that Karen did in
    23   opportunity.                                  23   auditing.
    24        A. Yeah.                                 24             MR. TSAI: I have no further
                                            Page 391                                             Page 393
     1        Q. So you've got that in front            1        questions.
     2   of you. If you can turn to Section 3.          2            MS. BAIG: I have one
     3        A. Yes.                                   3        follow-up question, or a couple
     4        Q. So it's a checklist that it            4        follow-up questions.
     5   appears Karen Harper went through during       5               - - -
     6   the audit of Sunrise in August of 2009.        6             EXAMINATION
     7   And the various line items are checked         7               - - -
     8   yes.                                           8   BY MS. BAIG:
     9            What is your interpretation           9        Q. Where does it say on this
    10   or reading of this checklist?                 10   form that these -- that these questions
    11        A. So this is a questionnaire            11   are questions that Sunrise was to ask?
    12   that, as I understand it, that the            12        A. So, "A distributor seeking
    13   compliance team developed. Karen in           13   to determine whether a suspicious order
    14   particular then delivered this and went       14   is indicative of controlled substance
    15   through this with the customer.               15   diversion to other than legitimate
    16            And the question is, from            16   medical channels may wish to inquire of
    17   Karen, she will ask Sunrise, "Does your       17   the ordering pharmacy about the
    18   questionnaire include a question that         18   following."
    19   asked if the physician complies with laws     19            So the distributor may want
    20   of every state in which controlled            20   to ask these questions of the ordering
    21   substances are sold or shipped?"              21   pharmacy in order -- so that's --
    22            So Sunrise, if in fact it's          22        Q. Does it say that?
    23   true, says, "Yes, we have a question that     23        A. Yeah.
    24   asks if a physician complies with the         24        Q. The distributor may want to
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     1   ask these questions?                            1   are suggesting that Sunrise was asking
     2        A. "The distributor seeking to             2   these questions, right?
     3   determine whether a suspicious order is         3        A. Yes. Yes.
     4   indicative of controlled substance              4        Q. Do you know whether Karen
     5   diversion to other than legitimate              5   did any follow-up to determine whether
     6   medical channels may wish to inquire of         6   the responses that Sunrise received --
     7   the ordering pharmacy about the                 7   well, whether, one, Sunrise actually
     8   following."                                     8   asked those questions to all its
     9            And the fact that they may             9   customers, and two, whether the responses
    10   wish to inquire, what this does is Karen       10   received were adequate?
    11   asked them, "Do you inquire that the           11        A. So I guess the extent that I
    12   physician complies with the laws of every      12   have vision to is yes, the question was
    13   state in which controlled substances are       13   asked and answered. And if these similar
    14   sold or shipped?                               14   questions prove that this is a past
    15            "Yes."                                15   audit, it doesn't -- basically you can
    16            So the "may wish" is how              16   say this isn't the only audit that
    17   this is defined per DEA.                       17   Sunrise has passed in this time frame.
    18            The fact that Karen asked             18   DEA also had an audit and found it to
    19   these questions, not just may but do you,      19   be -- that they passed. So that's my
    20   and the answer is affirmative. That            20   only point.
    21   shows that Sunrise was doing their due         21        Q. Well, sure. But -- so
    22   diligence when vetting pharmacies.             22   according to your interpretation of this
    23        Q. So Karen asked Sunrise if              23   document, basically Sunrise would have
    24   Sunrise was asking each one of its             24   asked for example, Mr. Barry Schultz all
                                             Page 395                                              Page 397
     1   customers the following questions, and          1   of these questions. And Karen is just
     2   Sunrise responded yes?                          2   responding here that yes, they asked the
     3        A. Yes. And I --                           3   question?
     4        Q. And Karen took their word               4        A. That's correct.
     5   for it?                                         5        Q. And there's no information
     6        A. I don't know if she -- if               6   here as to what for example,
     7   they gave a hardcopy of what it is they         7   Mr. Schultz's response might have been,
     8   asked. Or if they went through and              8   correct?
     9   identified that. So...                          9        A. No, but I can't say for
    10        Q. And you don't know whether             10   certain that they have that form sitting
    11   Karen actually went and did any                11   in there in a file.
    12   additional follow-up with respect to           12        Q. You don't know one way or
    13   whether or not Sunrise's responses             13   another?
    14   received from customers were adequate.         14        A. I don't know one way or the
    15   Do you know the answer to that?                15   other. I just know what's being asked
    16        A. Say -- say it one -- which             16   and answered in this particular scenario.
    17   one? I'm sorry.                                17            So again it sounded like it
    18        Q. Do you know whether Karen              18   was a negative by having a yes answer.
    19   did any additional follow-up to determine      19   It shows actually that a yes answer is
    20   whether the responses received by Sunrise      20   great. This is on your questionnaire,
    21   were adequate?                                 21   this is what -- what you were asking of
    22        A. The responses received by              22   your customers.
    23   Sunrise to the questions --                    23        Q. A yes answer is great from
    24        Q. Well, you're -- yeah. You              24   Sunrise, who was then eventually shut
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               Confidential           Filed:to07/24/19
                                Subject         Further101Confidentiality
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                                                                               Review
                                              Page 398                                                Page 400
     1   down, correct?                                   1       A. This would be a good
     2         A. It is a great component from            2   question for compliance --
     3   a compliance perspective. It has nothing         3       Q. You don't know the answer?
     4   to do with the fact that they were closed        4       A. -- as this is their area of
     5   or suspended a year later.                       5   expertise.
     6             It has everything to do with           6           MS. BAIG: Okay. I have no
     7   these are part of the processes that when        7       further questions on that.
     8   it's a yes, these questions were part of         8           THE VIDEOGRAPHER: This
     9   the vetting process that were stated to          9       concludes today's deposition.
    10   be occurring.                                   10       We're going to go off record. The
    11         Q. Karen Harper asked --                  11       time is 5:50.
    12   according to you, Karen Harper asked            12           (Excused.)
    13   Sunrise if they asked these questions and       13           (Deposition concluded at
    14   Sunrise responded yes. And in the end,          14       approximately 5:50 p.m.)
    15   Karen Harper ultimately concluded that          15
    16   there were no problems at Sunrise and           16
    17   that the -- what was it? That Sunrise           17
    18   has systems in place to maintain a              18
    19   suspicious order monitoring program that        19
    20   meets the guidelines, correct?                  20
    21         A. And ultimately, as part of             21
    22   an audit, the due diligence was there to        22
    23   ask and -- and have the questions               23
    24   answered. And whether or not there was a        24

                                              Page 399                                                Page 401
     1   paper copy of validation, I can't state.         1
     2   I don't know.
                                                          2            CERTIFICATE
                                                          3
     3        Q. And you can't remember any               4
     4   of the work that you individually did            5           I HEREBY CERTIFY that the
     5   with respect to the suspicious order                 witness was duly sworn by me and that the
                                                          6   deposition is a true record of the
     6   monitoring systems, correct?                         testimony given by the witness.
     7        A. That's correct.                          7
     8        Q. And you don't remember                               It was requested before
                                                          8   completion of the deposition that the
     9   actually doing any follow-up with respect            witness, JOHN ADAMS, have the
    10   to this audit of Sunrise, correct?               9   opportunity to read and sign the
    11        A. That's correct.                              deposition transcript.
                                                         10
    12        Q. Even though you were on the             11
    13   suspicious order monitoring committee,          12       _____ ____________________________
    14   correct?                                                 MICHELLE L. GRAY,
                                                         13       A Registered Professional
    15        A. Again, if there were                             Reporter, Certified Shorthand
    16   questions where the suspicious order            14       Reporter, Certified Realtime
    17   monitoring team had about a specific                     Reporter and Notary Public
                                                         15       Dated: February 4, 2019
    18   customer, then that question may be --          16
    19   may be asked of me, but I can't --              17
    20        Q. And you don't know whether
                                                         18             (The foregoing certification
                                                         19   of this transcript does not apply to any
    21   or not any additional -- apart from this        20   reproduction of the same by any means,
    22   checklist form, was there any additional        21   unless under the direct control and/or
    23   information or backup file with respect
                                                         22   supervision of the certifying reporter.)
                                                         23
    24   to Mallinckrodt's audit of Sunrise?             24

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                                                                               Review
                                             Page 402                                                   Page 404
     1        INSTRUCTIONS TO WITNESS                    1
     2                                                   2       ACKNOWLEDGMENT OF DEPONENT
                                                         3
     3            Please read your deposition
     4   over carefully and make any necessary
                                                         4           I,_____________________, do
     5   corrections. You should state the reason
                                                         5   hereby certify that I have read the
                                                         6   foregoing pages, 1 - 405, and that the
     6   in the appropriate space on the errata          7   same is a correct transcription of the
     7   sheet for any corrections that are made.        8   answers given by me to the questions
     8            After doing so, please sign            9   therein propounded, except for the
     9   the errata sheet and date it.                  10   corrections or changes in form or
    10            You are signing same subject          11   substance, if any, noted in the attached
    11   to the changes you have noted on the           12   Errata Sheet.
    12   errata sheet, which will be attached to        13
    13   your deposition.                               14
    14            It is imperative that you             15   _______________________________________
    15   return the original errata sheet to the        16   JOHN ADAMS             DATE
                                                        17
    16   deposing attorney within thirty (30) days
                                                        18
    17   of receipt of the deposition transcript        19   Subscribed and sworn
    18   by you. If you fail to do so, the
                                                             to before me this
    19   deposition transcript may be deemed to be      20   _____ day of ______________, 20____.
    20   accurate and may be used in court.             21   My commission expires:______________
    21
                                                        22
    22
                                                             ____________________________________
    23                                                  23   Notary Public
    24                                                  24

                                             Page 403                                                   Page 405
     1          - - - - - -                              1         LAWYER'S NOTES
                 ERRATA                                  2   PAGE LINE
     2          - - - - - -                              3   ____ ____ ____________________________
     3                                                   4   ____ ____ ____________________________
     4   PAGE LINE CHANGE                                5   ____ ____ ____________________________
     5   ____ ____ ____________________________          6   ____ ____ ____________________________
     6     REASON: ____________________________          7   ____ ____ ____________________________
     7   ____ ____ ____________________________          8   ____ ____ ____________________________
     8     REASON: ____________________________          9   ____ ____ ____________________________
     9   ____ ____ ____________________________         10   ____ ____ ____________________________
    10     REASON: ____________________________         11   ____ ____ ____________________________
    11   ____ ____ ____________________________         12   ____ ____ ____________________________
    12     REASON: ____________________________         13   ____ ____ ____________________________
    13   ____ ____ ____________________________         14   ____ ____ ____________________________
    14     REASON: ____________________________
    15   ____ ____ ____________________________
                                                        15   ____ ____ ____________________________
    16     REASON: ____________________________
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    17   ____ ____ ____________________________
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    18     REASON: ____________________________
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    19   ____ ____ ____________________________
                                                        19   ____ ____ ____________________________
    20     REASON: ____________________________         20   ____ ____ ____________________________
    21   ____ ____ ____________________________         21   ____ ____ ____________________________
    22     REASON: ____________________________         22   ____ ____ ____________________________
    23   ____ ____ ____________________________         23   ____ ____ ____________________________
    24     REASON: ____________________________         24   ____ ____ ____________________________

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